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    7   Arconic Inc. et al.
    8                          UNITED STATES DISTRICT COURT
    9                        CENTRAL DISTRICT OF CALIFORNIA
  10                                  WESTERN DIVISION
  11
  12    ARCONIC INC., et al.,                  Case No. 2:14-cv-06456 GW (Ex.)
  13                    Plaintiffs,            PLS.’ STMT. OF GENUINE
                                               DISPUTES IN OPP’N TO JOINT
  14    v.                                     STMT. OF UNCONTROVERTED
                                               FACTS AND CONCLUSIONS OF
  15    APC INVESTMENT CO., et al.,            LAW ISO MSJS RE: CERCLA
                                               LIABILITY BY DEFS.:
  16                    Defendants.
                                               (A) PMC SPECIALTIES GRP., INC.
  17                                           & FERRO CORP. (PMC PROP.)
  18                                           (B) UNION PAC. R.R. CO.
                                               (CHRYSLER PROP.)
  19
                                               (C) HALLIBURTON AFFILIATES,
  20                                           LLC.; INTERVENORS FIREMAN’S
                                               FUND INS. CO. & FED. INS. CO.,
  21                                           AS INSURERS OF PALLEY
                                               SUPPLY CO.; AND KEKROPIA,
  22                                           INC. (PATSOURAS PROP.)
  23
                                               Hearing:
  24                                           Date:    May 17, 2021
                                               Time:    8:30 a.m.
  25
                                               Place:   Courtroom 9D, 9th Floor
  26                                                    350 W. 1st Street
                                                        Los Angeles, CA 90012
  27
                                               Judge:   Hon. George H. Wu
  28
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    1   AND RELATED CROSS ACTIONS,
    2   COUNTERCLAIMS AND THIRD-
        PARTY COMPLAINTS
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    1         Pursuant to Federal Rule of Civil Procedure 56 and Local Rule 56-2,
    2   Plaintiffs hereby submit their Statement of Genuine Disputes in response to
    3   Defendants’ Statement of Uncontroverted Material Facts and Conclusions of Law.
    4         Each of the numbered paragraphs below corresponds to the same paragraph
    5   in Defendants’ Statement of Uncontroverted Material Facts and is followed by
    6   Plaintiffs’ response.
    7
    8     DEFENDANTS’ ALLEGEDLY
                                                         PLAINTIFFS’ RESPONSE AND
        UNCONTROVERTED FACTS AND
    9                                                      SUPPORTING EVIDENCE
           SUPPORTING EVIDENCE
  10
  11                                     I. PMC Property

  12      Moving Defendants: PMC Specialties Group, Inc. and Ferro Corporation
  13
  14    1.     Plaintiffs disposed of thousands      Response: Partially disputed, not
        of tons of their hazardous wastes at the     supported by the cited evidence and
  15    former Omega Chemical facility (now          immaterial.
  16    the epicenter of the Omega Superfund
        Site) over a 15-year period.                 Evidence: Plaintiffs do not dispute that
  17                                                 they, or their predecessors, affiliated
        Supporting Evidence:                         entities, assignees or obligees, are
  18
           Declaration of Earl Hagstrom in          companies that allegedly sent chemicals
  19         Support of PMC Specialties              to the Omega Chemical Corporation
             Group, Inc. and Ferro                   (“Omega Chemical”) in Whittier, CA
  20
             Corporation’s (collectively,            for appropriate processing and
  21         “PMC”) Motion for Summary               recycling, and that EPA contends that
  22         Judgment Re: CERLCA Liability           Omega Chemical failed to process,
             (“Hagstrom Decl.”), Ex. A               recycle or dispose of those chemicals
  23         [Excerpts of Final Remedial             properly. Docket No. 526, Fifth AC, ¶ 7;
  24         Investigation/Feasibility Study         Docket No. 903-1, at #18605-18606
             Reports Omega Chemical                  (Pls. Br. on Common Issues of L. in
  25         Corporation Superfund Site              Support of Mot. for Partial Summ. J. as
  26         Operable Unit 2] (“OMEGA OU-            to Certain Elements of CERCLA
             2 RI/FS”) at § 8.1.2 p. 8-4.            Liability).
  27
                                                     Plaintiffs also do not dispute the Omega
  28
                                                   -2-
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    1
          DEFENDANTS’ ALLEGEDLY
    2                                            PLAINTIFFS’ RESPONSE AND
        UNCONTROVERTED FACTS AND
                                                   SUPPORTING EVIDENCE
    3      SUPPORTING EVIDENCE
                                              Chemical facility is a Superfund site.
    4
                                              Docket No. 770-2, at #14437 (Ex. A,
    5                                         28) (OU-2 ROD, at 2-1). Plaintiffs do
    6                                         not dispute that Omega Chemical
                                              operated from approximately 1976 to
    7                                         1991, an approximately 15-year period.
    8                                         Id.

    9                                         The evidence cited does not state that
                                              Plaintiffs disposed of thousands of tons
  10                                          of their hazardous wastes at the former
  11                                          Omega Chemical facility over a 15-year
                                              period. See Hagstrom Decl., Ex. A, at 6
  12                                          (Docket No. 902-47, at # 17799)
  13                                          (OMEGA OU-2 RI/FS, at 8-4). It also
                                              does not state the Omega Chemical
  14                                          facility is now the “epicenter” of the
  15                                          Omega Chemical Superfund Site
                                              (“Omega Site”).
  16
  17                                          Plaintiffs object to paragraph 3 as
                                              immaterial for purposes of deciding this
  18                                          motion for summary judgment. This fact
  19                                          does not bear on whether Plaintiffs can
                                              meet their burden to demonstrate: (1)
  20                                          the PMC Property is a CERCLA
  21                                          facility; (2) Defendants PMC Specialties
                                              Group, Inc. (“PMC”) and Ferro
  22                                          Corporation (“Ferro”) (together, the
  23                                          “PMC Defendants”) are one of the four
                                              classes of persons that are liable under
  24                                          CERCLA; and (3) whether there has
  25                                          been a “release” or “threatened release”
                                              of hazardous substances from the PMC
  26                                          Property into OU-2 Groundwater (as
  27                                          defined in Footnote 1). Fresno Motors,
                                              LLC v. Mercedes Benz USA, LLC, 771
  28
                                           -3-
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    1
          DEFENDANTS’ ALLEGEDLY
    2                                               PLAINTIFFS’ RESPONSE AND
        UNCONTROVERTED FACTS AND
                                                      SUPPORTING EVIDENCE
    3      SUPPORTING EVIDENCE
                                                  F.3d 1119, 1125 (9th Cir. 2014);
    4
                                                  Falkner v. Gen. Motors LLC, 393 F.
    5                                             Supp. 3d 927, 930 (C.D. Cal. 2018) (“A
    6                                             material fact for purposes of summary
                                                  judgment is one that might affect the
    7                                             outcome of the suit under the applicable
    8                                             law.”) (citation omitted).

    9
        2.      Plaintiffs’ toxic wastes          Response: Partially disputed and not
  10    contaminated not only the soil and        supported by the cited evidence.
  11    groundwater at and under the Omega
        Site itself, but also contaminated the    Evidence: Plaintiffs do not dispute soil
  12    groundwater flowing from the Site—a       and groundwater at and under the
        plume of contamination that now           Omega Site is contaminated. Docket
  13                                              No. 770-2, at #14432 (Ex. A, 16) (OU-2
        extends at least four and a half miles
  14    downgradient of the Omega Site. The       ROD, at 1-1).
  15    contaminated groundwater plume was
                                                  Plaintiffs do not dispute that EPA
        designated by the U.S. Environmental
  16                                              defines Operable Unit-2 of the Omega
        Protection Agency (“EPA”) as
                                                  Site as “the contamination in
  17    “Operable Unit 2,” or “OU-2” for short.
                                                  groundwater generally downgradient
  18    Supporting Evidence:                      and originating from the former Omega
           Hagstrom Decl., Ex. A [OMEGA          Chemical Corporation (Omega
  19                                              Chemical) facility in Whittier,
             OU-2 RI/FS] at § 8.1.2 p. 8-4.
  20                                              California, much of which has
                                                  commingled with chemicals released at
  21                                              other areas overlaying the OU2
  22                                              groundwater plume.”1 Id.; RFJN, Ex. 5,

  23
        1
         OU-2 is defined in the September 2011 EPA OU-2 Record of Decision and in the
  24
        March 31, 2017 OU-2 Consent Decree, entered between Plaintiffs and EPA; it is
  25    composed of contaminated groundwater generally downgradient of OU-1,
  26    commingled with chemicals released from properties near or within the OU-2
        boundary, which is shown graphically in both the 2011 EPA Record of Decision
  27
        and the 2017 Consent Decree (hereafter, “OU-2 Groundwater”). Docket No. 770-2,
  28
                                              -4-
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    1
          DEFENDANTS’ ALLEGEDLY
    2                                             PLAINTIFFS’ RESPONSE AND
        UNCONTROVERTED FACTS AND
                                                    SUPPORTING EVIDENCE
    3      SUPPORTING EVIDENCE
                                               at 111 (OU-2 Consent Decree).
    4
    5                                          Plaintiffs do not dispute that EPA
                                               describes the OU2 Groundwater
    6                                          contamination as a “continuous plume
    7                                          that is approximately 4 ½ miles long
                                               and 1 ½ miles wide.” Docket No. 770-2,
    8                                          at #14437 (Ex. A, 21) (OU-2 ROD, at 1-
    9                                          1).
  10                                           The PMC Defendants mischaracterize
  11                                           the evidence cited. Section 8.1.2 of the
                                               OMEGA OU-2 RI/FS does not
  12                                           specifically identify Plaintiffs as
  13                                           responsible for the soil and groundwater
                                               contamination at and under the Omega
  14                                           Site, or the OU-2 Groundwater
  15                                           contamination downgradient of the Site.
                                               In fact, it acknowledges the Omega
  16                                           plume “flows under a densely developed
  17                                           commercial-industrial area, there are
                                               additional facilities whose releases of
  18                                           hazardous substances have reached
  19                                           groundwater and become commingled
                                               with the Omega contamination,” and the
  20                                           OMEGA OU-2 RI/FS might not have
  21                                           “identified all sources of contamination
                                               within the OU2 area.” See Hagstrom
  22                                           Decl., Ex. A, at 6 (Docket No. 902-47,
  23                                           at # 17799) (OMEGA OU-2 RI/FS, at 8-
                                               4).
  24
  25
  26
        at #14432 (Ex. A, 000016) (OU-2 ROD, at 1-1); RFJN, Ex. 5, at 111 (OU-2
  27    Consent Decree).
  28
                                            -5-
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    1
          DEFENDANTS’ ALLEGEDLY
    2                                                    PLAINTIFFS’ RESPONSE AND
        UNCONTROVERTED FACTS AND
                                                           SUPPORTING EVIDENCE
    3      SUPPORTING EVIDENCE

    4   3.     EPA identified the Plaintiffs as      Response: Partially disputed, not
    5   the primary source of OU-2                   supported by the cited evidence and
        contamination, and EPA’s                     immaterial.
    6   environmental contractor, CH2M Hill,
    7   confirmed after years of investigation       Evidence: Plaintiffs do not dispute that
        that Plaintiffs’ waste releases from the     EPA asserts Plaintiffs are responsible
    8   former Omega Chemical facility are           for remediating the OU-2 Groundwater
    9   “the main source of contamination in         contamination. Docket No. 526, Fifth
        OU-2.                                        AC, ¶ 8; Docket No. 903-2, at #18629-
  10                                                 18630 (Pls. Memo. of Points &
  11    Supporting Evidence:                         Authorities in Support of Mot. for
           Hagstrom Decl., Ex. A [OMEGA             Partial Summ. J. as to Certain Elements
  12         OU-2 RI/FS] at § 8.1.2 p. 8-4.          of CERCLA Liability).
  13                                                 Plaintiffs do not dispute EPA’s
  14                                                 environmental contractor, CH2M Hill,
                                                     conducted a Remedial Investigation
  15                                                 (“OMEGA OU-2 RI/FS”) of the Omega
  16                                                 Site and § 8.1.2 of the report states
                                                     “[t]he former Omega Chemical facility
  17                                                 is the main source of groundwater
  18                                                 contamination at OU2.” Hagstrom
                                                     Decl., Ex. A, at 6 (Docket No. 902-47,
  19                                                 at # 17799) (OMEGA OU-2 RI/FS, at 8-
  20                                                 4).
  21                                                 The PMC Defendants, however,
  22                                                 mischaracterize the evidence cited.
                                                     Section 8.1.2 of the OMEGA OU-2
  23                                                 RI/FS does not specifically identify
  24                                                 Plaintiffs as the primary source of the
                                                     OU-2 Groundwater contamination. See
  25                                                 id. In fact, it acknowledges the Omega
  26                                                 plume “flows under a densely developed
                                                     commercial-industrial area, there are
  27                                                 additional facilities whose releases of
  28                                                 hazardous substances have reached

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    1
          DEFENDANTS’ ALLEGEDLY
    2                                                 PLAINTIFFS’ RESPONSE AND
        UNCONTROVERTED FACTS AND
                                                        SUPPORTING EVIDENCE
    3      SUPPORTING EVIDENCE
                                                    groundwater and become commingled
    4
                                                    with the Omega contamination,” and the
    5                                               OMEGA OU-2 RI/FS might not have
    6                                               “identified all sources of contamination
                                                    within the OU2 area.” Id.
    7
                                                    Plaintiffs’ object to paragraph 3 because
    8                                               their responsibility for contributing to
    9                                               the OU-2 Groundwater contamination is
                                                    immaterial for purposes of deciding this
  10                                                motion for summary judgment. In this
  11                                                phase of the litigation, certain elements
                                                    of the PMC Defendants’ liability under
  12                                                CERCLA is at issue, not Plaintiffs’.
  13                                                Fresno Motors, LLC v. Mercedes Benz
                                                    USA, LLC, 771 F.3d 1119, 1125 (9th
  14                                                Cir. 2014); Falkner v. Gen. Motors
  15                                                LLC, 393 F. Supp. 3d 927, 930 (C.D.
                                                    Cal. 2018) (“A material fact for
  16                                                purposes of summary judgment is one
  17                                                that might affect the outcome of the suit
                                                    under the applicable law.”) (citation
  18                                                omitted).
  19
  20    4.     For more than a decade, EPA has      Response: Partially disputed, not
        been investigating and identifying other    supported by the cited evidence,
  21
        parties that owned or operated on           misleading and immaterial.
  22    properties in the path of the OU-2 plume
        to assess whether operations or spills on   Evidence: Plaintiffs do not dispute the
  23                                                OMEGA OU-2 RI/FS was issued in
        any of those properties during the
  24    parties’ ownership or operation of the      August 2010, more than a decade ago.
        property may have resulted in the           Hagstrom Decl., Ex. A, at 6 (Docket
  25                                                No. 902-47, at # 17799) (OMEGA OU-
        incremental addition of hazardous
  26    substances to the mass of Plaintiffs’       2 RI/FS, at 8-4).
        contaminants already present in the OU-
  27                                                The PMC Defendants mischaracterize
        2 plume. These parties are referred to as
                                                    the evidence cited and describe in a self-
  28    “potentially responsible parties” or
                                               -7-
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    1
          DEFENDANTS’ ALLEGEDLY
    2                                            PLAINTIFFS’ RESPONSE AND
        UNCONTROVERTED FACTS AND
                                                   SUPPORTING EVIDENCE
    3      SUPPORTING EVIDENCE
        PRPs.                                 serving way. See Hagstrom Decl., Ex.
    4
                                              A, at 6 (Docket No. 902-47, at # 17799)
    5   Supporting Evidence:                  (OMEGA OU-2 RI/FS, at 8-4). Section
    6                                         8.1.2 of the OMEGA OU-2 RI/FS
          Hagstrom Decl., Ex. A [OMEGA
                                              states: “The Omega plume is over 4
    7     OU-2 RI/FS] at § 8.1.2 p. 8-4.
                                              miles long, and because it flows under a
    8                                         densely developed commercial-
                                              industrial area, there are additional
    9                                         facilties whose releases of hazardous
  10                                          substances have reached groundwater
                                              and become commingled with the
  11                                          Omega contamination.” Id. The
  12                                          OMEGA OU-2 RI/FS does not state the
                                              additional facilities whose releases of
  13                                          hazardous substances have reached
  14                                          groundwater and become commingled
                                              with the Omega contamination resulted
  15                                          in an “incremental addition of hazardous
  16                                          substances.” See id. It also does not
                                              specifically identify Plaintiffs as the
  17                                          parties responsible for the “mass” of
  18                                          “contaminants already present in the
                                              OU-2 plume.” See id.
  19
                                              Plaintiffs’ object to paragraph 4 because
  20
                                              their responsibility for contributing to
  21                                          the OU-2 Groundwater contamination is
                                              immaterial for purposes of deciding this
  22
                                              motion for summary judgment. In this
  23                                          phase of the litigation, certain elements
                                              of the PMC Defendants’ liability under
  24
                                              CERCLA is at issue, not Plaintiffs’. In
  25                                          addition, EPA’s conduct of the
                                              Remedial Investigation is not
  26
                                              determinative of the outcome of this
  27                                          summary judgment. Fresno Motors,
                                              LLC v. Mercedes Benz USA, LLC, 771
  28
                                           -8-
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    1
           DEFENDANTS’ ALLEGEDLY
    2                                                 PLAINTIFFS’ RESPONSE AND
         UNCONTROVERTED FACTS AND
                                                        SUPPORTING EVIDENCE
    3       SUPPORTING EVIDENCE
                                                    F.3d 1119, 1125 (9th Cir. 2014);
    4
                                                    Falkner v. Gen. Motors LLC, 393 F.
    5                                               Supp. 3d 927, 930 (C.D. Cal. 2018) (“A
    6                                               material fact for purposes of summary
                                                    judgment is one that might affect the
    7                                               outcome of the suit under the applicable
    8                                               law.”) (citation omitted).

    9
        5.      After identifying the universe of   Response: Partially disputed, not
   10   PRPs, EPA sent two types of letters to      supported by the cited evidence and
   11   the PRPs, a “General Notice Letter” and     immaterial.
        a “Special Notice Letter.” These letters
   12   inform the PRPs regarding their             Evidence: Plaintiffs do not dispute that
        identification as a PRP, their potential    EPA sent “General Notice Letters”
   13                                               (“GNLs”) or “Special Notice Letters” to
        liability at the Omega Superfund site,
   14   information regarding the site and other    numerous PRPs. Hagstrom Decl., Ex. B,
        PRPs, and negotiations for the cleanup      at 21 (Docket No. 526, Fifth AC, ¶ 68
   15                                               (alleging each defendant received a
        of the site.
   16                                               SNL, GNL or has not yet received a
        Supporting Evidence:                        notice letter)).
   17
   18   Hagstrom Decl., Ex. A [OMEGA OU-2           The statement that EPA sent GNLs and
        RI/FS] at § 8.1.2 p. 8-4; Ex. B, [5AC] ¶    SNLs to “the universe of PRPs” is
   19   68-83, 97-98                                overstated and misleading, and
   20                                               contradicted by the very evidence the
                                                    PMC Defendants cite. Hagstrom Decl.,
   21                                               Ex. A, at 6 (Docket No. 902-47, at #
   22                                               17799) (OMEGA OU-2 RI/FS, at 8-4).

   23                                               Section 8.1.2 of the OMEGA OU-2
                                                    RI/FS states: “The Omega plume is over
   24
                                                    4 miles long, and because it flows under
   25                                               a densely developed commercial-
                                                    industrial area, there are additional
   26
                                                    facilities whose releases of hazardous
   27                                               substances have reached groundwater
                                                    and become commingled with the
   28
                                                -9-
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    1
           DEFENDANTS’ ALLEGEDLY
    2                                               PLAINTIFFS’ RESPONSE AND
         UNCONTROVERTED FACTS AND
                                                      SUPPORTING EVIDENCE
    3       SUPPORTING EVIDENCE
                                               Omega contamination. Other sources of
    4
                                               groundwater contamination at OU2 have
    5                                          been identified based on information
    6                                          obtained from file reviews and findings
                                               from field investigations. This
    7                                          investigation may not have identified all
    8                                          sources of contamination within the
                                               OU2 area, and the EPA may conduct
    9                                          additional investigations in the future.”
   10                                          Id.

   11                                          Under CERCLA, EPA is not required to
                                               send notice letters to all entities that
   12                                          contributed contamination to OU-2
   13                                          Groundwater and the Agency has not
                                               done so. EPA acknowledges there are
   14                                          state-led actions to clean up known
   15                                          source properties that are continuing to
                                               contribute to the OU-2 Groundwater
   16                                          contamination and that those actions
   17                                          must work in parallel with the EPA OU-
                                               2 groundwater containment remedy. See
   18                                          Dkt. 770-2, at #14433, #14440-14441
   19                                          (Ex. A, 17, 24-25) (OU-2 ROD, at 1-2,
                                               2-4, 2-5).
   20
   21                                          None of the evidence cited by the PMC
                                               Defendants describes the contents of a
   22                                          notice letter, though Plaintiffs do not
   23                                          dispute such information is set forth in
                                               Hagstrom Decl., Ex B. (Docket No. 526,
   24                                          Fifth AC, §§ 4-5).
   25
                                               Plaintiffs object to paragraph 5 as
   26                                          immaterial for purposes of deciding this
                                               motion for summary judgment. Though
   27
                                               strong circumstantial evidence of
   28                                          Defendants’ liability, EPA’s issuance of
                                           - 10 -
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    1
           DEFENDANTS’ ALLEGEDLY
    2                                                 PLAINTIFFS’ RESPONSE AND
         UNCONTROVERTED FACTS AND
                                                        SUPPORTING EVIDENCE
    3       SUPPORTING EVIDENCE
                                                 a notice letter to the PMC Defendants
    4
                                                 would not directly prove any of the
    5                                            elements of PMC’s or Ferro’s liability
    6                                            under CERCLA and is, therefore,
                                                 immaterial. Fresno Motors, LLC v.
    7                                            Mercedes Benz USA, LLC, 771 F.3d
    8                                            1119, 1125 (9th Cir. 2014); Falkner v.
                                                 Gen. Motors LLC, 393 F. Supp. 3d 927,
    9                                            930 (C.D. Cal. 2018) (“A material fact
   10                                            for purposes of summary judgment is
                                                 one that might affect the outcome of the
   11                                            suit under the applicable law.”) (citation
   12                                            omitted).

   13
        6.    EPA has not identified PMC, as a   Response: Partially disputed,
   14   PRP following its investigation of the   mischaracterizes the evidence cited and
   15   Omega OU-2 Plume, and has not issued     immaterial.
        any General Notice Letters or Special
   16   Notice Letters to PMC.                  Evidence: Plaintiffs do not dispute that,
                                                to date, EPA has not sent a GNL or SNL
   17
        Supporting Evidence:                    to PMC or Ferro. Hagstrom Decl., Ex. B
   18      Hagstrom Decl., Ex. A [OMEGA (Docket No. 526, Fifth AC, ¶¶ 68, 97-98
             OU-2 RI/FS] at § 8.1.2 p. 8-4; Ex. (alleging PMC and Ferro have not yet
   19
             B, [5AC] ¶ 68-83, 97-98.           received a notice letter)).
   20
                                                 The evidence PMC and Ferro cite
   21                                            plainly states that EPA recognizes its
   22                                            investigations to date “may not have
                                                 identified all sources of contamination
   23                                            within the OU2 area, and the EPA may
   24                                            conduct additional investigations in the
                                                 future.” Hagstrom Decl., Ex. A (Docket
   25                                            No. 902-47, at #17799 (Ex. A, 6)
   26                                            (OMEGA OU-2 RI/FS, at 8-4)). EPA
                                                 could issue a GNL or SNL to PMC or
   27                                            Ferro in the future.
   28
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    1
           DEFENDANTS’ ALLEGEDLY
    2                                                  PLAINTIFFS’ RESPONSE AND
         UNCONTROVERTED FACTS AND
                                                         SUPPORTING EVIDENCE
    3       SUPPORTING EVIDENCE
                                                  CERCLA does not require EPA to send
    4
                                                  notice letters to all entities that
    5                                             contributed contamination to OU-2
    6                                             Groundwater. EPA acknowledges there
                                                  are state-led actions to clean up known
    7                                             source properties that are continuing to
    8                                             contribute to the OU-2 Groundwater
                                                  contamination and that those actions
    9                                             must work in parallel with the EPA OU-
   10                                             2 Groundwater containment remedy.
                                                  See Dkt. 770-2, at #14433, #14440-
   11                                             14441 (Ex. A, 17, 24-25) (OU-2 ROD,
   12                                             at 1-2, 2-4, 2-5).

   13                                             Finally, Plaintiffs object to paragraph 6
                                                  as immaterial for purposes of deciding
   14                                             this motion for summary judgment.
   15                                             Though strong circumstantial evidence
                                                  of the PMC Defendants’ liability, EPA’s
   16                                             issuance of a notice letter to PMC or
   17                                             Ferro would not directly prove any of
                                                  the elements of PMC’s or Ferro’s
   18                                             liability under CERCLA and is,
   19                                             therefore, immaterial. Fresno Motors,
                                                  LLC v. Mercedes Benz USA, LLC, 771
   20
                                                  F.3d 1119, 1125 (9th Cir. 2014);
   21                                             Falkner v. Gen. Motors LLC, 393 F.
                                                  Supp. 3d 927, 930 (C.D. Cal. 2018) (“A
   22
                                                  material fact for purposes of summary
   23                                             judgment is one that might affect the
                                                  outcome of the suit under the applicable
   24
                                                  law.”) (citation omitted).
   25
   26   7.     PMC has not received either a      Response: Undisputed, but immaterial.
        General Notice Letter or Special Notice
   27                                             Evidence: Plaintiffs incorporate their
        Letter and Plaintiff has not identified
   28   PMC as a “General Notice Letter” or
                                              - 12 -
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    1
           DEFENDANTS’ ALLEGEDLY
    2                                                    PLAINTIFFS’ RESPONSE AND
         UNCONTROVERTED FACTS AND
                                                           SUPPORTING EVIDENCE
    3       SUPPORTING EVIDENCE
        “Special Notice Letter” defendant.          response to paragraph 6 herein.
    4
    5   Supporting Evidence:
           Hagstrom Decl., Ex. A [OMEGA
    6        OU-2 RI/FS] at § 8.1.2 p. 8-4; Ex.
    7        B, [5AC] ¶ 68-83, 97-98.
    8
    9   8.     The PMC Site is located on 9.1       Response: Undisputed, but not
        acres comprised of 10 parcels with          supported by the evidence cited and,
   10   separate Assessor Parcel Numbers and        therefore, does not comply with Fed. R.
   11   located at 10051 Romandel Avenue,           Civ. P. 56(c)(1)(A).
        Santa Fe Springs, California.
   12
        Supporting Evidence:
   13
           Declaration of Richard Vogl in
   14        Support of PMC Specialties
             Group, Inc. and Ferro
   15
             Corporation’s Motion for
   16        Summary Judgment Re:
   17        CERLCA Liability (“Vogl
             Decl.”) ¶ 12a.
   18
   19   9.    The PMC SITE was operated as a        Response: Partially disputed as
   20   chemical manufacturing plant operated       incomplete.
        by others beginning in approximately
   21   1938 until 1986 when PMC operations         Evidence: Ferro acquired certain
   22   began.                                      parcels of the PMC Site by December
                                                    16, 1975, and Ferro admits it owned and
   23   Supporting Evidence:                        operated a specialty chemical
   24      Vogl Decl., ¶ 12b.                      manufacturing facility at the PMC SITE
                                                    from approximately 1976 until 1986.
   25                                               Declaration of Nancy Sher Cohen Supp.
   26                                               of Opp’n to Defs.’ Mot. for Summ. J.
                                                    (“Cohen Decl.”), Exs. 6, at 81_ (Ferro
   27                                               Corp.’s Supp. Responses to Pls.’ First
   28                                               Set of Interrogatories (Oct. 13, 2017),

                                                - 13 -
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    1
           DEFENDANTS’ ALLEGEDLY
    2                                                 PLAINTIFFS’ RESPONSE AND
         UNCONTROVERTED FACTS AND
                                                        SUPPORTING EVIDENCE
    3       SUPPORTING EVIDENCE
                                                 Supp. Response No. 4, at p. 8)), 2, at 21
    4
                                                 (Waterstone Envtl., Inc., Site Audit
    5                                            Report Of The Former Productol
    6                                            Facility (Jan. 18, 1999) at 7 (Ferro
                                                 Corporation purchased the plant and
    7                                            operated it until 1986 when the plant
    8                                            was purchased by PMC Specialties,
                                                 Inc.)).
    9
   10   10. Operations at the PMC Site were      Response: Undisputed, but misleading.
   11   discontinued in 1992.
                                                 Evidence: Plaintiffs do not dispute
   12   Supporting Evidence:                     various documents state operations at
           Vogl Decl., ¶ 12b.                   the PMC Site were discontinued in
   13                                            1992. Nevertheless, there was already
   14                                            significant soil contamination at the
                                                 PMC Property by the time operations
   15                                            were discontinued in 1992. Rebuttal
   16                                            Expert Report of Robert D. Mutch, Jr.
                                                 P.Hg, P.E. (“Mutch Rebuttal Report”),
   17
                                                 Mar. 4, 2021, at § 2.7, Appendix A at 6-
   18                                            10. And, contamination remains in soil
                                                 and groundwater at the PMC Property at
   19
                                                 present. Cohen Decl., Ex. 3, at 31-37
   20                                            (Waterstone Envtl., Inc., Removal
                                                 Action Workplan, May 22, 2020) at 40-
   21
                                                 46).
   22
   23   11. The PMC SITE has been subject        Response: Partially disputed and
        to California Department of Health       immaterial.
   24
        Services (DHS) oversight since 1988
   25   and California Department of Toxic       Evidence: Mot. at 15. Plaintiffs do not
        Substances Control (DTSC) oversight      dispute that the PMC Property has been
   26                                            subject to regulatory oversight by the
        since approximately 2006, resulting in
   27   PMC undertaking and completing           entities referenced. But, PMC has not
                                                 begun, yet alone completed, remediation
   28
                                             - 14 -
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    1
           DEFENDANTS’ ALLEGEDLY
    2                                                      PLAINTIFFS’ RESPONSE AND
         UNCONTROVERTED FACTS AND
                                                             SUPPORTING EVIDENCE
    3       SUPPORTING EVIDENCE
        multiple site assessment actions.             of the soil contamination that has been
    4
                                                      present on the PMC Property for
    5   Supporting Evidence:                          decades. Cohen Decl., Ex. 3, at 31-37_
           Vogl Decl., ¶ 12c.                        (Waterstone Environmental, Inc.,
    6
                                                      Removal Action Workplan, May 22,
    7                                                 2020, at 40-46). Contamination remains
    8                                                 in soil and groundwater at the PMC
                                                      Property at present. Id. See also Mutch
    9                                                 Rebuttal Report, Mar. 4, 2021, at § 2.8
   10                                                 (site assessments are not equivalent to
                                                      cleaning up the site and, to date, PMC
   11                                                 has only submitted workplans to DTSC
   12                                                 but not undertaken actual cleanup of the
                                                      site).
   13
                                                      Plaintiffs object to paragraph 11 as
   14                                                 immaterial for purposes of deciding this
   15                                                 motion for summary judgment. Fresno
                                                      Motors, LLC v. Mercedes Benz USA,
   16                                                 LLC, 771 F.3d 1119, 1125 (9th Cir.
   17                                                 2014); Falkner v. Gen. Motors LLC, 393
                                                      F. Supp. 3d 927, 930 (C.D. Cal. 2018)
   18                                                 (“A material fact for purposes of
   19                                                 summary judgment is one that might
                                                      affect the outcome of the suit under the
   20
                                                      applicable law.”) (citation omitted).
   21
   22   12. The site operational equipment,           Response: Partially disputed as
        all storage tanks, including 171 above-       incomplete and misleading. Immaterial.
   23
        ground storage tanks and conveyance
   24   piping and structures were demolished         Evidence: Plaintiffs do not dispute
        and/or removed by November 1993.              McLaren/Hart Envtl. Eng’g
   25                                                 decommissioned the PMC chemical
   26                                                 facility between August 1992 and
        Supporting Evidence:                          November 1993, which included
   27      Vogl Decl., ¶ 12e, 21-23, Ex. S           “cleaning, demolishing, and removing
   28        [Summary of PMC cleanup                  all above-ground tanks, process

                                                  - 15 -
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    1
           DEFENDANTS’ ALLEGEDLY
    2                                               PLAINTIFFS’ RESPONSE AND
         UNCONTROVERTED FACTS AND
                                                      SUPPORTING EVIDENCE
    3       SUPPORTING EVIDENCE
              actions]                         equipment, pipelines and towers; and
    4
                                               abatement of asbestos-containing
    5                                          material (ACM).” Cohen Decl., Ex. 15,
    6                                          at 188 (McLaren/Hart Envtl. Eng’g,
                                               Facility Decommissioning Report for
    7                                          PMC Specialties, Inc. (May 1994) at 1-
    8                                          1).

    9                                          Significantly, there was already
                                               significant soil contamination at the
   10                                          PMC Property prior to 1992. Mutch
   11                                          Rebuttal Report, Mar. 4, 2021, at § 2.7,
                                               Appendix A at pp. 6-10.
   12
   13                                          And, despite the decommissioning
                                               activities from August 1992 to
   14                                          November 1993, contamination remains
   15                                          in soil and groundwater at the PMC
                                               Property at present. Cohen Decl., Ex._3,
   16                                          at 31-37_(Waterstone Envtl., Inc.,
   17                                          Removal Action Workplan, May 22,
                                               2020) at 40-46).
   18
                                               Plaintiffs object to paragraph 12 as
   19                                          immaterial for purposes of deciding this
   20                                          motion for summary judgment. Fresno
                                               Motors, LLC v. Mercedes Benz USA,
   21
                                               LLC, 771 F.3d 1119, 1125 (9th Cir.
   22                                          2014); Falkner v. Gen. Motors LLC, 393
                                               F. Supp. 3d 927, 930 (C.D. Cal. 2018)
   23
                                               (“A material fact for purposes of
   24                                          summary judgment is one that might
                                               affect the outcome of the suit under the
   25
                                               applicable law.”) (citation omitted).
   26
   27   13. Following the demolition, the      Response: Partially disputed.
        PMC Site was capped with asphalt and   Immaterial. Actions taken at the PMC
   28
                                           - 16 -
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    1
           DEFENDANTS’ ALLEGEDLY
    2                                                   PLAINTIFFS’ RESPONSE AND
         UNCONTROVERTED FACTS AND
                                                          SUPPORTING EVIDENCE
    3       SUPPORTING EVIDENCE
        rolled base material and engineering       Property to date have not prevented
    4
        controls were placed in certain areas to   chemicals to leach in the soil and
    5   prevent rainwater from causing             groundwater, as no remedial action
    6   chemicals to leach in the soil and         designed to directly address the soil
        groundwater.                               contamination has yet been
    7                                              implemented.
        Supporting Evidence:
    8      Vogl Decl. ¶ 12e, 21-23, Ex. S         Evidence:
    9        [Summary of PMC cleanup
             actions].                             Mot. at 15; Cohen Decl., Ex. 3, at 31-
   10                                              37_(Waterstone Environmental, Inc.,
   11                                              Removal Action Workplan, May 22,
                                                   2020, at 40-46).
   12
                                                   Plaintiffs object to paragraph 13 as
   13                                              immaterial for purposes of deciding this
   14                                              motion for summary judgment. Fresno
                                                   Motors, LLC v. Mercedes Benz USA,
   15                                              LLC, 771 F.3d 1119, 1125 (9th Cir.
   16                                              2014); Falkner v. Gen. Motors LLC, 393
                                                   F. Supp. 3d 927, 930 (C.D. Cal. 2018)
   17                                              (“A material fact for purposes of
   18                                              summary judgment is one that might
                                                   affect the outcome of the suit under the
   19                                              applicable law.”) (citation omitted).
   20
   21   14. Despite its extensive investigation    Response: Partially disputed as
        of the Omega Chemical Site and the         unsupported by the evidence cited and
   22
        Omega OU-2 Plume, EPA has never            immaterial.
   23   identified Ferro Corporation or PMC
        Specialties Group, Inc. (collectively,     Evidence: Plaintiffs do not dispute that,
   24                                              to date, EPA has not sent a GNL or SNL
        “PMC”) as a responsible party, or even
   25   a potentially responsible party with       to PMC or Ferro. Hagstrom Decl., Ex. B
        respect to the Omega OU-2 Plume.           (Docket No. 526, Fifth AC, ¶¶ 68, 97-98
   26                                              (alleging PMC and Ferro have not yet
   27   Supporting Evidence:                       received a notice letter)).
           Hagstrom Decl., Ex. A [OMEGA
   28                                              The cited evidence does not state EPA
                                               - 17 -
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    1
           DEFENDANTS’ ALLEGEDLY
    2                                                   PLAINTIFFS’ RESPONSE AND
         UNCONTROVERTED FACTS AND
                                                          SUPPORTING EVIDENCE
    3       SUPPORTING EVIDENCE
              OU-2 RI/FS] at § 8.1.2 p. 8-4.       has undertaken “extensive
    4
                                                   investigations.” See Hagstrom Decl.,
    5                                              Ex. A, at 6 (Docket No. 902-47, at
    6                                              #17799) (OMEGA OU-2 RI/FS at §
                                                   8.1.2 p. 8-4). It does not state that EPA
    7                                              has never identified the PMC
    8                                              Defendants as a “responsible party” or
                                                   “even a potentially responsible party
    9                                              with respect to the Omega OU-2
   10                                              Plume.” Id.

   11                                              In fact, the evidence the PMC
                                                   Defendants cite plainly states that EPA
   12                                              recognizes its investigations to date
   13                                              “may not have identified all sources of
                                                   contamination within the OU2 area, and
   14                                              the EPA may conduct additional
   15                                              investigations in the future.” Hagstrom
                                                   Decl., Ex. A (Docket No. 902-47, at
   16                                              #17799 (Ex. A, 6) (OMEGA OU-2
   17                                              RI/FS, at 8-4)). EPA could issue a GNL
                                                   or SNL to PMC or Ferro in the future.
   18
   19                                              Plaintiffs object to paragraph 14 as
                                                   immaterial for purposes of deciding this
   20                                              motion for summary judgment. Fresno
   21                                              Motors, LLC v. Mercedes Benz USA,
                                                   LLC, 771 F.3d 1119, 1125 (9th Cir.
   22                                              2014); Falkner v. Gen. Motors LLC, 393
   23                                              F. Supp. 3d 927, 930 (C.D. Cal. 2018)
                                                   (“A material fact for purposes of
   24                                              summary judgment is one that might
   25                                              affect the outcome of the suit under the
                                                   applicable law.”) (citation omitted).
   26
   27   15. Plaintiffs allege that certain         Response: Partially disputed as
   28   disposals occurred at the PMC Site

                                               - 18 -
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    1
           DEFENDANTS’ ALLEGEDLY
    2                                                 PLAINTIFFS’ RESPONSE AND
         UNCONTROVERTED FACTS AND
                                                        SUPPORTING EVIDENCE
    3       SUPPORTING EVIDENCE
        during the time it was owned or          incomplete.
    4
        operated by PMC.
    5                                            Evidence: Plaintiffs allege disposals
        Supporting Evidence:                     occurred at the PMC Site during the
    6      Hagstrom Decl., Ex. B, [5AC] ¶       time it was owned and operated by
    7        375-378.                            Ferro and PMC. Hagstrom Decl., Ex. B
                                                 at 100-103 (Docket No. 526, Fifth AC,
    8                                            ¶¶ 368-378); Plaintiffs’ Request for
    9                                            Judicial Notice in Support of Opposition
                                                 to Defs.’ Joint Mots. for Summ. J. re:
   10                                            CERCLA Liability (“Opp’n RFJN”),
   11                                            Exs. 8, at 75-78_(SFSFD, Fire
                                                 Investigation Report No. 528 (Mar. 18,
   12                                            1979) (release of chemicals during fire
   13                                            at plant), 9, at_79 (DTSC, Abandoned
                                                 Site Project, Oct. 19, 1980 Driveby
   14                                            (Oct. 19, 1980) at 1 (documenting
   15                                            sloppy storage of chemicals in drums on
                                                 bare ground and along railroad tracks),
   16                                            10, at 86 (DTSC, Abandoned Site
   17                                            Project, Report (Mar. 1981) at 3
                                                 (documenting considerable number of
   18                                            stored drums on unpaved segments of
   19                                            property and potential for contamination
                                                 via runoff during storm), 11, at 96
   20
                                                 (Dept. of Health Services, Facility
   21                                            Inspection Report (Feb. 8, 1985) at 10
                                                 (documenting signs of chemical spills
   22
                                                 by railroad tracks and brownish liquid
   23                                            leaking onto unpaved ground from pipe
                                                 in naphthenic acid plant area), 12,
   24
                                                 at_113 (Dept. of Health Srvs., Notice of
   25                                            Violation & Directive to Comply (Feb.
                                                 22, 1985) (signs of soil contamination
   26
                                                 along railroad tracks by naphthalene-
   27                                            cresylate loading area and throughout
                                                 unpaved areas by the naphthenic acid
   28
                                             - 19 -
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    1
           DEFENDANTS’ ALLEGEDLY
    2                                                       PLAINTIFFS’ RESPONSE AND
         UNCONTROVERTED FACTS AND
                                                              SUPPORTING EVIDENCE
    3       SUPPORTING EVIDENCE
                                                       plant area)
    4
    5                                                  See also, Appendix A to Mutch Rebuttal
                                                       Report, Mar. 4, 2021, at pp. 1-6.
    6
    7   16. Plaintiffs identify the chemicals          Response: Disputed as incomplete.
    8   allegedly released or disposed of at the
        PMC Site, between 1987-1992, as                Evidence: Plaintiffs also allege that, in
    9   benzene, cresol, MEK, phenol,                  2011, EPA concluded that cresol and
   10   propylene, styrene, and sulfuric acid.         phenol had been disposed of at the PMC
                                                       Property. Hagstrom Decl., Ex. B, at 101
   11   Supporting Evidence:                           (Dkt. No. 902-48, at #17894, Fifth AC,
   12      Hagstrom Decl., Ex. B, [5AC] ¶             ¶ 373). Plaintiffs allege that, in 1987, a
             373.                                      storage tank was removed from the
   13                                                  PMC Property and soil underneath was
   14                                                  found to be contaminated with
                                                       ethylbenzene and other chemicals. Id. at
   15                                                  ¶ 375. In the same paragraph, Plaintiffs
   16                                                  allege Defendant PMC stopped using a
                                                       chemical storage tank holding benzene,
   17                                                  p-cresol, ethylbenzene and 2-4-
   18                                                  dimethylphenol because it had two
                                                       cracks in the side and a one-inch hole in
   19                                                  the bottom. Id.
   20
                                                       Plaintiffs also allege that, between 1986
   21                                                  and 2002, soil investigations at the PMC
                                                       Property revealed the presence of
   22
                                                       numerous hazardous substances,
   23                                                  including: ethylbenzene; PCE; TCE;
                                                       toluene; naphthalene; and 1,1,2-TCA.
   24
                                                       Id. at ¶ 376.
   25
                                                       Plaintiffs’ discovery responses
   26                                                  identified disposals and releases of:
   27                                                  acetone, methyl ethyl ketone,
                                                       chloroform, naphthalene, benzene,
   28
                                                   - 20 -
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    1
           DEFENDANTS’ ALLEGEDLY
    2                                                  PLAINTIFFS’ RESPONSE AND
         UNCONTROVERTED FACTS AND
                                                         SUPPORTING EVIDENCE
    3       SUPPORTING EVIDENCE
                                                  toluene, ethylbenzene and xylenes, inter
    4
                                                  alia. Cohen Decl., Ex. 7, at 98-110
    5                                             (Plaintiffs’ Supp. Responses to Def.
    6                                             PMC’s First Set of Interrogs. No. 2 & 3
                                                  (Jan. 22, 2018)); Ex. 8, at 125-136
    7                                             (Plaintiffs’ Supp. Responses to Def.
    8                                             Ferro’s First Set of Interrogs. No. 2 & 3
                                                  (Jan. 22, 2018)).
    9
                                                  Plaintiffs were not obligated to conduct
   10                                             expert discovery in Phase I, the liability
   11                                             phase, unless and until a party filed a
                                                  motion for summary judgment or partial
   12                                             summary judgment. See Nov. 23, 2020
   13                                             Order re Briefing and Expert Discovery
                                                  Schedule – Liability Summary-
   14                                             Judgment Motions (Docket No. 888).
   15                                             Additional chemicals have been
                                                  detected in soil and groundwater at the
   16                                             PMC Site. Mutch Rebuttal Report, Mar.
   17                                             4, 2021, Appendix A at pp. 6-10 (1,1,2-
                                                  TCA, 1,2-Dibromo-3-chloropropane,
   18                                             benzene, PCE, toluene, antimony,
   19                                             arsenic, hexavalent chromium, mercury,
                                                  nickel, and selenium detected in soil at
   20
                                                  the PMC Site), pp. 10-14 (1,1,1-TCA,
   21                                             PCE, DEHP, trans-1,2-DCE, benzene,
                                                  cis-1,2-DCE, TCE, toluene, and
   22
                                                  methylene chloride detected in
   23                                             groundwater at the PMC Site).
   24
        17. Relying only on information and       Response: Disputed. Plaintiffs do not
   25
        belief, Plaintiffs conclude without any   contend that PMC is a source of
   26   basis that contaminants have migrated     contamination of another downgradient
        into the soil and the groundwater, and    piece of real property; instead, Plaintiffs
   27
        have migrated offsite to support its      contend that the PMC Property is a
   28   claim that PMC is a source of             source of contamination in OU-2
                                              - 21 -
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    1
           DEFENDANTS’ ALLEGEDLY
    2                                                 PLAINTIFFS’ RESPONSE AND
         UNCONTROVERTED FACTS AND
                                                        SUPPORTING EVIDENCE
    3       SUPPORTING EVIDENCE
        contamination of another downgradient     Groundwater. The soils at the PMC
    4
        property.                                 Property are contaminated with various
    5                                             CERCLA hazardous substances, as is
        Supporting Evidence:                      the groundwater, and contaminated
    6      Hagstrom Decl., Ex. B, [5AC] ¶        groundwater has migrated offsite.
    7        379-384.
                                                  Evidence: Hagstrom Decl., Ex. B, at
    8                                             102-104, (Dkt. No. 902-48, at #17895-
    9                                             17897, ¶¶ 379-384); 40 C.F.R. § 302.4;
                                                  Cohen Decl., Exs. 5, at 55-56, 68, 71, 73
   10                                             (Waterstone Environmental, Inc., Final
   11                                             Environmental Characterization Report
                                                  (Sept. 30, 2013) at 18-19 & Table 3 at
   12                                             12, 15, 17),_16, at 194 (Kaman Sciences
   13                                             Corp., Soil and Groundwater
                                                  Assessment in the Vicinity of Tank T-
   14                                             81 (Jun. 1988) at 3-5); Mutch Rebuttal
   15                                             Report, Mar. 4, 2021, at 2-11 to 2-12 &
                                                  Fig. 2-18, Appendix A at pp. 6-13.
   16
   17
        18. Plaintiffs only allege that           Response: Disputed. Plaintiffs’ Fifth
   18   Benzene and toluene migrated to the Oil   Amended Complaint asserts numerous
        Field Reclamation Project (“OFRP”)        allegations against Defendants PMC
   19
        Site, which sits in between the PMC       Specialties Group, Inc. and Ferro Corp.,
   20   Site and the Omega OU-2 Plume to the      including that contaminants in the soil
        west and downgradient of the PMC Site.    and in the groundwater from the soil at
   21
                                                  the PMC Source Property have migrated
   22   Supporting Evidence:                      offsite in the same general direction as
           Hagstrom Decl., Ex. B, [5AC] ¶        the regional groundwater flow.
   23        383-386.
   24                                             Evidence: Hagstrom Decl., Ex. B,
                                                  [5AC] ¶¶ 97-98; 115; 367-386; 396-426.
   25
                                                  Plaintiffs were not obligated to conduct
   26
                                                  expert discovery in Phase I, the liability
   27                                             phase, unless and until a party filed a
                                                  motion for summary judgment or partial
   28
                                             - 22 -
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    1
           DEFENDANTS’ ALLEGEDLY
    2                                                  PLAINTIFFS’ RESPONSE AND
         UNCONTROVERTED FACTS AND
                                                         SUPPORTING EVIDENCE
    3       SUPPORTING EVIDENCE
                                                  summary judgment. See Nov. 23, 2020
    4
                                                  Order re Briefing and Expert Discovery
    5                                             Schedule – Liability Summary-
    6                                             Judgment Motions (Docket No. 888).
                                                  Groundwater contamination from the
    7                                             PMC Site migrates into the OU-2
    8                                             Groundwater plume. Mutch Rebuttal
                                                  Report, Mar. 4, 2021, at § 2.1, Figures
    9                                             2-5 through 2-9, Appendix A to Mutch
   10                                             Rebuttal Report, Mar. 4, 2021, at pp. 5-
                                                  14 & Figure 1-1.
   11
   12   19. In Plaintiffs’ responses to PMC’s     Response: Disputed.
   13   discovery, Plaintiffs’ only allege
        “groundwater contamination from the     Evidence: Plaintiffs were not obligated
   14   [PMC Site] may intersect OU-2 given     to conduct expert discovery in Phase I,
        that the groundwater flow direction     the liability phase, unless and until a
   15                                           party filed a motion for summary
        from that property has been determined
   16   to be to the southwest.”                judgment or partial summary judgment.
                                                See Nov. 23, 2020 Order re Briefing and
   17
        Supporting Evidence:                    Expert Discovery Schedule – Liability
   18      Hagstrom Decl., Ex. C, [Ferro       Summary-Judgment Motions (Docket
             Corporation’s Interrogatories to   No. 888). Groundwater contamination
   19
             Plaintiffs] Nos. 3-4, Ex. D,       from the PMC Site migrates into the
   20        [Plaintiffs’ Supplemental Resp. to OU-2 Groundwater plume. Mutch
             Ferro Corporation’s                Rebuttal Report, Mar. 4, 2021, at § 2.1,
   21
             Interrogatories to Plaintiffs] No. Figures 2-5 through 2-9, Appendix A to
   22        3-4; Ex. E, [PMC Interrogatories Mutch Rebuttal Report, Mar. 4, 2021, at
             to Plaintiffs], No. 3, Ex. F, [PMC pp. 5-14 & Figure 1-1.
   23
             Supplemental Resp. to PMC’s
   24        Interrogatories to Plaintiffs] No.
   25        3.

   26
        20. The PMC Site is not located           Response: Disputed and immaterial.
   27   above or adjacent to the OU-2 Facility.   The PMC Source Property is located on
   28                                             10051 Romandel Avenue, Santa Fe

                                              - 23 -
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    1
           DEFENDANTS’ ALLEGEDLY
    2                                                    PLAINTIFFS’ RESPONSE AND
         UNCONTROVERTED FACTS AND
                                                           SUPPORTING EVIDENCE
    3       SUPPORTING EVIDENCE
        Supporting Evidence:                        Springs, California. The eastern
    4
           Vogl Decl. ¶ 17, Ex. C [site map],      boundary of Operable Unit No. 2,
    5        G [PMC Plot Plan] and H [map           according to PMC’s expert, Mr. Richard
    6        showing OFRP].                         Vogel, passes 1,000 feet to the west of
                                                    the PMC Source Property, although
    7                                               CH2M HILL appears to have placed it
    8                                               closer.

    9                                               Evidence: Mot. at 14; Vogl Decl. ¶ 11a;
                                                    Opp’n RFJN, Ex. 2, at 30 (CH2M
   10                                               HILL, Final Remedial Investigation /
   11                                               Feasibility Study Reports, August 2010,
                                                    at Fig. 1-4).
   12
   13                                               Plaintiffs object to paragraph 20 as
                                                    immaterial for purposes of deciding this
   14                                               motion for summary judgment. Fresno
   15                                               Motors, LLC v. Mercedes Benz USA,
                                                    LLC, 771 F.3d 1119, 1125 (9th Cir.
   16                                               2014); Falkner v. Gen. Motors LLC, 393
   17                                               F. Supp. 3d 927, 930 (C.D. Cal. 2018)
                                                    (“A material fact for purposes of
   18                                               summary judgment is one that might
   19                                               affect the outcome of the suit under the
                                                    applicable law.”) (citation omitted).
   20
   21   21. The available data demonstrates         Response: Disputed and immaterial.
   22   that no mixing, commingling, or             Plaintiffs need only establish a plausible
        intersection of the PMC Plume and the       migration pathway, not mixing,
   23   Omega OU-2 Plume has occurred.              commingling or intersection.
   24
        Supporting Evidence:                        Evidence: Mutch Rebuttal Report §§
   25      Vogl Decl., ¶¶ 10-23, Ex. C [site       2.1, 2.3 & Figs. 2-5 to 2-9, 2-18; Opp’n
             map], G [PMC Plot Plan] and H          RFJN, Ex. 2, at 30 (CH2M HILL, Final
   26
             [map showing OFRP].                    Remedial Investigation / Feasibility
   27                                               Study Reports (August 2010) at Fig. 1-
                                                    4); Cohen Decl., Ex. 14, at 181-183 _
   28
                                                - 24 -
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    1
           DEFENDANTS’ ALLEGEDLY
    2                                                  PLAINTIFFS’ RESPONSE AND
         UNCONTROVERTED FACTS AND
                                                         SUPPORTING EVIDENCE
    3       SUPPORTING EVIDENCE
                                                  (Intera Incorporated, Final Groundwater
    4
                                                  Flow Model Development and
    5                                             Calibration Report (May 11, 2020) at
    6                                             Figs. 2.5, 4.7, 5.11).

    7                                             Plaintiffs object to paragraph 21 as
                                                  immaterial for purposes of deciding this
    8                                             motion for summary judgment. Fresno
    9                                             Motors, LLC v. Mercedes Benz USA,
                                                  LLC, 771 F.3d 1119, 1125 (9th Cir.
   10                                             2014); Falkner v. Gen. Motors LLC, 393
   11                                             F. Supp. 3d 927, 930 (C.D. Cal. 2018)
                                                  (“A material fact for purposes of
   12                                             summary judgment is one that might
   13                                             affect the outcome of the suit under the
                                                  applicable law.”) (citation omitted).
   14
   15   22. The distinct chemical and             Response: Disputed and immaterial.
   16   physical characteristics of each plume    Plaintiffs need only establish a plausible
        demonstrate the PMC Plume has not         migration pathway, not mixing,
   17
        reached, commingled or intersected the    commingling or intersection.
   18   Omega OU-2 Plume.
                                                  Evidence: Mutch Rebuttal Report §§
   19   Supporting Evidence:                      2.1, 2.3, 2.6 & Figs. 2-5 to 2-9, 2-18;
   20      Vogl Decl., ¶¶ 10f, 11c, 20b-c,       Opp’n RFJN, Ex. 2, at 30 (CH2M
             Ex. Q-1, Q-2 [Chemical               HILL, Final Remedial Investigation /
   21        Fingerprint Analysis]                Feasibility Study Reports (August 2010)
   22                                             at Fig. 1-4); Cohen Decl., Ex. 14, at
                                                  181-183_(Intera Incorporated, Final
   23                                             Groundwater Flow Model Development
   24                                             and Calibration Report (May 11, 2020)
                                                  at Figs. 2.5, 4.7, 5.11).
   25
                                                  Plaintiffs object to paragraph 22 as
   26
                                                  immaterial for purposes of deciding this
   27                                             motion for summary judgment. Fresno
                                                  Motors, LLC v. Mercedes Benz USA,
   28
                                              - 25 -
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    1
           DEFENDANTS’ ALLEGEDLY
    2                                                  PLAINTIFFS’ RESPONSE AND
         UNCONTROVERTED FACTS AND
                                                         SUPPORTING EVIDENCE
    3       SUPPORTING EVIDENCE
                                                  LLC, 771 F.3d 1119, 1125 (9th Cir.
    4
                                                  2014); Falkner v. Gen. Motors LLC, 393
    5                                             F. Supp. 3d 927, 930 (C.D. Cal. 2018)
    6                                             (“A material fact for purposes of
                                                  summary judgment is one that might
    7                                             affect the outcome of the suit under the
    8                                             applicable law.”) (citation omitted).

    9
        23. The most frequently detected          Response: Disputed as misleading and
   10   chemicals at the highest concentrations   immaterial.
   11   in the Omega OU-2 Plume is
        characterized by the VOCs,                Evidence: There are more than three
   12   trichloroethylene (“TCE”),                contaminants in OU-2 Groundwater,
        perchloroethylene (“PCE”), and 1, 1       and benzene is included on the list.
   13                                             Mutch Rebuttal Report, Mar. 4, 2012, at
        dichloroethene (“1, 1-DCE”)
   14   (collectively “Omega OU-2 Marker          § 2.6. Benzene is present in both the
        Chemicals”)                               OU-2 Groundwater plume and
   15                                             groundwater at the PMC Site. Id.;
   16   Supporting Evidence:                      RFJN, Ex. 1, at 42-43 (listing benzene
           Vogl Decl., ¶¶ 20b, Ex. Q-1, Q-2      as contaminant of potential concern in
   17
             [Chemical Fingerprint Analysis].     OU-2 Groundwater); Cohen Decl., Ex.
   18                                             10, at 173_(Waterstone Envtl., Inc.,
                                                  Envtl. Characterization Report—Former
   19
                                                  Productol Site (July 12, 2000) at 2)
   20                                             (identifying chemicals detected in
                                                  groundwater at the PMC Site at elevated
   21
                                                  concentrations, including benzene).
   22
                                                  Plaintiffs object to paragraph 23 as
   23                                             immaterial for purposes of deciding this
   24                                             motion for summary judgment. Fresno
                                                  Motors, LLC v. Mercedes Benz USA,
   25                                             LLC, 771 F.3d 1119, 1125 (9th Cir.
   26                                             2014); Falkner v. Gen. Motors LLC, 393
                                                  F. Supp. 3d 927, 930 (C.D. Cal. 2018)
   27                                             (“A material fact for purposes of
   28                                             summary judgment is one that might

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    1
           DEFENDANTS’ ALLEGEDLY
    2                                                  PLAINTIFFS’ RESPONSE AND
         UNCONTROVERTED FACTS AND
                                                         SUPPORTING EVIDENCE
    3       SUPPORTING EVIDENCE
                                                  affect the outcome of the suit under the
    4
                                                  applicable law.”) (citation omitted).
    5
    6   24. The most frequently detected          Response: Disputed as misleading.
    7   chemicals at the highest concentrations
        in the PMC Plume are naphthalene and      Evidence: There are more than two
    8   benzene.                                  contaminants in groundwater at the
    9                                             PMC Site. Mutch Rebuttal Report, Mar.
        Supporting Evidence                       4, 2012, at § 2.6. Cohen Decl., Ex. 10, at
   10      Vogl Decl., ¶ 13g, 20b. See Also,     173_(Waterstone Envtl., Inc., Envtl.
   11        Ex. F2 [Voluntary Cleanup            Characterization Report—Former
             Agreement for PMC Site].             Productol Site (July 12, 2000) at 2)
   12                                             (identifying chemicals detected in
   13                                             groundwater at the PMC Site at elevated
                                                  concentrations, including 2-Methyl and
   14                                             4-Methyl phenol, 2,4-Dimethylphenol
   15                                             and Phenol).

   16                                             The PMC Defendants’ expert, Richard
                                                  Vogl, has not drawn a representation of
   17
                                                  the purported “PMC Plume,” Cohen
   18                                             Decl., Ex. 9, at 146-147, 162 (R. Vogl
                                                  Dep. Tr., at 40:22 to 41:14; 162:11-20),
   19
                                                  nor does the stated fact identify other
   20                                             hazardous substances, including phenol
                                                  and 2,4-DIMP, that have been detected
   21
                                                  in groundwater at the PMC Site and
   22                                             downgradient of the PMC Site. Cohen
                                                  Decl., Ex. 10, at 173 (Waterstone
   23
                                                  Environmental, Inc. Environmental
   24                                             Characterization Report (Jul. 12, 2000),
                                                  at 2); see Mutch Rebuttal Report, Mar.
   25
                                                  4, 2021, at Figure 2-18.
   26
   27   25. The groundwater contaminants in       Response: Disputed and immaterial.
        the Omega OU-2 Plume show
   28
                                              - 27 -
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    1
           DEFENDANTS’ ALLEGEDLY
    2                                                   PLAINTIFFS’ RESPONSE AND
         UNCONTROVERTED FACTS AND
                                                          SUPPORTING EVIDENCE
    3       SUPPORTING EVIDENCE
        detections of the Omega OU-2 Marker         Evidence: Mutch Rebuttal Report §§
    4
        Chemicals are consistently detected at      2.5, 2.6 & Fig. 2-18; Opp’n RFJN, Exs.
    5   substantially similar magnitudes in both    2, at 31 (CH2M HILL, Remedial
    6   OU-1 and OU-2.                              Investigation / Feasibility Study
                                                    Reports, Operable Unit 2 (Aug. 2010) at
    7   Supporting Evidence:                        2-1), 3, at 55 (OU-2 Consent Decree
           Vogl Decl., ¶ 20f, Ex. P [map           (Oct. 6, 2016), Appendix B, at 287);
    8        depicting well data used re            Cohen Decl., Ex. 10, at 173 (Waterstone
    9        chemical fingerprinting], Q-1, Q-      Environmental, Inc. Environmental
             2 [chemical fingerprinting             Characterization Report (Jul. 12, 2000),
   10        analysis].                             at 2).
   11
                                                    Plaintiffs object to paragraph 25 as
   12                                               immaterial for purposes of deciding this
   13                                               motion for summary judgment. Fresno
                                                    Motors, LLC v. Mercedes Benz USA,
   14                                               LLC, 771 F.3d 1119, 1125 (9th Cir.
   15                                               2014); Falkner v. Gen. Motors LLC, 393
                                                    F. Supp. 3d 927, 930 (C.D. Cal. 2018)
   16                                               (“A material fact for purposes of
   17                                               summary judgment is one that might
                                                    affect the outcome of the suit under the
   18                                               applicable law.”) (citation omitted).
   19
   20   26. The same maximum                        Response: Disputed and immaterial.
        downgradient reach or outer edge of
   21                                               Evidence: Mutch Rebuttal Report §§
        TCE, PCE and 1,1 DCE, which
   22   migrated onto the PMC Site from             2.5, 2.6 & Fig. 2-18; Opp’n RFJN, Exs.
        upgradient sources, is also defined by      2, at_31 (CH2M HILL, Remedial
   23                                               Investigation / Feasibility Study
        non-detect test results in monitoring
   24   wells located less than 450 feet from the   Reports, Operable Unit 2 (Aug. 2010) at
        PMC Site.                                   2-1), 3, at 55 (OU-2 Consent Decree
   25                                               (Oct. 6, 2016), Appendix B, at 287);
   26   Supporting Evidence:                        Cohen Decl., Ex. 10, at 173 (Waterstone
           Vogl Decl., ¶¶ 19a(viii), 20f, Ex.      Environmental, Inc. Environmental
   27        P [map depicting well data used        Characterization Report, Jul. 12, 2000,
   28        re chemical fingerprinting], Q-1,

                                               - 28 -
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    1
           DEFENDANTS’ ALLEGEDLY
    2                                                      PLAINTIFFS’ RESPONSE AND
         UNCONTROVERTED FACTS AND
                                                             SUPPORTING EVIDENCE
    3       SUPPORTING EVIDENCE
              Q-2 [chemical fingerprinting            at 2).
    4
              analysis].
    5                                                 Plaintiffs object to paragraph 26 as
                                                      immaterial for purposes of deciding this
    6                                                 motion for summary judgment. Fresno
    7                                                 Motors, LLC v. Mercedes Benz USA,
                                                      LLC, 771 F.3d 1119, 1125 (9th Cir.
    8                                                 2014); Falkner v. Gen. Motors LLC, 393
    9                                                 F. Supp. 3d 927, 930 (C.D. Cal. 2018)
                                                      (“A material fact for purposes of
   10                                                 summary judgment is one that might
   11                                                 affect the outcome of the suit under the
                                                      applicable law.”) (citation omitted).
   12
   13   27. The benzene and naphthalene               Response: Disputed and immaterial.
   14   plume originating from the PMC Site           The cited evidence does not support the
        attenuates to non-detect concentrations       statement. Mr. Vogl’s declaration does
   15   within 800 feet downgradient from the         not include an explanation or graphic
   16   PMC Site.                                     depicting the nature or extent of a plume
                                                      originating from the PMC Property.
   17   Supporting Evidence                           Contamination from the PMC Property
   18      Vogl Decl., ¶ 20a-e, Ex. Q-1              has impacted or threatens to impact OU-
             [chemical fingerprinting                 2 Groundwater.
   19        analysis].
   20                                                 Evidence: Mutch Rebuttal Report §§
                                                      2.1, 2.3 & Figs. 2-5 to 2-9, 2-18; Opp’n
   21                                                 RFJN, Ex. 2, at 30 (CH2M HILL, Final
   22                                                 Remedial Investigation / Feasibility
                                                      Study Reports (Aug. 2010) at Fig. 1-4);
   23                                                 Cohen Decl., Ex. 14, at 181-183 (Intera
   24                                                 Incorporated, Final Groundwater Flow
                                                      Model Development and Calibration
   25                                                 Report (May 11, 2020) at Figs. 2.5, 4.7,
   26                                                 5.11).
   27                                                 Plaintiffs object to paragraph 27 as
                                                      immaterial for purposes of deciding this
   28
                                                  - 29 -
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    1
           DEFENDANTS’ ALLEGEDLY
    2                                                  PLAINTIFFS’ RESPONSE AND
         UNCONTROVERTED FACTS AND
                                                         SUPPORTING EVIDENCE
    3       SUPPORTING EVIDENCE
                                                  motion for summary judgment. Fresno
    4
                                                  Motors, LLC v. Mercedes Benz USA,
    5                                             LLC, 771 F.3d 1119, 1125 (9th Cir.
    6                                             2014); Falkner v. Gen. Motors LLC, 393
                                                  F. Supp. 3d 927, 930 (C.D. Cal. 2018)
    7                                             (“A material fact for purposes of
    8                                             summary judgment is one that might
                                                  affect the outcome of the suit under the
    9                                             applicable law.”) (citation omitted).
   10
   11   28. The trace amount of benzene in        Response: Disputed and immaterial.
        the Omega OU-2 Mid-plume and              The cited evidence does not support the
   12   benzene in these three downgradient       statement that benzene in the Omega
   13   areas are likely from gasoline or light   OU-2 Mid-plume and benzene in these
        end hydrocarbon releases on the           three downgradient areas are likely from
   14   numerous properties with underground      the sources referenced in the fact.
   15   storage tanks and/or Leaky                Contamination from the PMC Property
        Underground Storage Tank (“LUST”),        has impacted or threatens to impact OU-
   16   and other chemical releases.              2 Groundwater.
   17
        Supporting Evidence                       Evidence: Mutch Rebuttal Report §§
   18      Vogl Decl., ¶ 20d-g, Ex. Q-1          2.1, 2.3 & Figs. 2-5 to 2-9, 2-18; Opp’n
             [chemical fingerprinting             RFJN, Ex. 2, at 30 (CH2M HILL, Final
   19
             analysis].                           Remedial Investigation / Feasibility
   20                                             Study Reports (Aug. 2010) at Fig. 1-4);
                                                  Cohen Decl., Ex. 14, at 181-183 (Intera
   21
                                                  Incorporated, Final Groundwater Flow
   22                                             Model Development and Calibration
                                                  Report, May 11, 2020, Figs. 2.5, 4.7,
   23
                                                  5.11).
   24
                                                  Plaintiffs object to paragraph 28 as
   25                                             immaterial for purposes of deciding this
   26                                             motion for summary judgment. Fresno
                                                  Motors, LLC v. Mercedes Benz USA,
   27                                             LLC, 771 F.3d 1119, 1125 (9th Cir.
   28                                             2014); Falkner v. Gen. Motors LLC, 393

                                              - 30 -
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    1
           DEFENDANTS’ ALLEGEDLY
    2                                                  PLAINTIFFS’ RESPONSE AND
         UNCONTROVERTED FACTS AND
                                                         SUPPORTING EVIDENCE
    3       SUPPORTING EVIDENCE
                                                   F. Supp. 3d 927, 930 (C.D. Cal. 2018)
    4
                                                   (“A material fact for purposes of
    5                                              summary judgment is one that might
    6                                              affect the outcome of the suit under the
                                                   applicable law.”) (citation omitted).
    7
    8   29. Three releases at downgradient         Response: Disputed as immaterial and
    9   locations have been documented and are     not supported by the evidence cited.
        downgradient from the PMC Site; the
   10   three locations, include a pipeline        Evidence: The three downgradient
        release of gasoline that McClaren/Hart     releases “selected” by the PMC
   11                                              Defendants’ expert, Richard Vogl, as
        Described in the OFRP Groundwater
   12   Study; a release at a former drum          part of his “chemical fingerprinting
        recycler, the Beaumon Trust Property,      analysis” are not the only three releases
   13                                              of hazardous substances to groundwater
        which washed out thousands of drums
   14   collected from industrial sites and        downgradient of the PMC Site. Mutch
        illegally dumped over 60 volatile, semi-   Rebuttal Report, Mar. 4, 2021, at §§ 2.3,
   15                                              2.5 & Figures 2-18 (demonstrating that
        volatile, and metals-containing chemical
   16   compounds on a single town lot; as well    benzene, napthalene, 2,4-DIMP and
        as a LUST site at the Yellow Freight       phenol has migrated from the PMC Site
   17
        Property.                                  into OU-2 Groundwater).
   18
        Supporting Evidence                        Plaintiffs object to paragraph 29 as
   19                                              immaterial for purposes of deciding this
           Vogl Decl., ¶ 20d-e, Ex. Q-1
   20        [chemical fingerprinting              motion for summary judgment. Fresno
             analysis].                            Motors, LLC v. Mercedes Benz USA,
   21                                              LLC, 771 F.3d 1119, 1125 (9th Cir.
   22                                              2014); Falkner v. Gen. Motors LLC, 393
                                                   F. Supp. 3d 927, 930 (C.D. Cal. 2018)
   23                                              (“A material fact for purposes of
   24                                              summary judgment is one that might
                                                   affect the outcome of the suit under the
   25                                              applicable law.”) (citation omitted).
   26
   27   30. There are approximately 25             Response: Disputed as immaterial and
        properties with former or current          not supported by the evidence cited.
   28
                                              - 31 -
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    1
           DEFENDANTS’ ALLEGEDLY
    2                                                PLAINTIFFS’ RESPONSE AND
         UNCONTROVERTED FACTS AND
                                                       SUPPORTING EVIDENCE
    3       SUPPORTING EVIDENCE
        underground storage tanks located       Regardless of whether there are
    4
        within the Omega OU-2 Plume and in      approximately 25 properties with former
    5   the region downgradient from the PMC    or current underground storage tanks
    6   Site.                                   located within the Omega OU-2 Plume
                                                and in the region downgradient from the
    7   Supporting Evidence:                    Site, which Vogl. Decl., Ex. Q-1, does
           Vogl Decl., ¶ 20d-e, Ex. Q-1,       not depict or substantiate, does not
    8        [chemical fingerprinting           change the fact that contamination from
    9        analysis].                         the PMC Property has impacted or
   10                                           threatens to impact OU-2 Groundwater.
                                                Mutch Rebuttal Report §§ 2.1, 2.3 &
   11                                           Figs. 2-5 to 2-9, 2-18; Opp’n RFJN, Ex.
   12                                           2, at 30 (CH2M HILL, Final Remedial
                                                Investigation / Feasibility Study Reports
   13                                           (Aug. 2010) at Fig. 1-4); Cohen Decl.,
   14                                           Ex. 14, at 181-183 (Intera Incorporated,
                                                Final Groundwater Flow Model
   15                                           Development and Calibration Report,
   16                                           May 11, 2020, Figs. 2.5, 4.7, 5.11).

   17                                           Plaintiffs object to paragraph 30 as
                                                immaterial for purposes of deciding this
   18                                           motion for summary judgment. Fresno
   19                                           Motors, LLC v. Mercedes Benz USA,
                                                LLC, 771 F.3d 1119, 1125 (9th Cir.
   20
                                                2014); Falkner v. Gen. Motors LLC, 393
   21                                           F. Supp. 3d 927, 930 (C.D. Cal. 2018)
                                                (“A material fact for purposes of
   22
                                                summary judgment is one that might
   23                                           affect the outcome of the suit under the
                                                applicable law.”) (citation omitted).
   24
   25
        31. PMC never used TCE, PCE, or         Response: Disputed as immaterial.
   26   1,1 DCE in its operations.
                                                Evidence: Any hazardous substances
   27   Supporting Evidence:                    present in OU-2 Groundwater above
   28      Vogl Decl. ¶¶ 10e, 19a(viii),       screening levels will be addressed by the

                                            - 32 -
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    1
           DEFENDANTS’ ALLEGEDLY
    2                                                PLAINTIFFS’ RESPONSE AND
         UNCONTROVERTED FACTS AND
                                                       SUPPORTING EVIDENCE
    3       SUPPORTING EVIDENCE
              Exhibit E [summary of chemicals   EPA-required OU-2 remedy. Mutch
    4
              used and stored at PMC Site]      Rebuttal Report, Mar. 4, 2021, at § 2.5.
    5                                           There are more than three contaminants
    6                                           in OU-2 Groundwater, and benzene is
                                                included on the list. Id. at §§ 2.5, 2.6;
    7                                           RFJN, Ex. 1, at 42-43 (listing benzene
    8                                           as contaminant of potential concern in
                                                OU-2 Groundwater). Benzene was used
    9                                           by both PMC Defendants in plant
   10                                           operations and has been detected in
                                                groundwater underneath the PMC Site
   11                                           at elevated concentrations. Cohen Decl.,
   12                                           Exs. 2, at 23-24 (Waterstone Envtl.,
                                                Inc., Envtl. Characterization Report—
   13                                           Former Productol Site (Jan. 18, 1999) at
   14                                           9-10) (identifying chemicals used in
                                                PMC Defendants’ operations, including
   15                                           benzene), 10, at 173 (Waterstone Envtl.,
   16                                           Inc., Envtl. Characterization Report—
                                                Former Productol Site (July 12, 2000) at
   17                                           2) (identifying chemicals detected in
   18                                           groundwater at the PMC Site at elevated
                                                concentrations, including benzene).
   19
                                                Plaintiffs object to paragraph 31 as
   20
                                                immaterial for purposes of deciding this
   21                                           motion for summary judgment. Fresno
                                                Motors, LLC v. Mercedes Benz USA,
   22
                                                LLC, 771 F.3d 1119, 1125 (9th Cir.
   23                                           2014); Falkner v. Gen. Motors LLC, 393
                                                F. Supp. 3d 927, 930 (C.D. Cal. 2018)
   24
                                                (“A material fact for purposes of
   25                                           summary judgment is one that might
                                                affect the outcome of the suit under the
   26
                                                applicable law.”) (citation omitted).
   27
   28   32.   TCE, PCE and 1,1 DCE have         Response: Partially disputed but
                                            - 33 -
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    1
           DEFENDANTS’ ALLEGEDLY
    2                                                  PLAINTIFFS’ RESPONSE AND
         UNCONTROVERTED FACTS AND
                                                         SUPPORTING EVIDENCE
    3       SUPPORTING EVIDENCE
        migrated onto the PMC Site from a         immaterial. Plaintiffs do not dispute that
    4
        source or sources located upgradient of   TCE, PCE, and 1,1-DCE were detected
    5   the PMC Site.                             in samples drawn at or near the PMC
    6                                             Source Property. However, the evidence
        Supporting Evidence:                      presented does not establish that those
    7      Vogl Decl. ¶ 19a(viii), Ex. I1, I2    chemicals migrated onsite, or from
             [depiction of PMC Site and           where.
    8        monitoring wells], J [historical
    9        groundwater data], R [depiction      Evidence: Vogl Decl. ¶ 19a(viii), Ex.
             of nearby sites with chlorinated     I1, I2 [depiction of PMC Site and
   10        solvent use].                        monitoring wells], J [historical
   11                                             groundwater data], R [depiction of
                                                  nearby sites with chlorinated solvent
   12                                             use].
   13
                                                  Plaintiffs object to paragraph 31 as
   14                                             immaterial for purposes of deciding this
   15                                             motion for summary judgment. Fresno
                                                  Motors, LLC v. Mercedes Benz USA,
   16                                             LLC, 771 F.3d 1119, 1125 (9th Cir.
   17                                             2014); Falkner v. Gen. Motors LLC, 393
                                                  F. Supp. 3d 927, 930 (C.D. Cal. 2018)
   18                                             (“A material fact for purposes of
   19                                             summary judgment is one that might
                                                  affect the outcome of the suit under the
   20                                             applicable law.”) (citation omitted).
   21
   22   33. Monitoring wells MW 21, MW            Response: Partially disputed but
        22, and MW 23 are located                 immaterial. Plaintiffs do not dispute that
   23   approximately 350 to 450 feet             MW 21, MW 22, and MW, 23 are
   24   downgradient and off of the PMC Site.     located off of the PMC Property, but the
                                                  wells do not, according to the map
   25   Supporting Evidence:                      legend, appear to be 350 to 450 feet
   26      Vogl Decl. ¶¶ 19a(viii), 20e, Ex.     downgradient.
             I1, I2 [depiction of PMC Site and
   27        monitoring wells], J [historical     Evidence: Ex. I1, I2 [depiction of PMC
   28        groundwater data], R [depiction

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    1
           DEFENDANTS’ ALLEGEDLY
    2                                                     PLAINTIFFS’ RESPONSE AND
         UNCONTROVERTED FACTS AND
                                                            SUPPORTING EVIDENCE
    3       SUPPORTING EVIDENCE
              of nearby sites with chlorinated       Site and monitoring wells]
    4
              solvent use].
    5
    6                                                Plaintiffs object to paragraph 31 as
    7                                                immaterial for purposes of deciding this
                                                     motion for summary judgment. Fresno
    8                                                Motors, LLC v. Mercedes Benz USA,
    9                                                LLC, 771 F.3d 1119, 1125 (9th Cir.
                                                     2014); Falkner v. Gen. Motors LLC, 393
   10                                                F. Supp. 3d 927, 930 (C.D. Cal. 2018)
   11                                                (“A material fact for purposes of
                                                     summary judgment is one that might
   12                                                affect the outcome of the suit under the
   13                                                applicable law.”) (citation omitted).

   14
        34. MW-21, the most upgradient of            Response: Disputed. The evidence
   15   these monitoring wells shows low             presented does not support the
   16   concentrations of TCE, PCE and 1,1           statement.
        DCE, and the concentration levels
   17   decrease to non-detect at further            Evidence: Vogl Decl., Ex. J.
   18   downgradient wells M-22 and M-23.

   19   Supporting Evidence:
           Vogl Decl. ¶ 19a(viii), Ex. I1,
   20
             I2[depiction of PMC Site and
   21        monitoring wells], J [historical
             groundwater data], R [depiction
   22
             of nearby sites with chlorinated
   23        solvent use].
   24
   25   35. The Omega OU-2 Plume is over             Response: Disputed. The eastern
        2000 feet from the PMC Site.                 boundary of Operable Unit No. 2,
   26                                                according to PMC’s expert, Mr. Richard
   27   Supporting Evidence:                         Vogel, passes 1,000 feet to the west of
           Vogl Decl. ¶ 19a(viii), 20e, Ex.         the PMC Source Property, although
   28
                                                 - 35 -
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    1
           DEFENDANTS’ ALLEGEDLY
    2                                                   PLAINTIFFS’ RESPONSE AND
         UNCONTROVERTED FACTS AND
                                                          SUPPORTING EVIDENCE
    3       SUPPORTING EVIDENCE
              C., I1, I2 [depiction of PMC Site    CH2M HILL appears to have placed it
    4
              and monitoring wells], J             closer.
    5         [historical groundwater data], R
              [depiction of nearby sites with      Evidence: Mot. at 14; Vogl Decl. ¶ 11a;
    6                                              Opp’n RFJN, Ex. 2, at 30 (CH2M
              chlorinated solvent use].
    7                                              HILL, Final Remedial Investigation /
                                                   Feasibility Study Reports, August 2010,
    8                                              at Fig. 1-4).
    9
                                                   Plaintiffs object to paragraph 20 as
   10                                              immaterial for purposes of deciding this
   11                                              motion for summary judgment. Fresno
                                                   Motors, LLC v. Mercedes Benz USA,
   12                                              LLC, 771 F.3d 1119, 1125 (9th Cir.
   13                                              2014); Falkner v. Gen. Motors LLC, 393
                                                   F. Supp. 3d 927, 930 (C.D. Cal. 2018)
   14                                              (“A material fact for purposes of
   15                                              summary judgment is one that might
                                                   affect the outcome of the suit under the
   16                                              applicable law.”) (citation omitted).
   17
   18   36. Groundwater flow immediately           Response: Disputed. The statement is
        adjacent to the PMC does trend in a        not supported by the evidence, which
   19   southwest direction as it leaves the PMC   discusses groundwater flow rate and not
   20   Site.                                      the direction of groundwater flow
                                                   immediately adjacent to the PMC
   21   Supporting Evidence:                       Property.
           Vogl Decl. ¶ 19a(vi).
   22
                                                   Evidence: Vogl Decl. ¶ 19a(vi)
   23
   24
   25   37. Groundwater flow from the PMC Response: Disputed. The cited evidence
   26   Site is deflected to the south - southeast does not support the statement.
        when it runs into the Santa Fe Springs
   27   Anticline (“Anticline”), causing it to run Evidence: Mutch Rebuttal Report, Mar.
                                                   4, 2021, at §§ 2.1, 2.2 & Figs. 2-5 to 2-
   28
                                               - 36 -
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    1
           DEFENDANTS’ ALLEGEDLY
    2                                                     PLAINTIFFS’ RESPONSE AND
         UNCONTROVERTED FACTS AND
                                                            SUPPORTING EVIDENCE
    3       SUPPORTING EVIDENCE
        parallel to the Omega OU-2 Plume.            9, 2-17; Opp’n RFJN, Ex. 2, at 30
    4
                                                     (CH2M HILL, Final Remedial
    5   Supporting Evidence:                         Investigation / Feasibility Study Reports
           Vogl Decl. ¶¶ 10a, 12f, Ex. K            (Aug. 2010) at Fig. 1-4); Cohen Decl.,
    6        [divisions of mines bulletin with       Ex. 14, at 181-183 (Intera Incorporated,
    7        map depicting Sante Fe Springs          Final Groundwater Flow Model
             Anticline]                              Development and Calibration Report
    8
                                                     (May 11, 2020) at Figs. 2.5, 4.7, 5.11).
    9
   10   38. The Santa Fe Springs Anticline is        Response: Disputed.
   11   a 32-story high (350 feet), 2000 plus
        foot wide dome that lies between the         Evidence: Mutch Rebuttal Report, Mar.
   12   PMC Site and the Omega OU-2 Plume.           14, 2021, at §§ 2.1, 2.2 & Figs. 2-5 to 2-
                                                     9, 2-17; Opp’n RFJN, Ex. 2, at 30
   13   Supporting Evidence:                         (CH2M HILL, Final Remedial
   14      Vogl Decl. ¶¶ 10a, 12f, Ex. K            Investigation / Feasibility Study Reports
             [divisions of mines bulletin with       (Aug. 2010) at Fig. 1-4); Cohen Decl.,
   15                                                Ex. 14, at 181-183 (Intera Incorporated,
             map depicting Sante Fe Springs
   16        Anticline]                              Final Groundwater Flow Model
                                                     Development and Calibration Report
   17
                                                     (May 11, 2020) at Figs. 2.5, 4.7, 5.11).
   18
   19   39. The Anticline physically                 Response: Disputed. The cited evidence
        separates the Omega OU-2 Plume on its        does not support the statement.
   20
        Western flank from groundwater on its
   21   Eastern flank.                               Evidence: Mutch Rebuttal Report
                                                     §§ 2.1, 2.2 & Figs. 2-5 to 2-9, 2-17;
   22   Supporting Evidence:                         Opp’n RFJN, Ex. 2, at 30 (CH2M
   23      Vogl Decl. ¶ 12f, Exs. C [site           HILL, Final Remedial Investigation /
             map], K [divisions of mines             Feasibility Study Reports (Aug. 2010) at
   24        bulletin with map depicting Sante       Fig. 1-4); Cohen Decl., Ex. 14, at 181-
   25        Fe Springs Anticline], L [map           183 (Intera Incorporated, Final
             showing boundaries of PMC Site          Groundwater Flow Model Development
   26        and anticline], M [excerpts of          and Calibration Report, May 11, 2020,
   27        USGS report Characterization of         Figs. 2.5, 4.7, 5.11).
             Potential Transport Pathways and
   28
                                                 - 37 -
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    1
           DEFENDANTS’ ALLEGEDLY
    2                                                  PLAINTIFFS’ RESPONSE AND
         UNCONTROVERTED FACTS AND
                                                         SUPPORTING EVIDENCE
    3       SUPPORTING EVIDENCE
              Implications for Groundwater
    4
              Management near an Anticline in
    5         the Central Basin Area, LA
    6         County, CA], N [modified figure
              from USGS report depicting
    7         groundwater flow].
    8
    9   40. Groundwater flow direction on          Response: Partially disputed. Plaintiffs
        and near the PMC Site has been             do not dispute that the groundwater on
   10   monitored since at least 1999.             and near the PMC Property has been
   11                                              monitored from time to time. Plaintiffs
        Supporting Evidence:                       dispute PMC’s interpretation of the flow
   12      Vogl Decl. ¶ 12f.                      direction as represented by Exs. O and
   13                                              N.
   14                                              Evidence: Mutch Rebuttal Report §§
   15                                              2.1, 2.2 & Figs. 2-5 to 2-9, 2-17; CH2M
                                                   HILL, Final Remedial Investigation /
   16                                              Feasibility Study Reports, August 2010,
   17                                              Fig. 1-4; Cohen Decl., Ex._14, at 181-
                                                   183_(Intera Incorporated, Final
   18                                              Groundwater Flow Model Development
   19                                              and Calibration Report, May 11, 2020,
                                                   Figs. 2.5, 4.7, 5.11).
   20
   21
   22
        41. The Omega OU-2 Plume migrates          Response: Disputed.
   23   to and is influenced by the west side of
        the Anticline, while the groundwater       Evidence: Mutch Rebuttal Report §§
   24                                              2.1, 2.2 & Figs. 2-5 to 2-9, 2-17; CH2M
        from the PMC Site migrates on the east
   25   side of the Anticline.                     HILL, Final Remedial Investigation /
                                                   Feasibility Study Reports, August 2010,
   26   Supporting Evidence:                       Fig. 1-4; Cohen Decl., Ex. 14, at 181-
   27      Vogl Decl. ¶ 19a (i)-(v), Exs. C       183_(Intera Incorporated, Final
             [site map], K [divisions of mines     Groundwater Flow Model Development
   28
                                              - 38 -
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    1
           DEFENDANTS’ ALLEGEDLY
    2                                                  PLAINTIFFS’ RESPONSE AND
         UNCONTROVERTED FACTS AND
                                                         SUPPORTING EVIDENCE
    3       SUPPORTING EVIDENCE
              bulletin with map depicting Sante    and Calibration Report, May 11, 2020,
    4
              Fe Springs Anticline], L [map        Figs. 2.5, 4.7, 5.11).
    5         showing boundaries of PMC Site
    6         and anticline], M [excerpts of
              USGS report Characterization of
    7         Potential Transport Pathways and
    8         Implications for Groundwater
              Management near an Anticline in
    9         the Central Basin Area, LA
   10         County, CA], N [modified figure
              from USGS report depicting
   11         groundwater flow].
   12
   13   42. A 2014 United States Geological        Response: Partially disputed. Plaintiffs
        Survey report recognizes the change in     do not dispute that the 2014 United
   14   direction, noting that “The Trend of the   States Geological Survey states what is
   15   OU2 plume….turns to the south at about     quoted, but flow path directions in the
        the location of the Santa Fe Springs       OU-2 area are not influenced by the
   16
        Anticline.”                                anticline as represented in Exhibit N.
   17
        Supporting Evidence:                       Evidence: Mutch Rebuttal Report §§
   18      Vogl Decl. ¶ 19a (i)-(v), Ex. M        2.1, 2.4 & Figs. 2-5 to 2-9, 2-18; CH2M
   19        [excerpts of USGS report              HILL, Final Remedial Investigation /
             Characterization of Potential         Feasibility Study Reports, August 2010,
   20        Transport Pathways and                Fig. 1-4; Cohen Decl., Ex._14, at 181-
   21        Implications for Groundwater          183_(Intera Incorporated, Final
             Management near an Anticline in       Groundwater Flow Model Development
   22        the Central Basin Area, LA            and Calibration Report, May 11, 2020,
   23        County, CA], N [modified figure       Figs. 2.5, 4.7, 5.11).
             from USGS report depicting
   24        groundwater flow].
   25
   26   43. The K-values (estimated rate of        Response: Partially disputed,
   27   groundwater migration in feet per day)     immaterial. Flow path directions in the
        immediately southwest of the PMC Site      OU-2 area are not influenced by the
   28
                                              - 39 -
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    1
           DEFENDANTS’ ALLEGEDLY
    2                                                    PLAINTIFFS’ RESPONSE AND
         UNCONTROVERTED FACTS AND
                                                           SUPPORTING EVIDENCE
    3       SUPPORTING EVIDENCE
        are extremely low, meaning the soils on     values referenced in the statement as
    4
        the east flank of the Anticline, which      represented in Exhibit O.
    5   lies between the PMC Site and the
        Omega OU-2 Plume, are relatively        Evidence: Mutch Rebuttal Report §§
    6                                           2.1, 2.4 & Figs. 2-5 to 2-9, 2-18; CH2M
        impermeable.
    7                                           HILL, Final Remedial Investigation /
        Supporting Evidence:                    Feasibility Study Reports, August 2010,
    8      Vogl Decl. ¶ 19a(vi), Ex O [map Fig. 1-4; Cohen Decl., Ex. 14, at 181-
    9        depicting hydraulic conductivity]. 183 (Intera Incorporated, Final
                                                Groundwater Flow Model Development
   10                                           and Calibration Report, May 11, 2020,
   11                                           Figs. 2.5, 4.7, 5.11).
   12                                               Plaintiffs object to paragraph 54 as
   13                                               immaterial for purposes of deciding this
                                                    motion for summary judgment. Fresno
   14                                               Motors, LLC v. Mercedes Benz USA,
   15                                               LLC, 771 F.3d 1119, 1125 (9th Cir.
                                                    2014); Falkner v. Gen. Motors LLC, 393
   16                                               F. Supp. 3d 927, 930 (C.D. Cal. 2018)
   17                                               (“A material fact for purposes of
                                                    summary judgment is one that might
   18                                               affect the outcome of the suit under the
   19                                               applicable law.”) (citation omitted).

   20
   21
        44. The low permeability of the east        Response: Disputed.
   22
        flank of the Anticline inhibits
   23   groundwater flow and the Anticline      Evidence: Mutch Rebuttal Report, Mar.
                                                4, 2021, at §§ 2.1, 2.2 & Figs. 2-5 to 2-
        itself then causes the plume to “deflect”
   24                                           9, 2-17; Opp’n RFJN, Ex. 2, at 30
        or change direction from generally
   25   southwest to south.                     (CH2M HILL, Final Remedial
                                                Investigation / Feasibility Study Reports
   26   Supporting Evidence:                    (Aug. 2010) at Fig. 1-4); Cohen Decl.,
   27      Vogl Decl. ¶ 19a(vi), Ex O, [map Ex. 14, at 181-183 (Intera Incorporated,
             depicting hydraulic conductivity]. Final Groundwater Flow Model
   28
                                                - 40 -
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    1
           DEFENDANTS’ ALLEGEDLY
    2                                                   PLAINTIFFS’ RESPONSE AND
         UNCONTROVERTED FACTS AND
                                                          SUPPORTING EVIDENCE
    3       SUPPORTING EVIDENCE
                                                   Development and Calibration Report,
    4
                                                   May 11, 2020, Figs. 2.5, 4.7, 5.11).
    5
    6
    7   45. Groundwater monitoring data at         Response: Disputed and immaterial.
    8   and adjacent to the PMC Site               Plaintiffs need only establish a plausible
        demonstrates PMC Plume has migrated        migration pathway, not mixing,
    9   too short a distance offsite to possibly   commingling or intersection.
   10   intersect, mix with, or commingle with
        the Omega OU-2 Plume.                      Evidence: Mutch Rebuttal Report §§
   11                                              2.1, 2.3, 2.6 & Fig. 2-18; CH2M HILL,
   12   Supporting Evidence:                       Final Remedial Investigation /
           Vogl Decl. ¶ 10b.                      Feasibility Study Reports, August 2010,
   13                                              Fig. 1-4; Cohen Decl., Ex. 14, at 181-
   14                                              183 (Intera Incorporated, Final
                                                   Groundwater Flow Model Development
   15                                              and Calibration Report, May 11, 2020,
   16                                              Figs. 2.5, 4.7, 5.11).

   17                                              Plaintiffs object to paragraph 45 as
                                                   immaterial for purposes of deciding this
   18
                                                   motion for summary judgment. Fresno
   19                                              Motors, LLC v. Mercedes Benz USA,
                                                   LLC, 771 F.3d 1119, 1125 (9th Cir.
   20
                                                   2014); Falkner v. Gen. Motors LLC, 393
   21                                              F. Supp. 3d 927, 930 (C.D. Cal. 2018)
                                                   (“A material fact for purposes of
   22
                                                   summary judgment is one that might
   23                                              affect the outcome of the suit under the
                                                   applicable law.”) (citation omitted).
   24
   25
   26
        46. The PMC Plume did not and does Response: Disputed and immaterial.
   27   not have a large enough chemical mass Plaintiffs need only establish a plausible
   28   to have migrated far enough off site to migration pathway, not mixing,

                                               - 41 -
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    1
           DEFENDANTS’ ALLEGEDLY
    2                                                  PLAINTIFFS’ RESPONSE AND
         UNCONTROVERTED FACTS AND
                                                         SUPPORTING EVIDENCE
    3       SUPPORTING EVIDENCE
        commingle with or intersect the Omega     commingling or intersection.
    4
        OU-2 Plume.
    5                                             Evidence: Mutch Rebuttal Report §§
        Supporting Evidence:                      2.1, 2.3, 2.6 & Fig. 2-18; CH2M HILL,
    6      Vogl Decl. ¶ 19.                      Final Remedial Investigation /
    7                                             Feasibility Study Reports, August 2010,
                                                  Fig. 1-4; Cohen Decl., Ex. 14, at 181-
    8                                             183 (Intera Incorporated, Final
    9                                             Groundwater Flow Model Development
                                                  and Calibration Report, May 11, 2020,
   10                                             Figs. 2.5, 4.7, 5.11).
   11
                                                  Plaintiffs object to paragraph 46 as
   12                                             immaterial for purposes of deciding this
   13                                             motion for summary judgment. Fresno
                                                  Motors, LLC v. Mercedes Benz USA,
   14                                             LLC, 771 F.3d 1119, 1125 (9th Cir.
   15                                             2014); Falkner v. Gen. Motors LLC, 393
                                                  F. Supp. 3d 927, 930 (C.D. Cal. 2018)
   16                                             (“A material fact for purposes of
   17                                             summary judgment is one that might
                                                  affect the outcome of the suit under the
   18                                             applicable law.”) (citation omitted).
   19
   20
   21   47. PMC has removed the source of         Response: Disputed.
        contamination cutting off the source of
   22                                             Evidence: The PMC Defendants have
        contaminates for the PMC Plume.
   23                                             not started remediating the PMC
        Supporting Evidence:                      Property. Mutch Rebuttal Report, Mar.
   24      Vogl Decl. ¶ 21.                      14, 2021, at § 2.8. There was already
   25                                             significant soil contamination at the
                                                  PMC Property by the time operations
   26                                             were discontinued in 1992. Id. at § 2.7
   27                                             & Appendix A, pp. 6-14. Contamination
                                                  remains in soil and groundwater at the
   28
                                              - 42 -
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    1
           DEFENDANTS’ ALLEGEDLY
    2                                                  PLAINTIFFS’ RESPONSE AND
         UNCONTROVERTED FACTS AND
                                                         SUPPORTING EVIDENCE
    3       SUPPORTING EVIDENCE
                                                   PMC Property at present. Cohen Decl.,
    4
                                                   Ex._3, at 31-37 (Waterstone Envtl., Inc.,
    5                                              Removal Action Workplan, May 22,
    6                                              2020) at 40-46). Site assessments are
                                                   not equivalent to cleaning up the site
    7                                              and, to date, PMC has only submitted
    8                                              workplans to DTSC but not undertaken
                                                   actual cleanup of the site. Mutch
    9                                              Rebuttal Report, Mar. 4, 2021, at § 2.8
   10                                              See also Mot. at 14-15
   11
   12   48. PMC Site operations ceased in the Response: Partially disputed as
        early 1990s, and demolition activities  incomplete and misleading. Immaterial.
   13   were completed by November, 1993.
   14                                           Evidence: Plaintiffs incorporate their
        Supporting Evidence                     responses to paragraphs 10, 12 and 13
   15       Vogl Decl. ¶ 21, Ex. S [summary herein.
   16          of cleanup actions at PMC Site].

   17
        49. Additional actions, including          Response: Partially disputed. Plaintiffs
   18
        capping the property with asphalt, were    do not dispute that actions were taken at
   19   taken to prevent rainwater infiltration    the PMC Property such as laying
        into subsurface soils, minimizing or       asphalt.
   20
        eliminating the leaching of chemicals to
   21   groundwater.                               Evidence: The PMC Defendants have
                                                   not started remediating the PMC Site.
   22   Supporting Evidence:                       Mutch Rebuttal Report, Mar. 14, 2021,
   23      Vogl Decl. ¶ 21, Ex. S [summary        at § 2.8. There was already significant
             of cleanup actions at PMC Site].      soil contamination at the PMC Property
   24                                              by the time operations were
   25                                              discontinued in 1992. Id. at § 2.7 &
                                                   Appendix A, pp. 6-14. Contamination
   26                                              remains in soil and groundwater at the
   27                                              PMC Property at present. Cohen Decl.,
                                                   Ex. 3, at 31-37 (Waterstone Envtl., Inc.,
   28
                                              - 43 -
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    1
           DEFENDANTS’ ALLEGEDLY
    2                                                     PLAINTIFFS’ RESPONSE AND
         UNCONTROVERTED FACTS AND
                                                            SUPPORTING EVIDENCE
    3       SUPPORTING EVIDENCE
                                                     Removal Action Workplan, May 22,
    4
                                                     2020) at 40-46). Site assessments are
    5                                                not equivalent to cleaning up the site
    6                                                and, to date, PMC has only submitted
                                                     workplans to DTSC but not undertaken
    7                                                actual cleanup of the site. Mutch
    8                                                Rebuttal Report, Mar. 4, 2021, at § 2.8

    9                                                See also Mot. at 14-15
   10
        50. PMC is conducting further                Response: Disputed as not supported by
   11   remediation leading to the ultimate          the evidence and misleading.
   12   closure of the PMC Site, and has been
        proceeding under the supervision of the      Evidence: The PMC Defendants have
   13   DTSC since entering into a 2006              not started remediating the PMC Site.
   14   Voluntary Cleanup Agreement.                 Mutch Rebuttal Report, Mar. 14, 2021,
                                                     at § 2.8. There was already significant
   15   Supporting Evidence:                         soil contamination at the PMC Property
   16      Vogl Decl. ¶ 22, Ex. F2                  by the time operations were
             [voluntary cleanup agreement].          discontinued in 1992. Id. at § 2.7 &
   17                                                Appendix A, pp. 6-14. Contamination
   18                                                remains in soil and groundwater at the
                                                     PMC Property at present. Cohen Decl.,
   19                                                Ex. 3, at 31-37 (Waterstone Envtl., Inc.,
   20                                                Removal Action Workplan, May 22,
                                                     2020) at 40-46). Site assessments are
   21                                                not equivalent to cleaning up the site
   22                                                and, to date, PMC has only submitted
                                                     workplans to DTSC but not undertaken
   23                                                actual cleanup of the site. Mutch
   24                                                Rebuttal Report, Mar. 4, 2021, at § 2.8

   25                                                See also Mot. at 14-15.
   26
        51. Extensive site investigation has         Response: Partially disputed as
   27
        been performed to evaluate the PMC           misleading and immaterial. Plaintiffs do
   28   Site, including the collection of over       not dispute that limited site
                                                 - 44 -
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    1
           DEFENDANTS’ ALLEGEDLY
    2                                                  PLAINTIFFS’ RESPONSE AND
         UNCONTROVERTED FACTS AND
                                                         SUPPORTING EVIDENCE
    3       SUPPORTING EVIDENCE
        800 samples for analysis of soil, soil    investigations have been performed at
    4
        gas, and groundwater, all in compliance   the PMC Property, including the
    5   with DTSC approved work plans.            collection of soil, soil, gas, and
    6                                             groundwater samples.
        Supporting Evidence:
    7      Vogl Decl. ¶ 22, Ex. F2,              Evidence: The PMC Defendants have
             [voluntary cleanup agreement].       not started remediating the PMC Site.
    8                                             Mutch Rebuttal Report, Mar. 14, 2021,
    9                                             at § 2.8. There was already significant
                                                  soil contamination at the PMC Property
   10                                             by the time operations were
   11                                             discontinued in 1992. Id. at § 2.7 &
                                                  Appendix A, pp. 6-14. Contamination
   12                                             remains in soil and groundwater at the
   13                                             PMC Property at present. Cohen Decl.,
                                                  Ex. 3, at 31-37 (Waterstone Envtl., Inc.,
   14                                             Removal Action Workplan, May 22,
   15                                             2020) at 40-46). Site assessments are
                                                  not equivalent to cleaning up the site
   16                                             and, to date, PMC has only submitted
   17                                             workplans to DTSC but not undertaken
                                                  actual cleanup of the site. Mutch
   18                                             Rebuttal Report, Mar. 4, 2021, at § 2.8
   19
                                                  See also Mot. at 14-15.
   20
                                                  Plaintiffs object to paragraph 51 as
   21
                                                  immaterial for purposes of deciding this
   22                                             motion for summary judgment. Fresno
                                                  Motors, LLC v. Mercedes Benz USA,
   23
                                                  LLC, 771 F.3d 1119, 1125 (9th Cir.
   24                                             2014); Falkner v. Gen. Motors LLC, 393
                                                  F. Supp. 3d 927, 930 (C.D. Cal. 2018)
   25
                                                  (“A material fact for purposes of
   26                                             summary judgment is one that might
                                                  affect the outcome of the suit under the
   27
                                                  applicable law.”) (citation omitted).
   28
                                              - 45 -
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    1
           DEFENDANTS’ ALLEGEDLY
    2                                                     PLAINTIFFS’ RESPONSE AND
         UNCONTROVERTED FACTS AND
                                                            SUPPORTING EVIDENCE
    3       SUPPORTING EVIDENCE

    4   52. The monitoring data shows that            Response: Disputed and immaterial.
    5   the PMC Plume is stable or shrinking in       The cited evidence does not support the
        size, and stable or decreasing in             statement that source removal and
    6   concentration due to source removal and       natural attenuation has caused the PMC
    7   natural attenuation.                          Plume to stable or shrink in size and
                                                      stable or shrink in concentration. No
    8   Supporting Evidence:                          meaningful remediation has been
    9      Vogl Decl. ¶ 21, Ex. F2                   completed.
             [voluntary cleanup agreement].
   10                                                 Evidence: Mutch Rebuttal Report
   11                                                 §§ 2.7, 2.8, 2.9 & Fig. 2-18; Mot. at 15;
                                                      Cohen Decl., Ex. 3, at 31-37
   12                                                 (Waterstone Environmental, Inc.,
   13                                                 Removal Action Workplan, May 22,
                                                      2020, at 40-46).
   14
   15   53. Groundwater monitoring wells on           Response: Disputed.
   16   Bloomfield Avenue north of Telegraph
        Road, approximately 1000 feet from the        Evidence: Mutch Rebuttal Report §§
   17   PMC Site, and approximately 1000-             2.5, 2.6, 2.9 & Fig. 2-18; Opp’n RFJN,
        1800 feet from the edge of the Omega          Exs. 2, at 30-31 (CH2M HILL, Final
   18
        OU-2 Plume show non-detections for            Remedial Investigation / Feasibility
   19   the PMC Marker Chemicals.                     Study Reports, August 2010, at 1-4, 2-
                                                      1), 3, at 55 (OU-2 Consent Decree (Oct.
   20
        Supporting Evidence:                          6, 2016), Appendix B, at 287); Cohen
   21      Vogl Decl. ¶¶ 12a-f; 23, Ex. C            Decl., Ex. 10, at 173 (Waterstone
             [site map].                              Environmental, Inc. Environmental
   22
                                                      Characterization Report, Jul. 12, 2000,
   23                                                 at 2).
   24
        54. The K values in the area                  Response: Disputed and immaterial.
   25
        immediately adjacent to the PMC Site          Flow path directions in the OU-2 area
   26   are low, on the order of 2, 3 or 5 feet per   are not influenced by figures in the
        day.                                          statement as represented in Exhibit O.
   27
   28   Supporting Evidence:                          Evidence: Mutch Rebuttal Report §§

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    1
           DEFENDANTS’ ALLEGEDLY
    2                                                   PLAINTIFFS’ RESPONSE AND
         UNCONTROVERTED FACTS AND
                                                          SUPPORTING EVIDENCE
    3       SUPPORTING EVIDENCE

    4       Vogl Decl. ¶¶ 19(v)-(vi), Ex. O       2.1, 2.4 & Figs. 2-5 to 2-9, 2-18; CH2M
             [map depicting hydraulic              HILL, Final Remedial Investigation /
    5        conductivity].                        Feasibility Study Reports, August 2010,
    6                                              Fig. 1-4; Cohen Decl., Ex. 14, at 181-
                                                   183 (Intera Incorporated, Final
    7                                              Groundwater Flow Model Development
    8                                              and Calibration Report, May 11, 2020,
                                                   Figs. 2.5, 4.7, 5.11).
    9
                                                   Plaintiffs object to paragraph 54 as
   10                                              immaterial for purposes of deciding this
   11                                              motion for summary judgment. Fresno
                                                   Motors, LLC v. Mercedes Benz USA,
   12                                              LLC, 771 F.3d 1119, 1125 (9th Cir.
   13                                              2014); Falkner v. Gen. Motors LLC, 393
                                                   F. Supp. 3d 927, 930 (C.D. Cal. 2018)
   14                                              (“A material fact for purposes of
   15                                              summary judgment is one that might
                                                   affect the outcome of the suit under the
   16                                              applicable law.”) (citation omitted).
   17
   18   55. The K values on the west side of       Response: Disputed and immaterial.
        the Anticline, in the flow path of the     Flow path directions in the OU-2 area
   19
        Omega OU-2 Plume, range from 40 to         are not influenced by figures in the
   20   60 feet per day.                           statement as represented in Exhibit O.
   21   Supporting Evidence:                       Evidence: Mutch Rebuttal Report §§
   22      Vogl Decl. ¶¶ 19(v)-(vi),              2.1, 2.4 & Figs. 2-5 to 2-9, 2-18; CH2M
                                                   HILL, Final Remedial Investigation /
   23                                              Feasibility Study Reports, August 2010,
   24                                              Fig. 1-4; Cohen Decl., Ex. 14, at 181-
                                                   183 (Intera Incorporated, Final
   25                                              Groundwater Flow Model Development
   26                                              and Calibration Report, May 11, 2020,
                                                   Figs. 2.5, 4.7, 5.11).
   27
                                                   Plaintiffs object to paragraph 55 as
   28
                                               - 47 -
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    1
           DEFENDANTS’ ALLEGEDLY
    2                                                  PLAINTIFFS’ RESPONSE AND
         UNCONTROVERTED FACTS AND
                                                         SUPPORTING EVIDENCE
    3       SUPPORTING EVIDENCE
                                                   immaterial for purposes of deciding this
    4
                                                   motion for summary judgment. Fresno
    5                                              Motors, LLC v. Mercedes Benz USA,
    6                                              LLC, 771 F.3d 1119, 1125 (9th Cir.
                                                   2014); Falkner v. Gen. Motors LLC, 393
    7                                              F. Supp. 3d 927, 930 (C.D. Cal. 2018)
    8                                              (“A material fact for purposes of
                                                   summary judgment is one that might
    9                                              affect the outcome of the suit under the
   10                                              applicable law.”) (citation omitted).

   11
        56. Plaintiffs’ inaccurately portray the   Response: Disputed and immaterial.
   12   PMC Site on Ex. B of the 5AC to            Exhibit B to the Fifth Am. Complaint is
   13   include areas which were never owned       a demonstrative presented to show the
        or operated by PMC, as well as areas at    approximate locations of the source
   14   the PMC Site which were never used for     properties that have contributed
   15   chemical processing or storage,            hazardous substances to OU-2
        including parking lots.                    Groundwater.
   16
        Supporting Evidence:                       Evidence: Fifth Am., Compl. ¶ 119.
   17
           Vogl Decl. ¶¶ 19(v)-(vi), Ex. G
   18        [actual boundaries of PMC Site].      Plaintiffs object to paragraph 56 as
                                                   immaterial for purposes of deciding this
   19                                              motion for summary judgment. Fresno
   20                                              Motors, LLC v. Mercedes Benz USA,
                                                   LLC, 771 F.3d 1119, 1125 (9th Cir.
   21                                              2014); Falkner v. Gen. Motors LLC, 393
   22                                              F. Supp. 3d 927, 930 (C.D. Cal. 2018)
                                                   (“A material fact for purposes of
   23                                              summary judgment is one that might
   24                                              affect the outcome of the suit under the
                                                   applicable law.”) (citation omitted).
   25
   26   57. As depicted in Ex. B to Plaintiffs’ Response: Disputed and immaterial.
   27   5AC, the eastern edge of Omega OU-2     The cited evidence does not support the
        Plume boundary appears to be drawn      statement that the plume was drawn
   28
                                              - 48 -
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    1
           DEFENDANTS’ ALLEGEDLY
    2                                                    PLAINTIFFS’ RESPONSE AND
         UNCONTROVERTED FACTS AND
                                                           SUPPORTING EVIDENCE
    3       SUPPORTING EVIDENCE
        using a mapping method that widens          closely bordering wells where no
    4
        and lengthens the extent of the plume       chemicals are found.
    5   area to its maximum possible extent,
        closely bordering wells where no            Evidence: Mutch Rebuttal Report
    6                                               §§ 2.1, 2.9, 2.10 & Figs. 2-5 to 2-9, 2-
        chemicals are found.
    7                                               18; Opp’n, Exs. 2, at 30 (CH2M HILL,
        Supporting Evidence:                        Final Remedial Investigation /
    8      Vogl Decl. ¶ 16a-b, Ex. C [site         Feasibility Study Reports, August 2010,
    9        map].                                  Fig. 1-4), 3, at 52-53_(OU-2 Consent
                                                    Decree (Oct. 6, 2016), Appendix A,
   10                                               273-74); Cohen Decl., Exs. 17, at 200,
   11                                               298-299 (McLaren-Hart, Oil Field
                                                    Reclamation Project Study Area (Jul.
   12                                               31, 1996), at v, Fig. 4, Fig. 5), 9, at 153-
   13                                               154 (R. Vogl Dep. Tr., at 100:25 to
                                                    101:2).
   14
   15                                               Plaintiffs object to paragraph 57 as
                                                    immaterial for purposes of deciding this
   16                                               motion for summary judgment. Fresno
   17                                               Motors, LLC v. Mercedes Benz USA,
                                                    LLC, 771 F.3d 1119, 1125 (9th Cir.
   18                                               2014); Falkner v. Gen. Motors LLC, 393
   19                                               F. Supp. 3d 927, 930 (C.D. Cal. 2018)
                                                    (“A material fact for purposes of
   20                                               summary judgment is one that might
   21                                               affect the outcome of the suit under the
                                                    applicable law.”) (citation omitted).
   22
   23   58. The dashed Omega OU-2 Plume Response: Disputed and immaterial.
   24   boundary drawn by CH2MHill indicates The cited evidence does not support the
        that this boundary as drawn was inferred statement.
   25   or estimated.
                                                 Evidence: Mutch Rebuttal Report §§
   26
        Supporting Evidence:                     2.9, 2.10 & Fig. 2-18; Opp’n, Exs. 2, at
   27       Vogl Decl. ¶ 16b, Ex. C, [site      30 (CH2M HILL, Final Remedial
               map].                             Investigation / Feasibility Study Reports
   28
                                                - 49 -
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    1
           DEFENDANTS’ ALLEGEDLY
    2                                                 PLAINTIFFS’ RESPONSE AND
         UNCONTROVERTED FACTS AND
                                                        SUPPORTING EVIDENCE
    3       SUPPORTING EVIDENCE
                                                 (Aug. 2010) at Fig. 1-4), 3, at 52-53
    4
                                                 (OU-2 Consent Decree (Oct. 6, 2016),
    5                                            Appendix A, 273-74); Cohen Decl.,
    6                                            Exs. 17, at 200, 298-299 (McLaren-
                                                 Hart, Oil Field Reclamation Project
    7                                            Study Area (Jul. 31, 1996), at v, Fig. 4,
    8                                            Fig. 5), 9, at 153-154 (R. Vogl Dep. Tr.,
                                                 at 100:25 to 101:2).
    9
                                                 Plaintiffs object to paragraph 60 as
   10                                            immaterial for purposes of deciding this
   11                                            motion for summary judgment. Fresno
                                                 Motors, LLC v. Mercedes Benz USA,
   12                                            LLC, 771 F.3d 1119, 1125 (9th Cir.
   13                                            2014); Falkner v. Gen. Motors LLC, 393
                                                 F. Supp. 3d 927, 930 (C.D. Cal. 2018)
   14                                            (“A material fact for purposes of
   15                                            summary judgment is one that might
                                                 affect the outcome of the suit under the
   16                                            applicable law.”) (citation omitted).
   17
   18   59. The boundary of the Omega OU- Response: Disputed. The cited evidence
        2 Plume is approximately 2000 feet way does not support the statement.
   19
        from the PMC Site.
   20                                          Evidence: Mutch Rebuttal Report §§
        Supporting Evidence:                   2.9, 2.10 & Fig. 2-18; Opp’n RFJN, Ex.
   21       Vogl Decl., ¶ 16b, Ex. C, [site   2, at 30 (CH2M HILL, Final Remedial
   22         map].                            Investigation / Feasibility Study
                                               Reports, August 2010, Fig. 1-4); Cohen
   23                                          Decl., Exs. 17, at 200, 298-299
   24                                          (McLaren-Hart, Oil Field Reclamation
                                               Project Study Area (Jul. 31, 1996), at v,
   25                                          Fig. 4, Fig. 5), 9, at 153-154_(R. Vogl
   26                                          Dep. Tr., at 100:25 to 101:2).
   27
        60.   The past and ongoing removal       Response: Disputed and immaterial.
   28
                                             - 50 -
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    1
           DEFENDANTS’ ALLEGEDLY
    2                                                  PLAINTIFFS’ RESPONSE AND
         UNCONTROVERTED FACTS AND
                                                         SUPPORTING EVIDENCE
    3       SUPPORTING EVIDENCE
        and remedial work performed at the         PMC has not performed any meaningful
    4
        source areas of the PMC further serve to   remedial work at the Property, and it
    5   limit the distance the PMC Plume would     only recently submitted its workplan for
    6   have or could have traveled.               remedial actions.

    7   Supporting Evidence:                       Evidence: Mot. at 14-15; Cohen Decl.,
           Vogl Decl., ¶ 12b.                     Ex. 3, at 31-37 (Waterstone
    8                                              Environmental, Inc., Removal Action
    9                                              Workplan, May 22, 2020) at 40-46);
                                                   Mutch Rebuttal Report §§ 2.7, 2.8
   10
   11                                              Plaintiffs object to paragraph 60 as
                                                   immaterial for purposes of deciding this
   12                                              motion for summary judgment. Fresno
   13                                              Motors, LLC v. Mercedes Benz USA,
                                                   LLC, 771 F.3d 1119, 1125 (9th Cir.
   14                                              2014); Falkner v. Gen. Motors LLC, 393
   15                                              F. Supp. 3d 927, 930 (C.D. Cal. 2018)
                                                   (“A material fact for purposes of
   16                                              summary judgment is one that might
   17                                              affect the outcome of the suit under the
                                                   applicable law.”) (citation omitted).
   18
   19   61. Groundwater monitoring data            Response: Disputed and immaterial.
   20   from wells instead on the PMC Site, and    Plaintiffs need only establish a plausible
        downgradient demonstrate that the PMC      migration pathway, not mixing,
   21   Plume, has migrated less than 1000 feet    commingling or intersection. CH2M
   22   to the southwest, well short of the        HILL has indicated that the PMC
        Omega OU-2 Plume.                          Property is closer.
   23
        Supporting Evidence:                       Evidence: Opp’n RFJN, Ex. 2, at 31
   24
           Vogl Decl., ¶ ¶ 19(viii).              (CH2M HILL, Remedial Investigation /
   25                                              Feasibility Study Reports, Operable
                                                   Unit 2 (Aug. 2010) at 2-1); Mutch
   26
                                                   Rebuttal Report § 2.9 & Fig. 2-18.
   27
                                                   Plaintiffs object to paragraph 61 as
   28
                                              - 51 -
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    1
           DEFENDANTS’ ALLEGEDLY
    2                                                    PLAINTIFFS’ RESPONSE AND
         UNCONTROVERTED FACTS AND
                                                           SUPPORTING EVIDENCE
    3       SUPPORTING EVIDENCE
                                                    immaterial for purposes of deciding this
    4
                                                    motion for summary judgment. Fresno
    5                                               Motors, LLC v. Mercedes Benz USA,
    6                                               LLC, 771 F.3d 1119, 1125 (9th Cir.
                                                    2014); Falkner v. Gen. Motors LLC, 393
    7                                               F. Supp. 3d 927, 930 (C.D. Cal. 2018)
    8                                               (“A material fact for purposes of
                                                    summary judgment is one that might
    9                                               affect the outcome of the suit under the
   10                                               applicable law.”) (citation omitted).

   11
               CONCLUSIONS OF LAW - PMC PROPERTY DEFENDANTS: PMC
   12           SPECIALTIES GROUP, INC. AND FERRO CORPORATION
   13         1.     In two-site cases, Courts require plaintiffs to prove that a release for
   14   which the defendant is responsible at one site (here, the soil on each Moving Party’s
   15   Property) caused the contamination of the second site (here, the OU-2
   16   groundwater). Kalamazoo River Study Group v. Rockwell Int’l Corp., 171 F.3d
   17   1065 (6th Cir. 1999); Innis Arden Golf Club v. Pitney Bowes, Inc., 629 F. Supp. 2d
   18   175, 185-86 (D. Conn. 2009); FAG Bearings, 846 F. Supp. 1382 (W.D. Mo. 1994).
   19         Response: Disputed.
   20         2.     As held by the Sixth Circuit, the mere possibility that the
   21   contamination from the defendant’s site caused contamination on the plaintiff’s site
   22   is insufficient to create a material fact as to causation. Kalamazoo River Study
   23   Group, 171 F.3d at 1073, affirming, Kalamazoo River Study Group v. Rockwell
   24   Int’l, 3 F. Supp. 2d 815 (W.D. Mich. 1997).
   25         Response: Disputed.
   26
   27
   28
                                                - 52 -
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    1         3.    Plaintiffs cannot meet their burden to establish a causal connection or
    2   plausible pathway between the releases alleged at the PMC Site and the Omega
    3   OU-2 Plume.
    4
              Response: Disputed.
    5
    6
                                 II. Chrysler Source Property
    7
                       Moving Party: Union Pacific Railroad Company
    8
    9      100.       Union Pacific’s             Response: Undisputed.
   10   predecessors acquired the various
        parcels that comprise the
   11
        approximately 40-acre Chrysler
   12   Property through a series of
        transactions from 1888 through 1967.
   13
   14   Supporting Evidence:
           Declaration of Sedina L. Banks
   15        (“Banks Decl.”), Exhibit
   16        (“Exh.”) 1 [Deeds for the
             Chrysler Property 1888-1967];
   17      Declaration of James A. Levy
   18        (“Levy Decl.”), ¶ 8.
   19
           101.       On January 21, 1974,       Response: Undisputed.
   20
        Union Pacific’s predecessor, Southern
   21   Pacific Transportation Company,
   22   transferred the entire Chrysler Property
        to Southern Pacific Company (formerly
   23   S.P. Inc.) (“New Southern Pacific
   24   Company”).

   25   Supporting Evidence:
           Banks Decl., Exh. 9 [January 21,
   26
             1974 Deed];
   27      Levy Decl., ¶ 9.
   28
                                               - 53 -
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    1
           102.    New Southern Pacific       Response: Undisputed.
    2
        Company is not a predecessor of Union
    3   Pacific.
    4   Supporting Evidence:
    5      Banks Decl., Exh. 6 [February
             20, 1969 Merger Agreement];
    6      Levy Decl., ¶ 7.
    7
    8      103.     Union Pacific does not         Response: Undisputed
    9   currently own the Chrysler Property.

   10   Supporting Evidence:
           Banks Decl., Exh. 36 [Plaintiffs’
   11
             Supplemental Responses to
   12        Union Pacific’s First Set of
             Requests for Admission No. 3].
   13
   14
           104.      The original Chrysler         Response: Undisputed.
   15   Property was subdivided into four
   16   properties identified as the LaSalle
        Property, North-Central Property,
   17   Multitenant Property, and the Central
   18   Property.
   19   Supporting Evidence:
   20      Plaintiff’s Fifth Amended
             Complaint, November 1, 2016, ¶
   21        138 [Dkt. 526];
   22      Banks Decl., Exh. 16 [Map of
             the Chrysler Property, March
   23        1988]
   24
   25      105.      The Central Property, also    Response: Undisputed, but misleading.

   26   referred to by EPA as “Site A,” is
        located at approximately 12128 Burke       Evidence: Plaintiffs do not dispute U.S.
   27   Street, Santa Fe Springs, CA.              EPA’s Final Remedial Investigation /
                                                   Feasibility Study states: “‘Site A’ is
   28
                                                - 54 -
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    1   Supporting Evidence:                        located at 12128 Burke Street, Santa Fe
    2      Banks Decl., Exh. 34, p. 219            Springs, California.” Banks Decl., Ex. 34
             [U.S. EPA’s Final Remedial             (Docket No. 902-41), at 219. However, it
    3        Investigation / Feasibility Study      further states: “Site A and several
    4        Reports Omega Chemical                 surrounding properties collectively
             Corporation Superfund Site             comprised a 40-acre new car preparation
    5        Operable Unit 2, Los Angeles           facility from 1965 to 1988. At least five
    6        County, California, Volume 1];         10,000-gallon USTs, four 3,000-gallon
           Request for Judicial Notice             USTs, two 550-gallon USTs, five 550-
    7        (“RJN”), ¶ 24.                         gallon waste oil tanks, seven concrete
    8                                               clarifiers ranging in size from 500 to
                                                    5,000 gallons, 17 hydraulic hoists, seven
    9                                               service pits, several fuel pump islands,
   10                                               three car washes, three spray booths, and
                                                    a paint spill area were installed and
   11                                               operated at the 40-acre site, with four of
   12                                               the seven clarifiers located at Site A.” Id.
   13                                               With the exception of Parcel Nos. 15 and
   14                                               16, Defendant Union Pacific Railroad
                                                    Company’s (“Union Pacific”)
   15                                               predecessors-in-interest acquired all of
   16                                               the parcels depicted on the Jan. 23, 1888,
                                                    map submitted as Exhibit 1 to Union
   17                                               Pacific’s July 13, 2012, response to
   18                                               EPA’s 104(e) request, including the
                                                    entirety of “Site A”, by December 3,
   19                                               1963. Compare Banks Decl., Exs. 1
   20                                               (Docket No. 902-8), at 27-33 (May 23,
                                                    1950 indenture), 34-39 (Feb. 9, 1960
   21
                                                    indenture), 40-45 (Aug. 8, 1963
   22                                               corporation grant deed), 46-51 (Dec. 3,
                                                    1963 grant deed), 16, at 136 (map) and
   23
                                                    Levy Decl., ¶ 8 (Docket No. 902-8), with
   24                                               Declaration of William F. Ford (“Ford
                                                    Decl.”), Exs. 8, at pp. 92-94, 97-100,
   25
                                                    119-124, 127, 156, 156-161, 182-186,
   26                                               240-250 (Union Pacific’s Response to
                                                    EPA 104(e) Request No. 4 (Jul. 13,
   27
                                                    2012), at 1-3, 6-9 & Index of Exhibits,
   28                                               Exs. 1 (undated map showing parcel
                                                 - 55 -
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    1                                                numbers), 5 (acquired parcel #1 as
    2                                                shown on undated map by May 23,
                                                     1950), 8 (acquired parcel #4 as shown on
    3                                                undated map by Feb. 9, 1960), 16
    4                                                (acquired parcel #10 as shown on
                                                     undated map by Aug. 8, 1963), 17
    5                                                (acquired parcel #12 as shown on
    6                                                undated map by Dec. 3, 1963)), and 6, at
                                                     57-58, 71 (Dames & Moore, Remedial
    7                                                Investigation Workplan (Jan. 10, 1992),
    8                                                at 4-5, Figure 2).
    9
           106.      Chrysler conducted auto         Response: Undisputed, but incomplete.
   10
        preparation operations on the Chrysler
   11   Property from in or around 1965      Evidence: Union Pacific’s predecessors-
        through 1988.                        in-interest leased the Chrysler Property
   12                                        to various entities prior to 1965,
   13   Supporting Evidence:                 including General Motors’ predecessor,
           Banks Decl., Exh. 21, p. 167     Dallas Smith Service Corporation. Ford
   14
             [Final Report – Soil and Ground Decl. Exs._8, at 92-94, 102-103, 119-
   15        Water Investigation by Converse 124, 273-294 (Union Pacific’s Response
             Environmental West regarding    to EPA 104(e) Request (Jul. 13, 2012), at
   16                                        1-3, 11-12 & Index of Exhibits & Exs.
             the Chrysler Property, dated
   17        August 29, 1991];               20, 21, 22, 23), 6, at 57-58 (Dames &
           Banks Decl., Exh. 32, p. 209     Moore, Remedial Investigation
   18                                        Workplan (Jan. 10, 1992) at 4-5), 10, at
             [California Regional Water
   19        Quality Control Board, Los      654, (McLaren, Santa Fe Pacific Realty
             Angeles Region (“RWQCB”),       Property Assessment (Apr. 27, 1990), at
   20
             Closure Letter dated August 6,  8).
   21        1999];
   22      RJN, ¶¶ 11, 22.

   23
            107.     There is no evidence that       Response: Disputed.
   24
        Union Pacific ever operated on the
   25   actual Chrysler Property, other than on
                                                     Evidence: Union Pacific’s predecessors-
        a right-of-way that went through a
   26                                                in-interest leased the Chrysler Property
        portion of the property.
                                                     to various entities from approximately
   27
        Supporting Evidence:                         1964 to 1974, including to General
   28                                                Motors’ predecessor, Dallas Smith

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    1       Levy Decl., ¶ 10;                  Service Corporation, and to Chrysler’s
    2       Banks Decl., Exh. 2 [Map of the    predecessors, Automotive Precheck and
             Chrysler Property dated            New Car Preparation System, Inc. (a/k/a
    3        February 20, 1964 and revised      Nu Car Prep). Ford Decl. Exs. 8, at 92-
    4        March 6, 1964];                    94, 102-112, 119-124, 203-210, 273-294,
            Banks Decl., Exh. 5 [Map of the    316-342, 366-397, 401-434 (Union
    5                                           Pacific’s Response to EPA 104(e)
             Chrysler Property dated October
    6        16, 1964 and revised September     Request Nos. 7, 8, 9 & 10 (Jul. 13,
             26, 1967];                         2012), at 1-3, 11-21 & Index of Exhibits
    7                                           & Exs. 12, 20, 21, 22, 23, 27, 28, 29, 30,
            Banks Decl., Exh. 3 [1962 Aerial
    8        Photo of the Chrysler Property];   33, 34, 35, 36, 37, 39, 40, 41, 42, 43), 6,
            Banks Decl., Exh. 4 [1964 Aerial   at 57-58 (Dames & Moore, Remedial
    9                                           Investigation Workplan (Jan. 10, 1992)
             Photo of the Chrysler Property];
   10       Declaration of David Ruiz          at 4-5), 10, at_654 (McLaren, Santa Fe
             (“Ruiz Decl.”), ¶¶ 17-22.          Pacific Realty Property Assessment
   11                                           (Apr. 27, 1990), at 8), 11, at_656-684,
   12                                           (Letter from Deborah J. Schmall, Paul
                                                Hastings LLP, to Steve Berninger, Esq.,
   13                                           Office of Regional Counsel, U.S. EPA
   14                                           Region 9 (Nov. 23, 2011), at 1-8,
                                                Attachment A, Attachment B,
   15                                           Attachment C).
   16
                                                In 1963 and 1964, building permits were
   17                                           approved, listing structures including
   18                                           “Employee Facilities,” “Dual
                                                Automobile Washing,” and “New Car
   19                                           Undercoat.” The owner is listed as Union
   20                                           Pacific’s predecessor-in-interest, Pacific
                                                Elec. R. R. Ford Decl., Exs. 7, at 74, 75-
   21
                                                80, 82-90 (Prof’l Serv. Indus., Inc., Phase
   22                                           I Envtl. Site Assessment (Sept. 25, 1998)
                                                at 1, 5-6, 12-14, 31, 41-49) (building
   23
                                                permits indicating buildings constructed
   24                                           onsite), 8, at 92-96, 109-110,_119-124,
                                                144-154, 258-275, 346-365, 444, 452-
   25
                                                462 (Union Pacific’s Response to EPA
   26                                           104(e) Request Nos. 2, 3, 10 (Jul. 13,
                                                2012), at 1-5, 18-19 & Index of Exhibits
   27
                                                & Exs. 4, 19, 20, 32, 46, 48, 49, 50)
   28                                           (describing merger of Pacific Electric
                                            - 57 -
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    1                                         Railway Company into Southern Pacific
    2                                         Company (“SPCo I”), merger of SPCo I
                                              into Southern Pacific Transportation
    3                                         Company, and subsequent transactions
    4                                         leading to Feb. 1, 1998 merger of Union
                                              Pacific Railroad Company and Southern
    5                                         Pacific Transportation Company), 6, at
    6                                         58 (Dames & Moore, Remedial
                                              Investigation Workplan (Jan. 10, 1992)
    7                                         at 5) (aerial photo showing at least six
    8                                         buildings onsite in 1963)
    9                                         In 1973, Union Pacific’s predecessor-in-
   10                                         interest, Southern Pacific Transportation
                                              Co., completed an addition to the “Hot
   11                                         Start Emission Facility”, which was
   12                                         located on the Chrysler Property and
                                              leased to Chrysler Corp. Ford Decl., Ex.
   13                                         8, at 112, 119-124, 428-434 (Union
   14                                         Pacific’s Response to EPA’s 104(e)
                                              Request No. 10 (Jul. 13, 2012), at 21 &
   15                                         Index of Exhibits & Ex. 43)
   16                                         Known disposals
   17
                                              One or more hazardous substances, such
   18                                         as hexavalent chromium, were spilled,
   19                                         leaked, pumped, poured, emitted,
                                              emptied, discharged, injected, escaped,
   20                                         leached, dumped, or disposed of at the
   21                                         Chrysler Property between 1964 to 1974.
                                              Opp’n RFJN, Ex. 23, at 148 (LACE
   22                                         Notice of Violation and Order to Comply
   23                                         (Mar. 20, 1970), (1970 discharge of
                                              liquid waste containing hexavalent
   24                                         chromium to storm drain); Ford Decl.,
   25                                         Exs. 2, at 16 (McLaren, Property
                                              Transaction Envtl. Assessment (Jan. 11,
   26                                         1989), at 13) (hexavalent chromium), 6,
   27                                         at 59-60 (Dames & Moore, Remedial
                                              Investigation Workplan (Jan. 10, 1992),
   28
                                           - 58 -
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    1                                         at 6, 8)) (same)
    2
                                              Ford Decl., Exs. 10, at 655 (McLaren,
    3                                         Santa Fe Pacific Realty Property
                                              Assessment (Apr. 27, 1990), at 9) (PCE
    4
                                              and TCE used in carwash operations), 2,
    5                                         at 16 (McLaren, Property Transaction
                                              Evtl Assessment (Jan. 11, 1989), at 13)
    6
                                              (wastewater from carwash to concrete
    7                                         clarifiers, sewer), 6, at 62-63, 66, 69-70
                                              (Dames & Moore, Remedial
    8
                                              Investigation Workplan (Jan. 10, 1992),
    9                                         at 12-13, 20, 38-39) (solvents used
   10                                         onsite, common industry use of solvents
                                              in carwash, runoff from carwash to floor
   11                                         drains, waste streams carried throughout
   12                                         site via permeable clay or concrete pipes,
                                              including wastestream containing
   13                                         solvents sent to clarifier); RFJN, Exs. 80
   14                                         (LACE IDWP (May 28, 1964) car wash
                                              and floor wash down to storm drain and
   15                                         flood control channel), 77 (LACE
   16                                         Industrial Waste Survey (Oct. 21, 1971)
                                              (same), 81 (LACE, Notice (Jan. 14,
   17                                         1964) (cited for discharging car wash
   18                                         wastewater to the sewer without the
                                              proper interceptor), 82 (Industrial Waste
   19                                         Disposal Permit App. (Apr. 10, 1964)
   20                                         (wastewater discharges containing
                                              detergents used in automatic car wash
   21                                         were estimated to be 60,000 gallons per
   22                                         day in 1964), 78 (LA Cnty. Sanitation
                                              Dist., Industrial Wastewater Discharge
   23                                         Permit No. 926 (Nov. 21, 1973)
   24                                         (discharges of wastewater from car wash
                                              operations using decosmoline solvent
   25                                         estimated at 24,000 gallons per day in
   26                                         1973); see also Mutch Report, Jan. 14,
                                              2021, at 5-9 to 5-11 (Docket No. 903-
   27                                         204, at #25356-25358) (permeability and
   28
                                           - 59 -
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    1                                         exfiltration rates of sewer lines)
    2
                                              RFJN, Ex. 83 (LACE, Notice of Non-
    3                                         Compliance (Feb. 1971)) (sewer traps
                                              “heavy with oil and solvent”); Ford
    4
                                              Decl., Ex. 6, at 61 (Dames & Moore,
    5                                         Remedial Investigation Workplan (Jan.
                                              10, 1992), at 9)
    6
    7                                         Other discharges
    8                                         Mutch Report, Jan. 14, 2021, at Tables 5-
                                              2, 5-4 (Docket No. 903-204, at #25352-
    9
                                              25355, 25361-25363)
   10
                                              Car prep operations involved hazardous
   11                                         substances such as chromium,
   12                                         decosmoline solvents
   13                                         Ford Decl., Ex. 6, at 62-65 (Dames &
   14                                         Moore, Remedial Investigation
                                              Workplan (Jan. 10, 1992), at 12-15);
   15                                         RFJN, Exs. 78 (1973 IWDP No. 926)
   16                                         (listing “decosmoline” and solvent as
                                              raw materials that were used and
   17                                         discharged to the sewer system from the
   18                                         car wash), 77_(LACE, Resurvey of
                                              Indus. Waste (Oct. 21, 1971)
   19                                         (PALM000564-565, 567)) (car prep
   20                                         operations included painting and spot
                                              plating using chromium)
   21
                                              40 C.F.R. § 302.4
   22                                         As stated in Plaintiffs’ Memorandum of
   23                                         Points & Authorities in Opposition to
                                              Union Pacific’s Partial Motion for
   24
                                              Summary Judgment, Union Pacific was
   25                                         responsible for constructing and
                                              maintaining the sewer system (which is
   26
                                              itself a CERCLA “facility”) at the
   27                                         Chrysler Property when car prep
                                              operations were conducted there.
   28
                                           - 60 -
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    1                                           Accordingly, Plaintiffs reserve their
    2                                           rights to seek contribution from Union
                                                Pacific under a “former operator” theory
    3                                           of liability at trial, if necessary.
    4
    5      108.    The right-of-way was         Response: Undisputed, but immaterial

    6   removed between 1962 and 1964.
                                              Evidence: Plaintiffs object to Fact No.
    7   Supporting Evidence:                  108 as immaterial for purposes of
           Banks Decl., Exh. 2 [Map of the deciding this summary judgment because
    8        Chrysler Property dated          it does not bear on whether Plaintiffs can
    9        February 20, 1964 and revised    meet their burden to demonstrate the
             March 6, 1964];                  Chrysler Property is a CERCLA facility;
   10
           Banks Decl., Exh. 5 [Map of the (2) Defendant Union Pacific is one of the
   11        Chrysler Property dated October four classes of persons that are liable
             16, 1964 and revised September under CERCLA; and (3) whether there
   12                                         has been a “release” or “threatened
             26, 1967];
   13      Banks Decl., Exh. 3 [1962 Aerial release” of hazardous substances from
   14        Photo of the Chrysler Property]; the Chrysler Property into OU-2
           Banks Decl., Exh. 4 [1964 Aerial Groundwater. Fresno Motors, LLC v.
   15        Photo of the Chrysler Property]; Mercedes Benz USA, LLC, 771 F.3d
           Ruiz Decl, ¶¶ 17-22.              1119, 1125 (9th Cir. 2014); Falkner v.
   16                                         Gen. Motors LLC, 393 F. Supp. 3d 927,
   17                                         930 (C.D. Cal. 2018) (“A material fact
                                              for purposes of summary judgment is one
   18                                         that might affect the outcome of the suit
   19                                         under the applicable law.”) (citation
                                              omitted).
   20
   21                                           As set forth in Plaintiffs’ response to
                                                paragraph 105, Union Pacific’s
   22
                                                predecessors-in-interest acquired most of
   23                                           the Chrysler Property, including all of
                                                “Site A”, by December 3, 1963.
   24
   25                                           As set forth in Plaintiffs’ response to
                                                paragraph 107, Union Pacific’s
   26
                                                predecessors-in-interest leased the
   27                                           Chrysler Property to various entities
                                                from approximately 1964 to 1974,
   28
                                             - 61 -
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    1                                              including to General Motors’
    2                                              predecessor, Dallas Smith Service
                                                   Corporation, and to Chrysler’s
    3                                              predecessors, Automotive Precheck and
    4                                              New Car Preparation System, Inc. (a/k/a
                                                   Nu Car Prep).
    5
    6                                              As further set forth in Plaintiffs’ respnse
                                                   to paragraph 107, one or more hazardous
    7                                              substances, such as hexavalent
    8                                              chromium, were spilled, leaked, pumped,
                                                   poured, emitted, emptied, discharged,
    9                                              injected, escaped, leached, dumped, or
   10                                              disposed of at the Chrysler Property
                                                   between 1964 to 1974.
   11
   12                                              Plaintiffs incorporate their responses to
                                                   paragraphs 105 and 107 herein.
   13
   14                                              Response: Partially disputed and
           109.      In 1988, Chrysler             immaterial
   15   terminated its leasehold of the Chrysler
   16   Property and demolished all buildings      Evidence: Plaintiffs object to paragraph
        and removed all structures, including      109 as immaterial for purposes of
   17   clarifiers.                                deciding this summary judgment. The
   18                                              parties do not dispute Union Pacific’s
        Supporting Evidence:
                                                   predecessor-in-interest transferred the
   19      Banks Decl., Exh. 19, p. 155
                                                   entire Chrysler Property to an unrelated
             [Letter from Ric Notini of
   20                                              entity on January 21, 1974. See
             Catellus Development
                                                   paragraph 101 and Plaintiffs’ response
   21        Corporation (“Catellus”) to the
                                                   thereto. Post-1988 activities at the
             RWQCB, dated January 4,
   22                                              Chrysler Property do not bear on whether
             1991];
                                                   Plaintiffs can meet their burden to prove
   23      Banks Decl., Exh. 20, p. 158           certain of the elements of Union Pacific’s
   24        [Letter from Ric Notini of            liability under CERCLA. Fresno Motors,
             Catellus to the Los Angeles           LLC v. Mercedes Benz USA, LLC, 771
   25        Department of Public Works,           F.3d 1119, 1125 (9th Cir. 2014); Falkner
   26        Waste Management Division             v. Gen. Motors LLC, 393 F. Supp. 3d
             regarding the Chrysler Property,      927, 930 (C.D. Cal. 2018) (“A material
   27        dated January 17, 1991];              fact for purposes of summary judgment
   28      Banks Decl., Exh. 33, p. 213           is one that might affect the outcome of
                                                - 62 -
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    1        [Letter from Scott Strine of           the suit under the applicable law.”)
    2        Palmtree Acquisition                   (citation omitted).
             Corporation to the U.S.
    3        Environmental Protection               In addition, the cited documents do not
    4        Agency (“U.S. EPA”), dated             prove Chrysler removed “all” structures,
             May 15, 2009];                         including clarifiers, from the site. In
    5       RJN, ¶¶ 9, 10, 23.                     1988, Chrysler Motors Nu-Car Prep
    6                                               Center contracted with Colorado Pacific
                                                    Constructors, Inc. to remove a defined
    7                                               number of structures from the Chrysler
    8                                               Property: one 10,000-gallon gasoline
                                                    tank; two 6,000-gallon gasoline tanks;
    9                                               two 3,000 gallon gasoline tanks; five
   10                                               550-gallon waste oil tanks; and seven
                                                    concrete lined clarifiers of various
   11                                               capacities. Ford Decl., Exs. 1, at 5
   12                                               (Petroleum Industry Consultants, Inc.,
                                                    Tank Removal Geological Report (Mar.
   13                                               31, 1988) at 1). This does not establish
   14                                               all structures were removed. Moreover,
                                                    the documents cited by Union Pacific
   15                                               post-date 1988 and do not document
   16                                               actual removal of onsite structures from
                                                    the property .
   17
   18
           110.       Site investigations           Response: Disputed
   19   uncovered soil contamination beneath
        the area of a former 750-gallon clarifier   Evidence: Site plans from 1973 and
   20
        used by Chrysler (the “Chrysler             1974 show a clarifier near the southeast
   21   Clarifier”) in conjunction with             corner of the Body Works building.
        Chrysler’s auto body repair shop            RFJN, Exs. 77 (Los Angeles County
   22
        referred to as the Body Works building.     Dept. of Engineers, Resurvey of
   23                                               Industrial Waste Survey, Oct. 21, 1971,
        Supporting Evidence:                        at 2, 4); Opp’n RFJN_Ex. 13, at 115 (Los
   24
           Banks Decl., Exh. 18                    Angeles County Dept. of County
   25        [Preliminary Report – Soil and         Engineer, Industrial Waste Survey, Dec.
             Ground Water Investigation by          14, 1976, at 2); Banks Decl., Exs. 11
   26
             Converse Environmental West,           (Docket No. 902-18), at 121, 13 (Docket
   27        dated December 28, 1990];              No. 902-20), at 126. Those documents
           Banks Decl., Exh. 21 [Final             describe that clarifier as the “Nottingham
   28
                                                - 63 -
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    1        Report – Soil and Ground Water      Interceptor.” Id.
    2        Investigation” by Converse
             Environmental West, dated           It is unclear whether the clarifier from
    3        August 29, 1991]                    the 1973 and 1974 site plans is the same
            RJN ¶¶ 8, 11.                       clarifier that later environmental
    4
                                                 consultant reports identify as being the
    5                                            source of soil contamination near the
                                                 Body Works building, namely Clarifier
    6
                                                 2. The Nottingham Interceptor (or
    7                                            clarifier) No. 2 is described as a 1,200 or
                                                 1,250-gallon clarifier. RFJN, Exs. 77 _
    8
                                                 (Los Angeles County Dept. of Engineers,
    9                                            Resurvey of Industrial Waste Survey,
   10                                            Oct. 21, 1971, at 2, 4), _, at _ (Los
                                                 Angeles County Dept. of County
   11                                            Engineer, Industrial Waste Survey, Dec.
   12                                            14, 1976, at 2); Banks Decl., Ex. 13
                                                 (Docket No. 902-20), at 126.
   13
                                                 The 1988 Tank Removal Report states
   14                                            that one clarifier near the Body Works
   15                                            building was removed in 1988. See Ford
                                                 Decl., Ex. 1, at 11 (Petroleum Industry
   16                                            Consultants, Inc., Tank Removal
   17                                            Geological Report (Mar. 31, 1988), at
                                                 Figure 2B).
   18
   19                                            The documents Union Pacific cites do
                                                 not establish when the clarifier at issue
   20                                            was installed at the Chrysler Property.
   21
   22      111.       The only identified source Response: Disputed
        of potential groundwater contamination
   23                                            Evidence: Mutch Rebuttal Report, Mar.
        on the Chrysler Property is the Chrysler
                                                 4, 2021, at 1-1 through 1-8.
   24   Clarifier.
   25                                            As set forth in Plaintiffs’ response to
        Supporting Evidence:
                                                 paragraph 105, Union Pacific’s
   26       Banks Decl., Exh. 18                predecessors-in-interest acquired most of
               [Preliminary Report – Soil and    the Chrysler Property, including all of
   27          Ground Water Investigation by     “Site A”, by December 3, 1963.
   28          Converse Environmental West,

                                              - 64 -
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    1          dated December 28, 1990];        Plaintiffs incorporate their response to
    2         Banks Decl., Exh. 21 [Final      paragraph 105 herein.
               Report – Soil and Ground Water
    3          Investigation” by Converse       As set forth in Plaintiffs’ response to
    4          Environmental West, dated        paragraph 107, Union Pacific’s
               August 29, 1991];                predecessors-in-interest leased the
    5         Banks Decl., Exh. 24 [Report     Chrysler Property to various entities
    6          Phase II Investigation, dated    from approximately 1964 to 1974,
               September 6, 1996, prepared by   including to General Motors’
    7          Debra B. Stott of Dames &        predecessor, Dallas Smith Service
    8          Moore];                          Corporation, and to Chrysler’s
              Banks Decl., Exh. 19 [Letter     predecessors, Automotive Precheck and
    9                                           New Car Preparation System, Inc. (a/k/a
               from Ric Notini of Catellus
   10          Development Corporation          Nu Car Prep). Plaintiffs incorporate their
               (“Catellus”) to the RWQCB,       response to paragraph 107 herein.
   11
               dated January 4, 1991];
   12                                           Car preparation operations at the
              Banks Decl., Exh. 20 [Letter
                                                Chrysler Property from the early 1960s
   13          from Ric Notini of Catellus to
                                                to 1974 resulted in multiple disposals of
               the Los Angeles Department of
   14                                           CERCLA hazardous substances during
               Public Works, Waste
                                                Union Pacific’s ownership of the
   15          Management Division regarding
                                                property.
               the Chrysler Property, dated
   16          January 17, 1991];               Known disposals
   17         Banks Decl., Exh. 33 [Letter
               from Scott Strine of Palmtree    One or more hazardous substances, such
   18          Acquisition Corporation to the   as hexavalent chromium, were spilled,
   19          EPA, dated May 15, 2009];        leaked, pumped, poured, emitted,
              Banks Decl., Exh. 32             emptied, discharged, injected, escaped,
   20          [RWQCB’s Closure Letter for      leached, dumped, or disposed of at the
   21          the Central Property dated       Chrysler Property between 1964 to 1974.
               August 6, 1999];                 Opp’n RFJN, Ex. 23, at_148 (LACE
   22         RJN, ¶¶ 8-11, 14, 22, 23.        Notice of Violation and Order to Comply
   23                                           (Mar. 20, 1970), (1970 discharge of
                                                liquid waste containing hexavalent
   24                                           chromium to storm drain); Ford Decl.,
   25                                           Exs. 2, at 16 (McLaren, Property
                                                Transaction Envtl. Assessment (Jan. 11,
   26                                           1989), at 13) (hexavalent chromium), 6,
   27                                           at 59-60 (Dames & Moore, Remedial
                                                Investigation Workplan (Jan. 10, 1992),
   28
                                            - 65 -
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    1                                         at 6, 8) (same)
    2
                                              Ford Decl., Exs. 10, at 655 (McLaren,
    3                                         Santa Fe Pacific Realty Property
                                              Assessment (Apr. 27, 1990), at 9) (PCE
    4
                                              and TCE used in carwash operations), 2,
    5                                         at 16, 18 (McLaren, Property Transaction
                                              Evtl Assessment (Jan. 11, 1989), at 13,
    6
                                              15) (wastewater from carwash to
    7                                         concrete clarifiers, sewer), 6 , at 62-63,
                                              66, 68-70 (Dames & Moore, Remedial
    8
                                              Investigation Workplan (Jan. 10, 1992),
    9                                         at 12-13, 20, 37-39) (solvents used
   10                                         onsite, common industry use of solvents
                                              in carwash, runoff from carwash to floor
   11                                         drains, waste streams carried throughout
   12                                         site via permeable clay or concrete pipes,
                                              including wastestream containing
   13                                         solvents sent to clarifier); RFJN, Exs. 80
   14                                         (LACE IDWP (May 28, 1964) (car wash
                                              and floor wash down to storm drain and
   15                                         flood control channel), 77 (LACE
   16                                         Industrial Waste Survey (Oct. 21, 1971)
                                              (same), 81 (LACE, Notice (Jan. 14,
   17                                         1964) (cited for discharging car wash
   18                                         wastewater to the sewer without the
                                              proper interceptor), 82 (Industrial Waste
   19                                         Disposal Permit App. (Apr. 10, 1964)
   20                                         (wastewater discharges containing
                                              detergents used in automatic car wash
   21                                         were estimated to be 60,000 gallons per
   22                                         day in 1964), 78 (LA Cnty. Sanitation
                                              Dist., Industrial Wastewater Discharge
   23                                         Permit No. 926) (Nov. 21, 1973)
   24                                         (discharges of wastewater from car wash
                                              operations using decosmoline solvent
   25                                         estimated at 24,000 gallons per day in
   26                                         1973); see also Mutch Report, Jan. 14,
                                              2021, at 5-9 to 5-11 (Docket No. 903-
   27                                         204, at #25356-25358) (permeability and
   28
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    1                                         exfiltration rates of sewer lines)
    2
                                              RFJN, Ex. 83 (LACE, Notice of Non-
    3                                         Compliance (Feb. 1971) (sewer traps
                                              “heavy with oil and solvent”)); Ford
    4
                                              Decl., Ex. 6, at 61 (Dames & Moore,
    5                                         Remedial Investigation Workplan (Jan.
                                              10, 1992), at 9)
    6
    7                                         Other discharges
    8                                         Mutch Report, Jan. 14, 2021, at Tables 5-
                                              2, 5-4 (Docket No. 903-204, at #25352-
    9
                                              25355, 25361-25363)
   10
                                              Car prep operations involved hazardous
   11                                         substances such as chromium,
   12                                         decosmoline solvents
   13                                         Ford Decl., Ex. 6, at 62-65 (Dames &
   14                                         Moore, Remedial Investigation
                                              Workplan (Jan. 10, 1992), at 12-15);
   15                                         RFJN, Exs. 78 (1973 IWDP No. 926)
   16                                         (listing “decosmoline” and solvent as
                                              raw materials that were used and
   17                                         discharged to the sewer system from the
   18                                         car wash), 77 (LACE, Resurvey of Indus.
                                              Waste (Oct. 21, 1971) (PALM000564-
   19                                         565, 567) (car prep operations included
   20                                         painting and spot plating using
                                              chromium))
   21
                                              40 C.F.R. § 302.4
   22
   23                                         By 1971, there were seven clarifiers at
                                              the Chrysler Property. RFJN, Ex. 77_
   24                                         (Los Angeles County Dept. of Engineers,
   25                                         Resurvey of Industrial Waste Survey
                                              (Oct. 21, 1971)); see Mutch Report, Jan.
   26                                         14, 2021, at 5-9 to 5-10 (noting that
   27                                         1,100 feet of six-inch, vitrified clay
                                              sewer pipe, like present at the Chrysler
   28
                                           - 67 -
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    1                                            property, could conservatively leak 2.19
    2                                            million gallons of wastewater over the
                                                 course of a year).
    3
    4      112.      The Chrysler Clarifier was Response: Disputed
    5   located in the former Chrysler Body
        Works building.                         Evidence: Mutch Rebuttal Report, Mar.
    6                                           4, 2021, at 1-1 through 1-8.
    7   Supporting Evidence:
            Banks Decl., Exh. 17 [Tank         Documents indicate Clarifier 2, or the
    8         Removal Geological Report         “Chrysler Clarifier,” was located outside
    9         Prepared by Petroleum Industry the Body Works Building. Ford Decl.,
              Consultants, Inc. dated March     Exs. 1, at 6-8, 11 (Petroleum Industry
   10         31, 1988];                        Consultants, Inc., Tank Removal
            Banks Decl., Exh. 18               Geological Report (Mar. 31, 1988), at 2-
   11                                           4, Figure 2B) (describing removal of
              [Preliminary Report – Soil and
   12         Ground Water Investigation by     clarifiers by removing concrete and using
              Converse Environmental West,      cranes and track-mounted backhoe;
   13                                           figure showing clarifier located outside
              dated December 28, 1990];
   14                                           Body Works building), 2, at 13-15
            Banks Decl., Exh. 21 [Final
                                                (McLaren Envtl. Eng’g, Property
   15         Report – Soil and Ground Water
                                                Transaction Environmental Assessment,
              Investigation” by Converse
   16                                           Jan. 11, 1989, at 1, 6 & Figure 1) (Body
              Environmental West, dated
                                                Works building fully intact shortly after
   17         August 29, 1991];
                                                removal of clarifiers), 4, at 43 (Converse
            Ruiz Decl., ¶¶ 4-6;
   18                                           Envtl. West, Final Report – Soil &
            RJN, ¶¶ 7, 8, 11.                  Groundwater Investigation, Aug. 29,
   19                                            1991, Figure Map 5).
   20
                                                 Clarifiers almost always sit below the
   21                                            surface to facilitate connection to
   22                                            underground sewer lines carrying waste
                                                 water to the clarifier for pretreatment
   23                                            before disposal to the sewer. Mutch
   24                                            Rebuttal Report, Mar. 4, 2021, at 1-2, 1-7
                                                 through 1-8.
   25
                                                 Large concrete clarifiers like those used
   26
                                                 in the 1960s and 1970s at the Chrysler
   27                                            Property are not ordinarily installed
                                                 inside a building or other enclosed
   28
                                              - 68 -
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    1                                            structure. RFJN Ex. 77 (Los Angeles
    2                                            County Dept. of Engineers, Resurvey of
                                                 Industrial Waste Survey, Oct. 21, 1971);
    3                                            Mutch Rebuttal Report, Mar. 4, 2021, at
    4                                            1-7.
    5
           113.       The Chrysler Clarifier was Response: Disputed
    6   installed after Union Pacific sold the
    7   Chrysler Property.                       Evidence: Defendants base this claim on
                                                 their unsupported allegation that the
    8   Supporting Evidence:                     Chrysler Clarifier was located inside the
    9       Banks Decl., Exh. 17 [Tank          Body Works building. See, e.g., Mot. at
               Removal Geological Report         33, 34, 39, 50. As fully set out in
   10          Prepared by Petroleum Industry response to paragraph 112 above, the
   11          Consultants, Inc. dated March     evidence does not support this allegation.
               31, 1988];                        Plaintiffs incorporate their response to
   12       Banks Decl., Exh. 18, p. 152;       paragraph 112 herein.
   13          [Preliminary Report – Soil and
               Ground Water Investigation by
   14          Converse Environmental West,
   15          dated December 28, 1990, Figure
               No. 5];
   16       Banks Decl., Exh. 21, p. 174
   17          [Final Report – Soil and Ground
               Water Investigation” by
   18          Converse Environmental West,
   19          dated August 29, 1991, Figure
               No. 10];
   20
            Banks Decl., Exh. 14 [Aerial
   21          Photograph of the Chrysler
               Property dated 1983];
   22
            Banks Decl., Exh. 15 [Aerial
   23          Photograph of the Chrysler
               Property dated 1987];
   24
            Banks Decl., Exh. 9 [January 21,
   25          1974 Deed];
   26       Banks Decl., Exh. 10 [Los
               Angeles County Sanitation
   27          District Letter dated January 31,
   28          1974];

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    1       Banks Decl., Exh. 7 [Los
    2        Angeles County Sanitation
             District Letter dated October 16,
    3        1973];
    4       Banks Decl., Exh. 8 [Site Plan
             marked as approved on October
    5        16, 1973 by the Los Angeles
    6        County Sanitation District, in
             connection with an Industrial
    7        Wastewater Discharge Permit
    8        No. 787];
            Banks Decl., Exh. 11 [Site Plan
    9
             marked as approved on January
   10        31, 1974 by the Los Angeles
             County Sanitation District, in
   11
             connection with an Industrial
   12        Wastewater Discharge Permit
             Nos. 926, 927 and 928 for the
   13
             Chrysler Property];
   14       Banks Decl., Exh. 13 [Map
   15        depicting work to be performed
             under Industrial Wastewater
   16        Discharge Permit Nos. 787, 926,
   17        927 and 928];
            Ruiz Decl., ¶ 4-6, 7-10, 12-16;
   18       RJN, ¶¶ 1-4, 6-8, 11.
   19
   20       CONCLUSIONS OF LAW - CHRYSLER PROPERTY DEFENDANT:
   21                UNION PACIFIC RAILROAD COMPANY
              4.     Plaintiffs assert claims against Union Pacific for contribution (First
   22
        Claim) and declaratory relief (Third Claim) under the Comprehensive Response,
   23
        Compensation and Liability Act (“CERCLA”).
   24
              Response: Undisputed.
   25
              5.     To prevail on its CERCLA claims, Plaintiffs must prove all of the
   26
        following: (1) the Chrysler Property is a facility, (2) there was a release or
   27
        threatened release of hazardous substances at or from the Chrysler Property, (3) that
   28
                                                - 70 -
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    1   the release or threatened release caused Plaintiffs to incur response costs that were
    2   necessary and consistent with the National Contingency Plan,2 and (4) Union
    3   Pacific is a “responsible party” subject to CERCLA liability under 42 U.S.C.
    4   Section 9607(a). Carson Harbor Village Ltd. v. Unocal Corp., 270 F.3d 863, 870-
    5   71 (9th Cir. 2001).
    6              Response: Partially disputed. Under the fourth element, Plaintiffs must
    7   establish Union Pacific is within one of four classes of persons subject to the
    8   liability provisions of Section 107(a). Carson Harbor Village Ltd. v. Unocal Corp.,
    9   270 F.3d 863, 870-71 (9th Cir. 2001). Those persons are “potentially responsible
   10   parties.” Id. at 871. Here, Plaintiffs must establish Union Pacific owned the
   11   Chrysler Property “at the time of disposal of any hazardous substance.” CERCLA,
   12   42 U.S.C. § 9607(a)(2).
   13              6.        Plaintiffs must also prove that a release of hazardous substances from
   14   the Chrysler Property for which Union Pacific is reasonable has impacted the
   15   groundwater in OU-2.
   16              Response: Disputed.
   17              7.        A CERCLA “responsible party” includes (1) any current “owner and
   18   operator” of the site at issue, and (2) “any person who at the time of disposal of any
   19   hazardous substance owned or operated any facility at which such hazardous
   20   substances were disposed of.” CERCLA, 42 U.S.C. § 9607(a)(1), (2).
   21              Response: Partially disputed. A CERCLA “covered person” includes: (1)
   22   “the owner and operator of a vessel or a facility” and (2) “any person who at the
   23   time of disposal of any hazardous substance owned or operated any facility at
   24   which such hazardous substances were disposed of.” CERCLA, 42 U.S.C. §
   25   9607(a)(1), (2).
   26
   27   2
            The parties are deferring litigation of this element until the next phase of the litigation. Dkt. 615 at 2:1-4.

   28
                                                                   - 71 -
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    1         8.     There is no evidence that Union Pacific is a covered party under
    2   CERCLA, 42 U.S.C. § 9607(a)(1), (2), because Union Pacific is not a current
    3   “owner” or “operator” of the Chrysler Property; and there is no evidence that a
    4   discharge to OU-2 groundwater occurred on the Chrysler Property during Union
    5   Pacific’s period of property ownership.
    6         Response: Disputed.
    7         9.     Therefore, Union Pacific is not liable under Plaintiffs’ CERCLA
    8   claims for contribution (First Claim) and declaratory relief (Third Claim).
    9         Response: Disputed.
   10
   11
   12                            III. Patsouras Source Property

   13      Moving Defendants: Halliburton Affiliates, LLC; Intervenors Fireman’s
          Fund Insurance Company and Federal Insurance Company, as Insurers of
   14                  Palley Supply Company; and Kekropia, Inc.
   15
        200. On November 1, 2016, Plaintiffs Response: Undisputed.
   16   filed a Fifth Amended Complaint
   17   (“FAC”) against Defendants Halliburton
        Affiliates, LLC; Kekropia, Inc.;
   18   William K. Palley, an individual; and
   19   Palley Supply Company (the “Patsouras
        Property Defendants”) alleging that each
   20   was a “covered person” within the
   21   meaning of 42 U.S.C. § 9607(a)(1)-(4).
   22   Supporting Evidence: FAC ¶ 398; Ex. A
   23   to the Declaration of William D. Wick
   24   201. EPA concluded that certain            Response: Undisputed, but immaterial.
   25   parties were potentially responsible
        parties (“PRPs”) for the contamination     Evidence: Plaintiffs object to
   26   of OU-2 groundwater, and sent Special      paragraph 201 as immaterial for
   27   Notice Letters to them.                    purposes of deciding this summary
                                                   judgment because it does not bear on
   28
                                               - 72 -
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    1   Supporting Evidence: FAC ¶ 4; Ex. A         whether Plaintiffs can meet their burden
    2   to the Declaration of William D. Wick       to demonstrate the Patsouras Property is
                                                    a CERCLA facility; (2) Defendants
    3                                               Halliburton Affiliates, LLC, Palley
    4                                               Supply Company and Kekropia, Inc.
                                                    (collectively, the “Patsouras
    5                                               Defendants”) are one of the four classes
    6                                               of persons that are liable under
                                                    CERCLA; and (3) whether there has
    7                                               been a “release” or “threatened release”
    8                                               of hazardous substances from the
                                                    Patsouras Property into OU-2
    9                                               Groundwater (as defined in Footnote 1
   10                                               above). Fresno Motors, LLC v.
                                                    Mercedes Benz USA, LLC, 771 F.3d
   11                                               1119, 1125 (9th Cir. 2014); Falkner v.
   12                                               Gen. Motors LLC, 393 F. Supp. 3d 927,
                                                    930 (C.D. Cal. 2018) (“A material fact
   13                                               for purposes of summary judgment is
   14                                               one that might affect the outcome of the
                                                    suit under the applicable law.”) (citation
   15                                               omitted).
   16
        202. EPA has not sent a Special Notice      Response: Undisputed, but immaterial.
   17   Letter to any of the Patsouras Property
   18   Defendants.                                 Evidence: Plaintiffs do not dispute EPA
                                                    has not sent a Special Notice Letter to
   19                                               any of the Patsouras Property
        Supporting Evidence: FAC, p. 18
   20   (“Non-Notice Letter Defendants              Defendants to date. Declaration of
        PRPS,”), ¶ 93-96; Ex. A to the              William D. Wick (“Wick Decl.”), Ex. A
   21                                               (Docket No. 526, Fifth AC, ¶¶ 68, 93-96
        Declaration of William D. Wick
   22                                               (alleging each defendant received a
                                                    SNL, GNL or has not yet received a
   23                                               notice letter)).
   24
                                                    The OU-2 Remedial Investigation
   25                                               Report (“OU-2 RI”), portions of which
                                                    the Patsouras Defendants cite below,
   26
                                                    plainly states that EPA recognizes its
   27                                               investigations to date “may not have
                                                    identified all sources of contamination
   28
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    1                                           within the OU2 area, and the EPA may
    2                                           conduct additional investigations in the
                                                future.” See Hagstrom Decl., Ex. A, at 6
    3                                           (Docket No. 902-47, at # 17799)
    4                                           (OMEGA OU-2 RI/FS, at 8-4). EPA
                                                could issue a GNL or SNL to the
    5                                           Patsouras Defendants in the future.
    6
                                                Under CERCLA, EPA is not required to
    7                                           send notice letters to all entities that
                                                contributed contamination to OU-2
    8
                                                Groundwater and the Agency has not
    9                                           done so. EPA acknowledges there are
   10                                           state-led actions to clean up known
                                                source properties that are continuing to
   11                                           contribute to the OU-2 Groundwater
   12                                           contamination and that those actions
                                                must work in parallel with the EPA OU-
   13                                           2 Groundwater containment remedy.
   14                                           See Docket No. 770-2, at #14433,
                                                #14440-14441 (Ex. A, 17, 24-25) (OU-2
   15                                           ROD, at 1-2, 2-4 to 2-5).
   16                                           Though strong circumstantial evidence
   17                                           of Defendants’ liability, EPA’s issuance
                                                of a notice letter to the Patsouras
   18                                           Defendants would not directly prove
   19                                           any of the elements of the Patsouras
                                                Defendants’ liability under CERCLA
   20                                           and is, therefore, immaterial. See
   21                                           Plaintiffs’ Response to Patsouras
                                                Defendants’ paragraph 201. Plaintiffs
   22
                                                incorporate their Response to paragraph
   23                                           201 herein by reference.
   24
        203. EPA concluded that certain parties Response: Undisputed, but immaterial.
   25
        were potentially responsible parties
                                                Evidence: Plaintiffs incorporate their
   26   (“PRPs”) for the contamination of OU-2
                                                response to paragraph 201 herein.
        groundwater warranting receipt of a
   27
        General Notice Letter (“GNL”) from
   28   EPA and sent GNLs to them.
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    1
    2   Supporting Evidence: FAC ¶ 5; Ex. A
        to the Declaration of William D. Wick
    3
    4   204. EPA has not sent a General Notice Response: Undisputed, but immaterial.
        Letter to any of the Patsouras Property
    5   Defendants.                             Evidence: Plaintiffs incorporate their
    6                                           responses to paragraphs 201, 202 and
        Supporting Evidence: FAC, p. 18         203 herein.
    7   (“Non-Notice Letter Defendants
    8   PRPS,”), ¶ 93-96; Ex. A to the
        Declaration of William D. Wick
    9
   10   205. The Patsouras Property is located       Response: Undisputed.
        at 11630-11700 Burke Street, Santa Fe
   11   Springs, CA.
   12
        Supporting Evidence: FAC ¶ 343,
   13   Ex. A to the Declaration of William D.
   14   Wick
   15
        206. From 1968 to 1972, Globe Oil            Response: Disputed.
   16   Tools Company operated on the
        Patsouras Property, manufacturing and
   17                                             Evidence: Globe Oil operated on the
        treating oil well drilling equipment and
                                                  Property from at least 1941, and perhaps
   18   tools.
                                                  as early as the 1930’s. Opp’n RFJN,
   19                                             Exs. 15-A, at 117-125 (building permits
        Supporting Evidence: Los Angeles
                                                  for oil tool manufacturing plant on
   20   Regional Water Quality Board Letter,
                                                  Sorenson Lane); Valenzuela Decl., Exs.
        Jan. 4, 2017, Ex. B to the Declaration of
   21                                             8, at 66_(Environmental Audit, Inc.,
        William D. Wick
                                                  Supplemental Subsurface Investigation,
   22
                                                  Mar. 3, 1997, at 3), 19, at 190-191
        AIG Consultants, Inc. Phase I
   23                                             (Letter dated Mar. 19, 1959 addressed to
        Environmental Site Assessment, June
                                                  Mr. John Bertaina” of Globe Oil Tool at
   24   30, 1994, pp. 10-11 (PTFS00024775-
                                                  “11630 Burke, Santa Fe Springs,
        PTFS00024804); Ex. C to the
   25                                             Calif.”); Mutch Report, Jan. 14, 2021, at
        Declaration of William D. Wick
                                                  7-18 & Figs. 7-1, 7-12 (Docket No. 903-
   26
                                                  210 (1928 map indicating Burke Street
   27   Environmental Audit, Inc. Updated Site
                                                  used to be named Sorenson Lane &
        Conceptual Model and Request for Low
   28                                             1938 aerial photograph)).

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    1   Risk Closure, June 17, 2010, p. 1 [which
    2   corrects a typo in a March 3, 1997 EAI
        report which stated that operations
    3   began in “1958”](PTFS00024509-
    4   PTFS00024643); Ex. D to the
        Declaration of William D. Wick
    5
    6   207. On March 20,1970, the Los           Response: Undisputed.
        Angeles County Engineer issued a
    7   notice to Globe Oil Tools Company
    8   alleging that “the discharge of liquid
        waste from your rinse operation to
    9   ground” is in violation of Section #6301
   10   of Santa Fe Springs City Ordinance No.
        79 because the concentration of
   11   dissolved solids exceeded the allowable
   12   limitation.
   13   Supporting Evidence: PTFS00022295,
   14   PTFS00023219-20; Ex. E to the
        Declaration of William D. Wick
   15
   16   208. The County alleged that a sample       Response: Undisputed.
        of the liquid waste taken on March 9,
   17
        1970 showed “a concentration of
   18   dissolved solids that greatly exceeds the
        allowable limitation.” The sample form
   19
        indicated that “Chromium, hexavalent”
   20   was measured at a concentration of 19.5
        parts per million.
   21
   22   Supporting Evidence: PTFS00022295,
        PTFS00023219-20; Ex. E to the
   23
        Declaration of William D. Wick
   24
        209. After receiving a copy of the          Response: Undisputed.
   25
        notice, the Globe plant manager “stated
   26   that he would have discharge
   27   discontinued at once.”

   28
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    1   Supporting Evidence: PTFS00022293;
    2   Ex. E to the Declaration of William D.
        Wick
    3
    4   210. On March 24, 1970, Globe             Response: Undisputed.
        submitted a formal application to the
    5   County Engineer for approval of an
    6   industrial waste disposal system to be
        installed on the Property in which liquid
    7   waste would flow into the sewer after
    8   passing through two interceptors.
    9   Supporting Evidence: PTFS00022294;
   10   Ex. E to the Declaration of William D.
        Wick
   11
   12   211. The Globe plant manager “stated     Response: Undisputed.
        that all liquid waste would be collected
   13   in impervious containers and not
   14   discharged to ground until sewer system
        is completed.”
   15
   16   Supporting Evidence: PTFS00022293;
        Ex. E to the Declaration of William D.
   17
        Wick
   18
        212. On June 19, 1970, the government Response: Disputed as incomplete.
   19
        determined that Globe’s Industrial waste
   20   facilities were “constructed according to Evidence: The referenced exhibit states
        cleared plans.”                           that “the facilities constructed [to
   21                                             address Globe’s violation of waste water
   22   Supporting Evidence: PTFS00022291;        disposal standards] were constructed
        Ex. E to the Declaration of William D.    according to cleared plans.” Wick Decl.,
   23                                             Ex. E (Docket No. 902-80, at #18397)
        Wick
   24                                             (City of Santa Fe Springs, Industrial
                                                  Waste Survey of Globe Oil Tool Co.
   25                                             (June 19, 1970)). However, the
   26                                             referenced plans were only put into
                                                  place after Globe was ordered to “cease
   27                                             and desist” from discharging liquid
   28                                             waste to ground that contained dissolved

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    1                                          solids that “greatly exceed[ed] the
    2                                          allowable limitation.” Id. at # 18392
                                               (Cnty. of Los Angeles, Dept. of Cnty.
    3                                          Eng’r, Notice of Violation & Order to
    4                                          Comply to Globe Oil Tools Co. (Mar.
                                               20, 1970)).
    5
                                               Globe Oil conducted tooling and heat
    6
                                               treating of oil tools, bits, and device,
    7                                          manufacturing hundreds of devices and
                                               pieces of equipment each month. Id. at #
    8
                                               18397 (City of Santa Fe Springs,
    9                                          Industrial Waste Survey of Globe Oil
   10                                          Tool Co. (June 19, 1970)). The metal
                                               heat treating operations generated
   11                                          wastewater heavily contaminated with
   12                                          hexavalent chromium. Id. at #18393
                                               (Cnty. of Los Angeles, Dept. of Cnty.
   13                                          Eng’r, Industrial Waste Division,
   14                                          Chemical Analysis, Job No. 3240.10
                                               (Mar. 17, 1970)); see also RFJN, Ex. 93
   15                                          (City of Santa Fe Springs, Industrial
   16                                          Waste Disposal Permit Application
                                               (May 18, 1970)).
   17
                                               Globe Oil used a degreaser and steam
   18                                          cleaned newly manufactured parts and
   19                                          equipment, which created waste streams
                                               contaminated with hazardous
   20                                          substances. Valenzuela Decl., Ex. 8, at
   21                                          66 (Environmental Audit, Inc.,
                                               Supplemental Subsurface Investigation
   22
                                               (Mar. 3, 1997) at 3); Wick Decl., Ex. E
   23                                          (Docket No. 902-80, at #18397) (City of
                                               Santa Fe Springs, Industrial Waste
   24
                                               Survey of Globe Oil Tool Co. (June 19,
   25                                          1970)). This waste undoubtedly
                                               included chlorinated solvents, given the
   26
                                               common usage of those solvents in the
   27                                          metal fabricating industry during the
   28
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    1                                          pertinent time.
    2
                                               After 1970, the waste streams were run
    3                                          through permeable concrete or brick
                                               subsurface clarifiers, units now known
    4
                                               to commonly result in subsurface
    5                                          releases, to settle out solids before being
                                               discharged to the public sewer system.
    6
                                               Valenzuela Decl., Exs. 8, at 66
    7                                          (Environmental Audit, Inc.,
                                               Supplemental Subsurface Investigation
    8
                                               (Mar. 3, 1997) at 3), 4, at 28 (AIG
    9                                          Consultants, Inc., Phase 1
   10                                          Environmental Assessment (June. 30,
                                               1994) at 18). Sewer pipes made of
   11                                          vitrified clay, the common material used
   12                                          during the early and middle part of the
                                               20th century, also invariably leak, either
   13                                          through cracks, pipe joints, or simply
   14                                          via exfiltration. See Mutch Report, Jan.
                                               14, 2021, at 5-9 to 5-11, 5-30. Given the
   15                                          permeability of these units and
   16                                          infrastructure, contaminated waste water
                                               carried through those systems is
   17                                          virtually certain to reach the
   18                                          environment. Id.

   19                                          In March 1970, Globe Oil was issued a
                                               Notice of Violation for discharging
   20                                          industrial waste to the ground. Wick
   21                                          Decl., Ex. E (Docket No. 902-80, at
                                               #18392-18393) (Los Angeles Cnty.,
   22
                                               Dept. of Cnty. Eng’r, Notice of
   23                                          Violation & Order to Comply (Mar. 20,
                                               1970) & Cnty. of Los Angeles, Dept. of
   24
                                               Cnty. Eng’r, Industrial Waste Division,
   25                                          Chemical Analysis, Job No. 3240.10
                                               (Mar. 17, 1970)). The discharge
   26
                                               included rinse water from the heat-
   27                                          treating operations containing
                                               hexavalent chromium at 19.5 parts per
   28
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    1                                                million, a level 975,000 times higher
    2                                                than the current level considered
                                                     protective in groundwater. Id. at #18393
    3                                                (Cnty. of Los Angeles, Dept. of Cnty.
    4                                                Eng’r, Industrial Waste Division,
                                                     Chemical Analysis, Job No. 3240.10
    5                                                (Mar. 17, 1970)); Mutch Report, Jan.
    6                                                14, 2021, at 7-7.
    7   212. On August 23, 1971, the City of         Response: Undisputed.
    8   Santa Fe Springs issued Industrial
        Waste Disposal Permit No. 4485 to
    9   Globe to discharge into the sewer
   10   washdown and wastes from
        manufacturing and processing oil well
   11   drilling tools.
   12
        Supporting Evidence: PTFS00022288;
   13   Ex. E to the Declaration of William D.
   14   Wick

   15   213. In 1972, William D. Palley and      Response: Undisputed.
   16   Defendant William K. Palley acquired
        the Patsouras Property from Rucker. In
   17   1973, Defendant William K. Palley
   18   obtained sole ownership of the property.

   19   Supporting Evidence: FAC ¶ 345; Ex. A
   20   to the Declaration of William D. Wick

   21   214. During Palley’s ownership, the          Response: Disputed as incomplete.
   22   Property was occupied by a government
        surplus order house, by industrial        Evidence: Palley’s use of the Property
   23   auctioneers, by a paper box company,      was not simply as a “government
   24   and by a plastic reprocessing business.   surplus order house.” Instead, this
                                                  business involved hydraulics and
   25   Supporting Evidence: Los Angeles          hydraulic equipment maintenance,
   26   Regional Water Quality Board Letter,      aircraft, government surplus, and
        Jan. 4, 2017, Ex. B to the Declaration of warehousing. Valenzuela Decl., Exs. 9,
   27   William D. Wick                           at 77-78 (Environmental Audit, Inc.,
   28                                             Summary of Site Assessments, Mar.

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    1                                             2009, at 1-2), 14, at 140-142 (W. Palley
    2                                             Dep. Tr. at 20:9 to 21:5; 69:19-23).
    3   215. On May 18, 1988, the Santa Fe        Response: Undisputed.
    4   Springs Fire Department issued a notice
        of violation alleging that “oil from 2
    5   clarifiers spilled out onto Master Box
    6   Co. access/loading area.”
    7   Supporting Evidence: EAI00897, Ex. F
    8   to the Declaration of William D. Wick
    9   216. On May 19, 1988, the Santa Fe       Response: Undisputed.
   10   Springs Fire Department issued a notice
        of violation alleging that two abandoned
   11   clarifiers contained “excessive oil and
   12   grease.”
   13   Supporting Evidence: EAI00896, Ex. F
   14   to the Declaration of William D. Wick
   15
        217. Palley disposed of waste from the    Response: Disputed as incomplete.
   16   clarifiers and drums and the clarifiers
        were subsequently abandoned-in-place    Evidence: The cited authority does not
   17
        by filling with cement.                 state that Palley disposed of waste from
   18                                           the clarifiers and drums—unless Palley
        Supporting Evidence: AIG Consultants, is referring to his criminal prosecution
   19
        Inc. Phase I Environmental Site         in July 1988 for illegally transporting
   20   Assessment, June 30, 1994, p. 18;       and disposing of hazardous waste.
        (PTFS00024775-PTFS00024804); Ex.        Valenzuela Decl., Ex. 4, at 29 (AIG
   21
        C to the Declaration of William D. Wick Consultants, Inc., Phase I
   22                                           Environmental Site Assessment (June
                                                30, 1994, at 19). In 1987, the County of
   23
                                                Los Angeles Department of Health
   24                                           Services filed a criminal complaint
                                                against Palley Supply’s owner for
   25
                                                maintaining two subsurface structures
   26                                           containing a black oily liquid
   27                                           resembling waste oil. Valenzuela Decl.,
                                                Ex. 8, at 66 (Environmental Audit, Inc.,
   28
                                              - 81 -
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    1                                          Supplemental Subsurface Investigation,
    2                                          Mar. 3, 1997, at 3). A year later, on May
                                               18, 1988, an inspection report noted that
    3                                          the abandoned clarifiers were filled with
    4                                          trash and oil, and that during a
                                               rainstorm, “industrial waste” was
    5                                          overflowing and discharging to the
    6                                          street. Id.; RFJN, Ex. 101 (Inspection
                                               Record for Talco Plastics, May 18,
    7                                          1988.) Palley received two more notices
    8                                          of violation on the same day, one for
                                               excessive waste in two abandoned
    9                                          clarifiers and another notice of violation
   10                                          for overflow from a sump and two
                                               abandoned clarifiers, due to a plugged
   11                                          sewer line, that was discharging to
   12                                          ground at the property’s access and
                                               loading area. Opp’n RFJN, Exs. 17,
   13                                          at_141 (Santa Fe Springs Fire Dept.
   14                                          (“SFSFD”), Notice of Violation No. 74
                                               (May 18, 1988)), 18, at 142 (SFSFD,
   15                                          Notice of Violation No. 75 (May 18,
   16                                          1988).
   17                                          Industrial waste from steam cleaning
   18                                          operations by Palley was discharged to
                                               the sanitary sewer through one or more
   19                                          clarifiers that had been present on the
   20                                          property since Globe Oil Tools operated
                                               there. Valenzuela Dec., Ex._9, at 77-78
   21
                                               (Environmental Audit, Inc., Summary of
   22                                          Site Assessments, Mar. 2009, at 1-2).
                                               Clarifiers leak and are common sources
   23
                                               of groundwater contamination. See
   24                                          Mutch Report, Jan. 14, 2021, at 2-6, 3-5.
   25
                                               This statement is further disputed to the
   26                                          extent it suggests that Palley properly
                                               and fully remediated all sources of
   27
                                               contamination from the Property—this
   28                                          is not the case. In addition to 2 brick
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    1                                          clarifiers which were historically used to
    2                                          store waste oil and solvents at the
                                               Property, there are also 3 USTs on the
    3                                          Property—one of which is not registered
    4                                          and regulatory agencies were not aware
                                               of its presence. Valenzuela Decl., Ex. 4,
    5                                          at 27-28 (AIG Consultants, Inc., Phase I
    6                                          Environmental Site Assessment (June
                                               30, 1994, at 17-18). There was no
    7                                          documentation of the condition of the
    8                                          clarifiers or surrounding soil before they
                                               were abandoned in place or of the
    9                                          unregistered UST and surrounding soil
   10                                          that remains on the Property. Id. at 30
                                               (AIG Consultants, Inc., Phase I
   11                                          Environmental Site Assessment (June
   12                                          30, 1994, at 20).
   13                                          This statement fails to recognize the
   14                                          contamination caused by the 2 clarifiers
                                               before (and after) they were purportedly
   15                                          “abandoned in place.” In an August 18,
   16                                          1988 letter, the County of Los Angeles
                                               Department of Health expressed great
   17                                          concern “over potential problems with
   18                                          two existing underground storage
                                               structures located on the west section of
   19                                          the site. We have observed two brick
   20                                          “clarifiers” built prior World War II
                                               which possibly contain[] waste oil or a
   21
                                               similar material We also feel that these
   22                                          structures have long since lost their
                                               integrity to withhold any of its
   23
                                               contents.” RFJN, Ex. 87 (L.A. County
   24                                          DHS Letter to C. Sjoberg (Aug. 18,
                                               1988)). These brick clarifiers pre-dated
   25
                                               the connection of the property to the
   26                                          sewer system in 1970 and discharged to
                                               lagoons present on the Property. See
   27
                                               Mutch Report, Jan. 14, 2021, at 7-27 to
   28                                          7-28. No meaningful investigation of
                                           - 83 -
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    1                                                  the role the lagoons had upon the nature
    2                                                  and extent of the contamination of the
                                                       Property was ever completed. Id. The
    3                                                  lagoons have been present on the
    4                                                  Property from at least 1938 – 1973, but,
                                                       inexplicably, have never been a major
    5                                                  focus of investigation. Id.
    6
                                                       On November 28, 1995, the Los
    7                                                  Angeles County Fire Department
    8                                                  ordered Kekropia to “determine the
                                                       nature, concentration, and the vertical
    9                                                  and lateral extent of contamination” and
   10                                                  submit a “site characterization plan” by
                                                       the end of December, noting that there
   11                                                  had been “releases” at the Property.
   12                                                  RFJN, Ex. 84 (T. Klinger, Supervisor,
                                                       Los Angeles County Fire Dept., Health /
   13                                                  HazMat Div., Letter to L. Patsouras,
   14                                                  Kekropia, Nov. 28, 1995).
   15                                                  The Los Angeles County Fire
   16                                                  Department concluded that the locations
                                                       of clarifiers and a storage shed on the
   17                                                  eastern parcel of the Patsouras Property
   18                                                  were impacted with volatile organic
                                                       compounds, such as PCE and TCE, and
   19                                                  needed to be remediated. See RFJN, Ex.
   20                                                  92 (Los Angeles County Fire Dept.,
                                                       Memorandum, Jan. 9, 1996, at 1-2).
   21
   22   218. In 1994, AIG Environmental                Response: Disputed as incomplete
        Consultants performed a Phase I
   23
        Environmental Site Assessment of the           Evidence: The statement is necessarily
   24   Property. AIG concluded that “the              qualified by the failure of AIG to
        greatest potential risk to the subject         investigate other sources of potential
   25
        property” was the total of 37 sites less       contamination. The AIG assessment
   26   than ¼ mile away whose potential off-          specifically identified numerous other
        site contamination may have impacted           potential sources of contamination
   27
        the Property, and AIG also                     (including the unregistered UST,
   28   recommended additional investigation           potentially hazardous materials in
                                                   - 84 -
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    1   of the Property itself.               storage containers and 55-gallon drums
    2                                         located at the Property, and dark-stained
        Supporting Evidence: AIG Consultants, soil in the area of “Bay Traps”), stated
    3   Inc. Phase I Environmental Site       that AIG did not investigate these other
    4   Assessment, June 30, 1994, p. 3;      sources, and recommended that these
        (PTFS00024782); Ex. C to the          other potential sources be investigated
    5   Declaration of William D. Wick        and evaluated to determine their
    6                                         potential impact to the soil and
                                              groundwater. Mutch Rebuttal Report,
    7                                         Mar. 4, 2021, at § 3. AIG states that,
    8                                         based on the results of its inspection of
                                              the Property and its historical records of
    9                                         land use and regulatory inquiries, “there
   10                                         is evidence of past activity at the Site
                                              which may represent environmental
   11                                         risks and/or liabilities. The extent of
   12                                         these environmental risks could possibly
                                              be determined with further
   13                                         investigation. Therefore, AIG
   14                                         recommends that additional
                                              investigation be performed to further
   15                                         evaluate the potential for impact to the
   16                                         soil, air, and/or ground water at the
                                              Site.” Id. at 3.
   17
   18   219. In 1995, Kekropia, Inc. acquired       Response: Undisputed.
        the Patsouras Property from William K.
   19
        Palley. In 1997, El Greco Wholesale
   20   Grocers, Inc. and its owner Larry
        Patsouras began operating on the
   21
        Property as a wholesale grocery
   22   warehouse.
   23
        Supporting Evidence: FAC ¶ ¶ 347, 350;
   24   Ex. A to the Declaration of William D.
        Wick
   25
   26   220. Kekropia continues to own the          Response: Undisputed.
        Property today, which is still used for a
   27
        wholesale grocery warehouse and a
   28   tattoo artist supply business.
                                                - 85 -
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    1
    2   Supporting Evidence: Los Angeles
        Regional Water Quality Board Letter,
    3   Jan. 4, 2017, Ex. B to the Declaration of
    4   William D. Wick
    5   221. Kekropia retained Environmental
    6   Audit, Inc. (EAI) to perform an             Response: Partially disputed.
        environmental investigation of the
    7                                               Evidence: Plaintiffs do not dispute that
        Property. EAI’s investigation indicated
                                                    Kekropia retained EAI to perform an
    8   that “the majority of the soil
                                                    investigation of the Patsouras Property.
        contamination is heavy end petroleum
    9                                               Wick Decl., Ex. H, Docket No. 902-83
        product.” EAI considered a variety of
                                                    at #18469 (Envtl. Audit, Inc., Remedial
   10   in-situ technologies for remediation of
                                                    Action Plan (June 16, 1997) at 3
        the heavy end petroleum hydrocarbons
   11                                               (PTFS0002242)). Plaintiffs do not
        in the soil, but determined that they
                                                    dispute that EAI purported to investigate
   12   were impracticable “for the relatively
                                                    the Patsouras Property, however, the
        small volume of contaminated soil at the
   13                                               remedial action chosen at the property
        Site, and therefore recommended
                                                    was excavation of a significant amount
   14   excavation and off-site disposal of the
                                                    of contaminated soil. Valenzuela Decl.,
        impacted soil.
   15                                               Ex. 16, at 175 (Los Angeles Regional
                                                    Water Quality Board Letter, Jan. 4,
   16   Supporting Evidence: Environmental
                                                    2017, at 2) (noting soil removal actions
        Audit, Inc., “Remedial Action Plan,
   17                                               in 1998, 2006, 2010 and 2014). In
        11630-11700 Burke Street,” June 16,
                                                    addition, the selected remedial action
   18   1997, at PTSF00022451, 22453; Ex. H
                                                    did not test for hexavalent chromium.
        to the Declaration of William D. Wick
   19                                               Mutch Report, Jan. 14, 2021, at 7-11 to
                                                    7-13.
   20
   21                                               Plaintiffs do not dispute the report
                                                    discusses considering in-situ
   22                                               technologies, but Plaintiffs dispute there
   23                                               was a relatively small volume of
                                                    contaminated soil in light of the fact that
   24                                               a significant amount of soil was
   25                                               excavated. Wick Decl., Ex. H, Docket
                                                    No. 902-83 at #18478 (Envtl. Audit,
   26                                               Inc., Remedial Action Plan (June 16,
   27                                               1997) at 10 (PTFS00022451));
                                                    Valenzuela Decl., Ex. 16, at 175 (Los
   28
                                               - 86 -
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    1                                               Angeles Regional Water Quality Board
    2                                               Letter, Jan. 4, 2017, at 2) (noting soil
                                                    removal actions in 1998, 2006, 2010
    3                                               and 2014).
    4
        222. In 2006, Biophysics                  Response: Undisputed.
    5   Environmental Assessments, Inc.
    6   (“BEA”) performed confirmation testing
        and removal of environmentally
    7   impacted soil identified in previous site
    8   testing.

    9   Supporting Evidence: Biophysics
   10   Environmental Assessments, Inc., Soil
        Remediation Report of Findings for El
   11   Greco, Inc., Sept. 14, 2006;
   12   (PTFS00023600-PTFS00023663); Ex.
        G to the Declaration of William D.
   13   Wick
   14
        223. BEA concluded that the sampling        Response: Disputed.
   15   results “showed no threat to
        groundwater since boring B-7                Evidence: Testing performed at the B-7
   16
        demonstrated vertical attenuation of        boring was incomplete and failed to take
   17   both PCE and TCE to non-detect at           into account the soil composition and
   18   termination depth of 35’ below grade        the water table at the location. The data
        surface (bgs).”                             from samples taken from 15, 20, 25, and
   19                                               35 feet bgs “can by no means be taken
   20   Supporting Evidence: Id. at                 to indicate that the maximum depth of
        PTFS00023604                                PCE penetration was limited to 25 feet
   21                                               at B-7” because:
   22
                                                    1. No sample was taken at 30 feet, and it
   23                                               may have contained PCE. Mutch
   24                                               Report, Jan. 14, 2021, at 7-11.

   25                                               2. The testing done by BEA, EAI and
   26                                               any others of this area only tested for
                                                    “vertical” migration when “[i]t is well-
   27                                               recognized that infiltrating moisture in
   28                                               the vadose zone can follow complex

                                                - 87 -
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    1                                          pathways because of capillary action
    2                                          and complex lithologies.” Id.
                                               “Assuming purely vertically-downward
    3                                          migration in the vadose zone is a
    4                                          perilous and often incorrect
                                               assumption.” Id. “[O]ne cannot reliably
    5                                          define the vertical extent of
    6                                          contamination in the vadose zone with a
                                               single boring. What may appear in a
    7                                          single borehole to be the base of the
    8                                          contamination may simply indicate that
                                               the plume has been diverted laterally
    9                                          due to lithologic variability and is now
   10                                          outside the vertical trajectory of the
                                               boring.” Id.
   11
   12                                          3. The 35-foot sample was taken from a
                                               clay stratum. Id. at 7-11. It is probable
   13                                          that the PCE plume migrating
   14                                          downward through the vadose zone
                                               diverted around this low permeability
   15                                          stratum. Id.
   16
                                               4. In the late 1990s, the groundwater
   17                                          table was approximately 32 to 36 feet
   18                                          bgs. Id. Thus, the water table was above
                                               the 35-foot sample location. Id. Thus,
   19                                          the PCE plume migrating vertically-
   20                                          downward through the vadose zone was
                                               intercepted by laterally flowing
   21
                                               groundwater in the upper part of the
   22                                          saturated zone and not carried further
                                               downward to the 35-foot depth. Id.
   23
                                               Groundwater would have been
   24                                          contaminated in this location by PCE
                                               migrating downward through the vadose
   25
                                               zone. Id. The Los Angeles County Fire
   26                                          Department found that soil and
                                               groundwater contaminated with VOCs
   27
                                               at the Property and indicated that VOCs
   28                                          in the eastern portion of the Property
                                           - 88 -
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    1                                          “have been found to extend to GW [i.e.,
    2                                          groundwater].” RFJN, Ex. 92 (Los
                                               Angeles County Fire Department
    3                                          Memorandum re Palley Property, Jan.
    4                                          1996). They further observed that the
                                               “clarifier area” at the Property is
    5                                          “contaminated to GW with VOCs.” Id.
    6
                                               PCE was also continuously detected in
    7                                          boring E-9, near a storage shed, at
    8                                          depths of 10, 15, 20, 24, and 30 feet at
                                               concentrations between 23 and 104
    9                                          ug/kg. Mutch Report, Jan. 14, 2021, at
   10                                          7-11. This data indicates that PCE was
                                               transported through the vadose zone to
   11                                          the historic elevation of the groundwater
   12                                          table and impacted the groundwater
                                               with PCE. Id.
   13
   14                                          This statement is also disputed because
                                               it rests on the faulty premise that testing
   15                                          showed there was no PCE
   16                                          contamination. On the contrary, tests do
                                               not show the presence of PCE, TCE,
   17                                          hexavalent chromium or other VOCs
   18                                          because they were not tested for these
                                               substances. In the report cited as support
   19                                          for this statement, BEA clearly states
   20                                          that it was hired solely to remove soil
                                               from 2 areas identified by other
   21
                                               investigations in 1994 and 1997.
   22                                          Valenzuela Decl., Exs. 17, at 180
                                               (Biophysics Environmental
   23
                                               Assessments, Inc., Soil Remediation
   24                                          Report, Sept. 14, 2006, at 1). BEA did
                                               not test any other areas of the Property
   25
                                               to determine whether they were
   26                                          contaminated by PCE, TCE, hexavalent
                                               chromium or other VOCs. Id. Despite
   27
                                               evidence of discharge of waste
   28                                          containing 975,000 times more than the
                                           - 89 -
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    1                                            health-protective level amounts of
    2                                            hexavalent chromium (19.5 ppm), no
                                                 follow up testing was ever done. Mutch
    3                                            Report, Jan. 14, 2021, at 7-7. No testing
    4                                            of the soil or groundwater was ever
                                                 completed beneath the storm drain or
    5                                            the flood control channel where
    6                                            Globe—for decades—disposed of
                                                 industrial waste before sewers were
    7                                            installed at the Property. Id. In 1988, the
    8                                            clarifiers were filled with trash and oil
                                                 and waste was discharging to the street;
    9                                            however, no testing was done in these
   10                                            areas for TCE, PCE, or other VOCs.
                                                 Mutch Report, Jan. 14, 2021, at 7-8.
   11                                            RFJN, Ex. 101 (Inspection Record for
   12                                            Talco Plastics, May 18, 1988). Stained
                                                 ground surface was noted in the
   13                                            southwest corner of the Property in the
   14                                            area of four partially-filled 55-gallon
                                                 drums; but, still, no testing for TCE,
   15                                            PCE, or other VOCs was completed.
   16                                            Valenzuela Decl., Ex. 4, at 31 (AIG
                                                 Consultants, Phase I Environmental Site
   17                                            Assessment, June 30, 1994, at 21). No
   18                                            meaningful investigation of the role the
                                                 lagoons had upon the nature and extent
   19                                            of the contamination of the Property has
   20                                            ever been completed. See Mutch Report,
                                                 Jan. 14, 2021, at 7-27 59 7-28. The
   21
                                                 lagoons have been present on the
   22                                            Property from at least 1938 – 1973, but,
                                                 inexplicably, have never been a major
   23
                                                 focus of investigation. Id.
   24
        224. BEA concluded that “no threat       Response: Disputed.
   25
        exists to groundwater from metals,
   26   solvents, and total petroleum            Evidence: Because minimal testing was
        hydrocarbons, based upon the low level   done for TCE, PCE, hexavalent
   27
        and isolated low volume of all           chromium or other VOCs, it is
   28   potentially hazardous materials          impossible to say that there is “no
                                             - 90 -
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    1   identified in initial testing by EAI in       threat” from such substances. Mutch
    2   1994.”                                        Report, Jan. 14, 2021, at 7-11. Total
                                                      chromium measured in Phase II samples
    3   Supporting Evidence: Id. at                   ranged from below detection limits (200
    4   PTFS00023607                                  ug/kg) to 71,100 ug/kg, with the highest
                                                      levels at B-8 which lies in a stained soil
    5                                                 area identified in historical photos on
    6                                                 the eastern parcel. Id. Hexavalent
                                                      chromium was not tested for on these
    7                                                 samples. Id. Supplemental assessments
    8                                                 in1994, 1996, and 1999 tested samples
                                                      from 31 locations across the Property.
    9                                                 Of these 31 locations, only 1 was tested
   10                                                 for total chromium. Id. at 7-12. None
                                                      were tested for hexavalent chromium.
   11                                                 Id. The samples taken by BEA in its
   12                                                 2006 assessment were not tested for
                                                      hexavalent chromium though total
   13                                                 chromium ranged between 18 and 62
   14                                                 mg/kg. Id.
   15                                                 EAI closed 5 subsurface units in 2009,
   16                                                 but did not collect samples for 2 of the
                                                      units. Id. Samples from the other 3 units
   17                                                 were tested for total chromium, but were
   18                                                 not tested for hexavalent chromium. Id.
                                                      The “stockpile” of soil removed from
   19                                                 these 3 units was tested for total
   20                                                 chromium only, and was found to have
                                                      the second highest concentration on the
   21
                                                      entire Property (224 mg/kg)—but, this
   22                                                 soil was not tested for hexavalent
                                                      chromium. Id.
   23
   24                                                 The failure to test for hexavalent
                                                      chromium is inexplicable—particularly
   25
                                                      when there are at least 2 documented
   26                                                 discharges of hexavalent chromium to
                                                      the soil and/or groundwater of the
   27
                                                      Property. Mutch Report, Jan. 14, 2021,
   28                                                 at 7-13 (citing 1970 discharge of waste
                                                  - 91 -
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    1                                          containing 975,000 times more than the
    2                                          health-protective level amounts of
                                               hexavalent chromium and 1988
    3                                          discharge from clarifiers to the street).
    4                                          Contaminated waste water from the
                                               clarifiers and other sources were
    5                                          disposed of—for decades—to a storm
    6                                          drain/flood control channel before the
                                               Property was connected to sewers.
    7                                          Mutch Report, Jan. 14, 2021, at 7-7.
    8
                                               The ESL for arsenic in soil was
    9                                          exceeded at several locations at the
   10                                          Property from 2 feet to 35 feet bgs,
                                               which is indicative of release of arsenic
   11                                          from operations on the Property to the
   12                                          subsurface. Id. at 7-13. Because of the
                                               inadequacy and sparseness of the
   13                                          monitoring well network at the
   14                                          Property, arsenic impacts to
                                               groundwater may not be identifiable. Id.
   15                                          at 7-14.
   16
                                               Despite minimal investigations on the
   17                                          Property, the data that was obtained
   18                                          reveals the extent of groundwater
                                               contamination. Id. at 7-14. PCE was
   19                                          found in monitoring wells in the vicinity
   20                                          of the clarifiers, where vadose zone soil
                                               samples showed penetration of PCE to
   21
                                               the depth of the groundwater table. Id.
   22                                          This indicates a contribution of PCE to
                                               groundwater from the Property. Id.
   23
                                               Additionally, some higher levels of
   24                                          hexavalent chromium were found in
                                               MW-1, MW-1D, and MW-3 in the
   25
                                               middle of the Property near the clarifiers
   26                                          than in MW-2, establishing releases of
                                               hexavalent chromium from the
   27
                                               clarifiers, resulting in groundwater
   28                                          contamination. Id. at 7-14 and 7-17.
                                           - 92 -
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    1                                          TCE, a “daughter” product of PCE, is
    2                                          found in concentrations higher in MW-
                                               1D, MW-3, and MW-4 than in MW-2.
    3                                          Id. at 7-17. Concentrations exceeding
    4                                          groundwater ESLs were measured for
                                               1,1-dichloroethene, carbon tetrachloride,
    5                                          chloroform, tetrachloroethene (PCE),
    6                                          trans-1,2-dichloroethene,
                                               trichloroethene (TCE), chromium
    7                                          (total), chromium VI, nickel, and
    8                                          vanadium. Id.
    9                                          Soil gas concentrations in excess of soil
   10                                          gas ESL values were noted for benzene,
                                               carbon tetrachloride, chloroform, PCE
   11                                          and TCE. Id. The spatial distribution of
   12                                          the PCE and TCE soil gas
                                               contamination, along with the shallow
   13                                          soil contamination, indicates that the
   14                                          PCE and TCE came from releases on
                                               the Property and not from off-gassing
   15                                          from the underlying groundwater. Id.
   16                                          Thus, the contaminated soil gas would
                                               serve as a source of OU2 groundwater
   17                                          contamination as it partitioned from the
   18                                          soil gas to recharging groundwater. Id.
   19                                          PCE, TCE, and chromium, as well as
   20                                          other hazardous substances, have all
                                               been identified as present in the
   21
                                               subsurface at levels about soil screening
   22                                          levels, meaning that these substances are
                                               present in soils at the Patsouras Property
   23
                                               at levels that exceed those considered
   24                                          protective of groundwater. See
                                               Valenzuela Decl., Exs. 5, at 43-45
   25
                                               (Professional Service Industries, Phase
   26                                          II Preliminary Contamination
                                               Assessment, Aug. 18, 1994, at 13 &
   27
                                               Table 3); 9, at 85-88 (Environmental
   28                                          Audit, Inc., Summary of Site
                                           - 93 -
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    1                                          Assessments, Mar. 2009, Table 1); 10,
    2                                          at 98-103 (Environmental Audit, Inc.,
                                               Ground Water Samples, Confirmation
    3                                          Soil Samples, Aug. 6, 2013, Table 1);
    4                                          Mutch Report, Jan. 14, 2021, Tables 3-
                                               1, 7-4.
    5
    6                                          The Santa Fe Springs Fire Department,
                                               Environmental Services Division, found
    7                                          that “historic Palley site operations
    8                                          contamination probably contributed to
                                               the VOC portion “ of groundwater
    9                                          contamination at the property. See
   10                                          Opp’n RFJN, Ex. 21, at 146-147 (Steve
                                               Chase, Santa Fe Springs Fire
   11                                          Department, Environmental Services
   12                                          Division, Memorandum to Dave Klunk,
                                               Director, Environmental Services
   13                                          Division, Santa Fe Springs Fire
   14                                          Department, Sept. 29, 1997). Mr. Chase
                                               further advised that groundwater at the
   15                                          property was first encountered at 35 feet
   16                                          bgs, and “PCE was found in a [soil]
                                               column” from 10 feet bgs to 35 feet bgs.
   17                                          Id.
   18
                                               Even Defendants’ expert admits that
   19                                          contamination to groundwater from
   20                                          1970 hexavalent chromium discharge to
                                               ground may have moved off property by
   21
                                               now). See Valenzuela Decl., Ex. 15, at
   22                                          172 (J. Kulla Dep. Tr. at 119: 5-21).
   23
                                               Chromium, PCE, and TCE have been
   24                                          detected in the subsurface soils at the
                                               Property, and these same substances are
   25
                                               in OU-2 Groundwater below and
   26                                          downgradient of the Property. See
                                               Valenzuela Decl., Exs. 5, at 43-45 __
   27
                                               (Professional Service Industries, Phase
   28                                          II Preliminary Contamination
                                           - 94 -
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    1                                               Assessment, Aug. 18, 1994, at 13 &
    2                                               Table 3); 9, at 85-88 (Environmental
                                                    Audit, Inc., Summary of Site
    3                                               Assessments, Mar. 2009, Table 1); 10,
    4                                               at 98-103 (Environmental Audit, Inc.,
                                                    Ground Water Samples, Confirmation
    5                                               Soil Samples, Aug. 6, 2013, Table 1);
    6                                               11, at 109-114 (Environmental Audit,
                                                    Inc., Third Quarter 2013 Ground Water
    7                                               Monitoring Report, Oct. 23, 2013,
    8                                               Tables 2, 3); Mutch Report, Jan. 14,
                                                    2021, Tables 3-1, 7-4 and 7-5.
    9
   10                                               The entire OU-2 Groundwater area lies
                                                    in a recharge area defined as an area
   11                                               where water from precipitation and
   12                                               other shallow water sources, such as
                                                    leaking sewers and clarifiers, reaches
   13                                               the underlying groundwater from
   14                                               surface infiltration. See Mutch Report,
                                                    Jan. 14, 2021, 2-4 to 2-8.
   15
   16   225. BEA concluded that the                 Response: Disputed.
        concentrations of petroleum and
   17   solvents identified in 1994 “had            Evidence: As discussed in response to
   18   insufficient mass for vertical migration,   #223, “[i]t is well-recognized that
        with sorption and desorption, in excess     infiltrating moisture in the vadose zone
   19
        of a few feet.”                             can follow complex pathways because
   20                                               of capillary action and complex
        Supporting Evidence: Id.                    lithologies.” Mutch Report, Jan. 14,
   21
                                                    2021, at 7-11. “Assuming purely
   22                                               vertically-downward migration in the
                                                    vadose zone is a perilous and often
   23
                                                    incorrect assumption.” Id. “[O]ne cannot
   24                                               reliably define the vertical extent of
                                                    contamination in the vadose zone with a
   25
                                                    single boring. What may appear in a
   26                                               single borehole to be the base of the
                                                    contamination may simply indicate that
   27
                                                    the plume has been diverted laterally
   28                                               due to lithologic variability and is now
                                                - 95 -
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    1                                             outside the vertical trajectory of the
    2                                             boring.” Id.
    3                                             Additionally, such a determination is
    4                                             impossible to make due to the
                                                  inadequate testing and investigation of
    5                                             hazardous substances in the soil, as set
    6                                             out in Plaintiffs’ responses to
                                                  Defendant’s statements ## 223-224
    7                                             which are incorporated herein by
    8                                             reference.
    9
   10   226. BEA concluded that “intrinsic        Response: Disputed.
   11   biodegradation and weathering has
        removed all measurable solvents and       Evidence: The entire OU-2
   12   continues to remove the petroleum         Groundwater area lies in a recharge area
   13   hydrocarbons.”                            defined as an area where water from
                                                  precipitation and other shallow water
   14   Supporting Evidence: Id.                  sources, such as leaking sewers and
   15                                             clarifiers, reaches the underlying
                                                  groundwater from surface infiltration.
   16                                             See Mutch Report, Jan. 14, 2021, 2-4 to
   17                                             2-8.

   18                                             Defendants’ expert admits that
   19                                             contamination to groundwater from
                                                  1970 hexavalent chromium discharge to
   20                                             ground may have moved off property by
   21                                             now. See Valenzuela Decl., Ex. 15, at
                                                  172 (J. Kulla Dep. Tr. at 119: 5-21).
   22
   23   227. BEA concluded that “no mass of       Response: Disputed.
        petroleum hydrocarbons and no
   24   measurable mass of chlorinated solvents   Evidence: Such a determination is
   25   are present in the soil column with       impossible to make due to the
        capability for migration to the           inadequate testing and investigation of
   26   groundwater by moisture migration         hazardous substances in the soil, as set
   27   through adsorption and partitioning.”     out in Plaintiffs’ responses to
                                                  Defendant’s statements ## 223-224
   28
                                              - 96 -
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    1   Supporting Evidence: Id.                     which are incorporated herein by
    2                                                reference.
        228. BEA concluded that “[N]o further        Response: Disputed.
    3   action is recommended based upon the
    4   very low levels of hazardous materials       Evidence: Such a determination is
        identified in site testing in 1994 and       impossible to make due to the
    5   confirmed in 2006.”                          inadequate testing and investigation of
    6                                                hazardous substances in the soil, as set
        Supporting Evidence: Id.                     out in Plaintiffs’ responses to
    7                                                Defendant’s statements ## 223-224
    8                                                which are incorporated herein by
                                                     reference.
    9
   10   229. EAI concluded that the majority of      Response: Disputed.
        the soil contamination at the Patsouras
   11   Property “is heavy end petroleum             Evidence: Such a determination is
   12   product.”                                    impossible to make due to the
                                                     inadequate testing and investigation of
   13   Supporting Evidence: Environmental           hazardous substances in the soil, as set
   14   Audit, Inc., “Remedial Action Plan,          out in Plaintiffs’ responses to
        11630-11700 Burke Street,” June 16,          Defendant’s statements ## 223-224
   15
        1997, at PTSF00022451; Ex. H to the          which are incorporated herein by
   16   Declaration of William D. Wick               reference.
   17
        230. EAI concluded that “TGPH-G,             Response: Disputed.
   18   TPH-D, and TPH-O have never been
        identified in ground water” at the           Evidence: Such a determination is
   19
        Patsouras Property. “Chlorinated             impossible to make due to the
   20   compounds are not generally identified       inadequate testing and investigation of
        in soil at the Site but are present in       hazardous substances in the soil, as set
   21
        ground water at concentrations that are      out in Plaintiffs’ responses to
   22   consistent with the regional impact to       Defendant’s statements ## 223-224
        ground water (see Section 3.0). In           which are incorporated herein by
   23
        EAI’s opinion the chlorinated                reference.
   24   compounds detected in ground water at
        the Site are not the result of former site   PCE and TCE have been identified in
   25
        activities.”                                 the groundwater at the Property. Wick
   26                                                Decl., Ex. I, at 1 (Covenant and
   27   Supporting Evidence: Environmental           Environmental Restriction on Property
        Audit, Inc., “Updated Site Conceptual        recorded Oct. 12, 2016).
   28
                                                 - 97 -
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    1   Model and Request for Low Risk
    2   Closure,” June 17, 2010, at p. 21, at         The hexavalent chromium on the
        PTFS00024533; Ex. D to the                    Property is not derived from
    3   Declaration of William D. Wick                groundwater from other properties.
    4                                                 Mutch Report, Jan. 14, 2021, at 7-16. In
                                                      the first hexavalent chromium water
    5                                                 analysis performed (February 2009), the
    6                                                 highest levels of hexavalent chromium
                                                      were found in monitoring wells in the
    7                                                 middle of the Patsouras Property. Id.
    8                                                 The nearest monitoring wells from
                                                      adjacent properties are cross-gradient
    9                                                 and were non-detect for hexavalent
   10                                                 chromium, indicating that the
                                                      hexavalent chromium on the Property
   11                                                 did not migrate from other properties.
   12                                                 Id.
   13   231. On Sept. 15, 2016, Regional Board Response: Undisputed.
   14   Executive Officer Samuel Unger
        executed the Covenant and
   15   Environmental Restriction on Property
   16   for the Patsouras Property.
   17   Supporting Evidence: Covenant and
   18   Environmental Restriction; Ex. I to the
        Declaration of William D. Wick
   19
   20   232. The Covenant and Environmental           Response: Disputed as incomplete.
        Restriction approved by and for the
   21   benefit of the Regional Board stated as       Evidence: The cited document states
   22   follows: “Chlorinated solvent                 that the Regional Board “has determined
        compounds present in the groundwater          that the [Patsouras] Property is not
   23   beneath the Site appear to be consistent      suitable for unrestricted use and that a
   24   with the site area regional chlorinated       land use restriction is necessary for the
        solvent impacts; no dissolved or free         protection of present or future human
   25   phase total petroleum hydrocarbons            health, safety, or the environment as a
   26   have been detected in the groundwater.”       result of the presence of hazardous
                                                      materials as defined in Section 25260 of
   27   Supporting Evidence: Id.                      the Health and Safety Code in the soil,
   28                                                 soil gas, and groundwater at the

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 1                                           [Patsouras] Property.” Wick Decl., Ex. I
 2                                           at 1 (Covenant and Environmental
                                             Restriction on Property recorded Oct.
 3                                           12, 2016). This Covenant also notes that
 4                                           both PCE and TCE have been found in
                                             groundwater sampling on the property.
 5                                           Id. at 3. In fact, it states that PCE was
 6                                           found in the groundwater at the level of
                                             18.2 ug/L, more that three times higher
 7                                           than that allowed by the California
 8                                           Maximum Contaminant Level of 5
                                             ug/L. Id.
 9   233. On October 12, 2016, the Covenant Response: Undisputed.
10   and Environmental Restriction was
     recorded in the Official Records of the
11   Los Angeles County Recorder’s Office.
12
     Supporting Evidence: Id.
13
14   234. On Jan. 4, 2017, the Regional         Response: Undisputed but immaterial.
     Board issued a “No Further Action”
15
     Letter to Kekropia for the Patsouras      Evidence: While it is uncontroverted
16   Property.                                 that the referenced letter was sent to
                                               Kekropia, the Regional Board limited
17
     Supporting Evidence: Los Angeles          the findings that it made. Specifically,
18   Regional Water Quality Board Letter,      the referenced letter states: “Please note
     Jan. 4, 2017; Ex. B to the Declaration of that by issuing this NFA letter, the
19
     William D. Wick                           Regional Board has not made a
20                                             determination as to whether discharges
                                               of waste to regional groundwater
21
                                               occurred as a result of historical
22                                             activities at the Site.” Valenzuela Decl.,
                                               Ex. 16, at 176 (Los Angeles Regional
23
                                               Water Quality Board Letter, Jan. 4,
24                                             2017, at 3).
25
     235. The Regional Board concluded that Response: Undisputed but immaterial.
26   the activities at the Patsouras Property
27   resulted “in the cleanup or abatement of Evidence: CH2M Hill also concluded
     wastes to assure protection of human     that “because [OU-2] flows under a
28
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 1   health and the waters of the State at and    densely developed commercial –
 2   near the Site for their beneficial use.”     industrial area, there are additional
                                                  facilities whose releases of hazardous
 3   Supporting Evidence: Id. at p.3.             substances have reached groundwater
 4                                                and become commingled with the
                                                  Omega contamination.” Hagstrom
 5                                                Decl., Dkt. 902-47, Ex. A, at 6 (CH2M
 6                                                HILL, Final Remediation
                                                  Investigation/Feasibility Study Reports,
 7                                                Aug. 2010, at 8-4).
 8
 9
     236. The Regional Board determined           Response: Undisputed.
10   that there was no reason to monitor
11   groundwater at the Property and
     required Kekropia to decommission,
12   abandon, and destroy all monitoring
13   wells on the Property.
14   Supporting Evidence: Id.
15
     237. EPA’s consultant, CH2M Hill,            Response: Undisputed, but immaterial.
16
     concluded that the former Omega
17   Chemical facility is the main source of      Evidence: CH2M Hill also concluded
     groundwater contamination at OU2.            that “because [OU-2] flows under a
18
                                                  densely developed commercial –
19   Supporting Evidence: Final                   industrial area, there are additional
     Remediation Investigation/Feasibility        facilities whose releases of hazardous
20
     Study Reports Omega Chemical                 substances have reached groundwater
21   Corporation Superfund Site Operable          and become commingled with the
     Unit 2 Los Angeles County, California,       Omega contamination. Hagstrom Decl.,
22
     Volume 1, CH2M HILL, Aug. 2010, §            Dkt. 902-47, Ex. A, at 6 (CH2M HILL,
23   8.1.2, p. 8-4; Ex. J to the Declaration of   Final Remediation Investigation
     William D. Wick                              /Feasibility Study Reports, Aug. 2010).
24
25   238. The Final Remedial Investigation        Response: Undisputed but immaterial.
     Report by the US EPA environmental
26
     consultant, CH2M Hill, identified
27   properties located over the OU-2
28   groundwater plume which were sources

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 1   of chlorinated VOCs (PCE, TCE, 1,1,-
 2   DCE) to groundwater, but did not not
     identify the Patsouras Property as an on-
 3   going or historical source of these
 4   VOCs to the groundwater.
 5   Supporting Evidence: Id., § 5.5, pp. 5-
 6   12 to 5-30.
 7   239. The Final Remedial Investigation          Response: Undisputed.
 8   Report by the US EPA environmental
     consultant, CH2M Hill, identified
 9   properties located over the OU-2
10   groundwater plume which were sources
     of non-chlorinated VOCs to
11   groundwater, but did not identify the
12   Patsouras Property as an on-going or
     historical source of these VOCs to the
13   groundwater.
14
     Supporting Evidence: Id., § 5.5, pp. 5-
15   12 to 5-30.
16
     240. From 1994 through 2010, at least    Response: Disputed.
17
     123 soil samples were taken on the West
18   Parcel of the Patsouras Property.        Evidence: This statement is supported
                                              solely by the report of Defendants’
19
     Supporting Evidence: Expert Report of “expert,” Dr. J. Kulla. However, Dr.
20   Dr. Jean Kulla; Ex. K to the Declaration Kulla’s opinions are unreliable, as she
     of William D. Wick                       appears not to be aware of, or have
21
                                              evaluated, critical facts that might have
22                                            informed her opinion. She testified that
                                              she knew PCE and TCE were in the soil
23
                                              at the Patsouras Property, but she does
24                                            not know how those substances came to
                                              be located in the soil or ever analyzed
25
                                              this issue. See Valenzuela Decl., Ex. 15,
26                                            at 156-158 (J. Kulla Dep. Tr. at 69:24-
                                              70:11; 72:11-21). She did not even
27
                                              analyze whether contamination from
28                                            historic Palley site operations may have
                                               - 101 -
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 1                                             contributed VOCs to OU-2
 2                                             Groundwater contamination or whether
                                               Globe Oil released hazardous substances
 3                                             on the Patsouras property. Id., at 152-
 4                                             153,_167 (J. Kulla, Dep. Tr. at 50:17-
                                               51:2; 83:11-23).
 5
 6                                             Dr. Kulla was similarly
                                               unknowledgeable about Globe Oil’s
 7                                             operations. She did not know how
 8                                             Globe handled waste water or what was
                                               in it. Id., at 150-151 (J. Kulla, Dep. Tr.
 9                                             at 46:12-20; 49:11-13). Dr. Kulla also
10                                             believed that Globe Oil operated at the
                                               property for only four years, from 1968
11                                             to 1972. Id., at 146 (J. Kulla, Dep. Tr. at
12                                             37:3-9). She did not know that Globe
                                               Oil had been operating at the property
13                                             for over thirty years. See Plaintiffs’
14                                             response to Defendants’ statement #206,
                                               which is incorporated herein by
15                                             reference. Such holes in Dr. Kulla’s
16                                             knowledge of the property leads her to
                                               flawed and unreliable conclusions.
17
18   241. No PCE, TCE, chloroform, or 1-1- Response: Disputed.
     dichloroethene were detected in any of
19
     the 123 soil samples taken on the West Evidence: As stated in the responses to
20   Parcel between 1994 and 2010.          #223 and #224 (which are incorporated
                                            herein), testing performed at the
21
     Supporting Evidence: Id.               Property was inadequate and, largely,
22                                          did not test for VOCs or hexavalent
                                            chromium. Though insufficient, testing
23
                                            at the B-7 and E-9 borings found PCE
24                                          and TCE. Mutch Report, Jan. 14, 2021,
                                            at 7-9 to 7-14. The data indicates that
25
                                            PCE and TCE were transported through
26                                          the vadose zone to the historic elevation
                                            of the groundwater table and impacted
27
                                            the groundwater. Id. Any tests that are
28                                          claimed not to have shown the presence
                                          - 102 -
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 1                                                of TCE, PCE, hexavalent chromium or
 2                                                other VOCs, did not test for these
                                                  substances—despite evidence of
 3                                                significant releases of hazardous
 4                                                substances to the soil of the Property. Id.
 5                                                Further, the sole basis of this statement
 6                                                is an opinion of Dr. Kulla, whose lack
                                                  of information about the property and its
 7                                                historic uses causes her opinions to be
 8                                                flawed and unreliable, as set out in
                                                  Plaintiffs’ response to Defendants’
 9                                                statement # 240 which is incorporated
10                                                herein by reference.
11   242. CAM metals in soils, including          Response: Disputed.
12   total chromium, were within
     background levels for regional soils         Evidence: Dr. Kulla opines that 71.1
13   (i.e., within the range of concentrations    mg/kc for total chromium is only
14   normally found in natural,                   “slightly above background levels”—
     uncontaminated soil) in all of the 123       though she never says what the
15   samples taken on the West Parcel             “background levels” are. See Jean B.
16   between 1994 and 2010.                       Kulla, Expert Opinion on the Patsouras
                                                  Property (“Kulla Report”), at 3.
17   Supporting Evidence: Id.                     According to the U.S. Geological
18                                                Survey, background levels of total
                                                  chromium roughly range from 30 to 36
19
                                                  mg/kg. See Smith, D.B. et al., U.S.G,.S.,
20                                                Geochemical and Mineralogical Data
                                                  for Soils of the Conterminous United
21
                                                  States: U.S. Geological Survey Data
22                                                Series 801, 19. Defendant’s consultant
                                                  reported background levels of total
23
                                                  chromium at and near defendant Phibro-
24                                                Tech, Inc.’s facility were 20 to 24
                                                  mg/kg. See Cohen Decl., Ex. 18, at 343_
25
                                                  (Camp Dresser & McKee Inc., RCRA
26                                                Facility Investigation Phase II Report,
                                                  Apr. 23, 1993, Table 4-1). It reports
27
                                                  background levels of hexavalent
28                                                chromium at and near its facility range
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 1                                          from 1 to 2 mg/kg. Id.
 2
                                            Additionally, such a determination is
 3                                          impossible to make due to the
 4                                          inadequate testing and investigation of
                                            hazardous substances in the soil, as set
 5                                          out in Plaintiffs’ responses to
 6                                          Defendant’s statements ## 223-224
                                            which are incorporated herein by
 7                                          reference.
 8
                                            Patsouras’ expert misstates the
 9                                          background levels for arsenic. Kulla
10                                          contends that the level of arsenic which
                                            is “characteristic of background for
11                                          regional soils” is 55 mg/kg. See Kulla
12                                          Report, at 3. According to the California
                                            Department of Toxic Substances
13                                          Control, the background level for
14                                          arsenic is several times lower, namely,
                                            12 mg/kg. See G. Chernoff et al., Dept.
15                                          of Toxic Substances Control,
16                                          Determination of a Southern California
                                            Regional Background Arsenic
17                                          Concentration in Soil, at 1. The ESL for
18                                          arsenic in soil was exceeded at several
                                            locations at the Property from 2 feet to
19                                          35 feet bgs, which is indicative of
20                                          release of arsenic from operations on the
                                            Property to the subsurface. Id. at 7-13.
21
                                            Because of the inadequacy and
22                                          sparseness of the monitoring well
                                            network at the Property, arsenic impacts
23
                                            to groundwater may not be identifiable.
24                                          Id. at 7-14.
25
                                            Soil gas concentrations in excess of soil
26                                          gas ESL values were noted for PCE and
                                            TCE. See Valenzuela Decl., Ex. 9, at 82,
27
                                            89-93 (Environmental Audit, Inc.,
28                                          Summary of Site Assessments, Mar.
                                       - 104 -
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 1                                                2009, at 11 & Tables 8, 9); Mutch
 2                                                Report, Jan. 14, 2021, Table 7-6.
                                                  Sampling of soil vapor shows a pattern
 3                                                of elevated concentrations of soil gas
 4                                                PCE, as well as other chlorinated VOCs
                                                  such as TCE (a daughter product of
 5                                                PCE), that are localized in a part of the
 6                                                Property with high PCE soil levels,
                                                  signifying a definitive onsite source of
 7                                                these hazardous substances. Mutch
 8                                                Report, Jan. 14, 2021, at 7-17 to 7-18.
 9                                                Further, the sole basis of this statement
10                                                is an opinion of Dr. Kulla, whose lack
                                                  of information about the property and its
11                                                historic uses causes her opinions to be
12                                                flawed and unreliable, as set out in
                                                  Plaintiffs’ response to Defendants’
13                                                statement # 240 which is incorporated
14                                                herein by reference.
15   243. From 1994 through 2010, at least        Response: Undisputed.
16   137 soil samples were taken on the East
     Parcel of the Patsouras Property.
17
18   Supporting Evidence: Id.
19
     244. PCE and TCE were detected in            Response: Disputed.
20   only a couple of soil samples at very
     low concentrations in the 137 soil           Evidence: As stated in the responses to
21
     samples taken on the East Parcel             ## 223-224 and 241-242, testing
22   between 1994 and 2010.                       performed at the Property was
                                                  inadequate and, largely, did not test for
23
     Supporting Evidence: Id.                     VOCs or hexavalent chromium. For
24                                                sake of brevity, Plaintiffs incorporate by
                                                  reference their responses to ## 223-224
25
                                                  and 241-242, as though set forth fully
26                                                herein.
27
                                                  Further, the sole basis of this statement
28                                                is an opinion of Dr. Kulla, whose lack
                                             - 105 -
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 1                                                of information about the property and its
 2                                                historic uses causes her opinions to be
                                                  flawed and unreliable, as set out in
 3                                                Plaintiffs’ response to Defendants’
 4                                                statement # 240 which is incorporated
                                                  herein by reference.
 5   245. The maximum concentration of            Response: Disputed.
 6   PCE was 0.51 mg/kg and of TCE was
     0.27 mg/kg in the 137 soil samples           Evidence: As stated in the responses to
 7   taken on the East Parcel between 1994        ## 223-224 and 241-242 and 244,
 8   and 2010.                                    testing performed at the Property was
                                                  inadequate and, largely, did not test for
 9   Supporting Evidence: Id.                     VOCs or hexavalent chromium. For
10                                                sake of brevity, Plaintiffs incorporate by
                                                  reference their responses to ## 223-224
11                                                and 241-242, and 244 as though set
12                                                forth fully herein.
13                                                Further, the sole basis of this statement
14                                                is an opinion of Dr. Kulla, whose lack
                                                  of information about the property and its
15                                                historic uses causes her opinions to be
16                                                flawed and unreliable, as set out in
                                                  Plaintiffs’ response to Defendants’
17                                                statement # 240 which is incorporated
18                                                herein by reference.
19
     246. No chloroform or 1,1-                Response: Undisputed.
20   dichloroethene (1,1-DCE) were detected
     in the 137 soil samples taken on the East
21
     Parcel between 1994 and 2010.
22
     Supporting Evidence: Id.
23
24   247. CAM metals in soils were within         Response: Undisputed.
     background levels for regional soils
25
     (i.e., within the range of concentrations
26   normally found in natural,
27   uncontaminated soil) in all of the 137
     samples taken on the East Parcel
28
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 1   between 1994 and 2010, with the
 2   exception of one chromium sample
     slightly above background levels (71.1.
 3   mg/kg) found at two feet below ground
 4   surface and lead found in some
     stockpiled soil.
 5
 6   Supporting Evidence: Id.
 7   248. Methylene chloride (8.27 mg/kg),      Response: Disputed.
 8   naphthalene (4.31 mg/kg), and lead
     (51,600 mg/kg) were found in one
 9   stockpiled soil sample, and the            Evidence: The sole basis of this
10   stockpiled soil has been removed from      statement is an opinion of Dr. Kulla,
     the Property.                              whose lack of information about the
11                                              property and its historic uses causes her
12   Supporting Evidence: Id.                   opinions to be flawed and unreliable, as
                                                set out in Plaintiffs’ response to
13                                              Defendants’ statement # 240 which is
14                                              incorporated herein by reference.
15
     249. There is no evidence that the very Response: Disputed.
16   low concentrations of PCE, TCE or
     other hazardous substances found in soil
17
     have migrated at least 35 feet to the OU- Evidence: Such a determination is
18   2 groundwater.                            impossible to make due to the
                                               inadequate testing and investigation of
19
     Supporting Evidence: Id.                  hazardous substances in the soil, as set
20                                             out in Plaintiffs’ responses to
                                               Defendant’s statements ## 223-224
21
                                               which are incorporated herein by
22                                             reference.
23
                                                Further, the sole basis of this statement
24                                              is an opinion of Dr. Kulla, whose lack
                                                of information about the property and its
25
                                                historic uses causes her opinions to be
26                                              flawed and unreliable, as set out in
                                                Plaintiffs’ response to Defendants’
27
                                                statement # 240 which is incorporated
28                                              herein by reference.
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 1
 2   250. Groundwater monitoring was            Response: Disputed.
     performed on the Property from 1995
 3   through 2013 for petroleum                 Evidence: Such a determination is
 4   hydrocarbons, VOCs, and metals.            impossible to make due to the
                                                inadequate testing and investigation of
 5   Supporting Evidence: Id.                   hazardous substances in the soil, as set
 6                                              out in Plaintiffs’ responses to
                                                Defendant’s statements ## 223-224
 7                                              which are incorporated herein by
 8                                              reference.
 9                                              Further, the sole basis of this statement
10                                              is an opinion of Dr. Kulla, whose lack
                                                of information about the property and its
11                                              historic uses causes her opinions to be
12                                              flawed and unreliable, as set out in
                                                Plaintiffs’ response to Defendants’
13                                              statement # 240 which is incorporated
14                                              herein by reference.
15
     251. No petroleum hydrocarbon              Response: Disputed.
16   compounds have been found in
     groundwater beneath the Property even      Evidence: Such a determination is
17
     though petroleum hydrocarbons were         impossible to make due to the
18   detected in Property soil.                 inadequate testing and investigation of
                                                hazardous substances in the soil, as set
19
     Supporting Evidence: Id.                   out in Plaintiffs’ responses to
20                                              Defendant’s statements ## 223-224
                                                which are incorporated herein by
21
                                                reference.
22
                                                Further, the sole basis of this statement
23
                                                is an opinion of Dr. Kulla, whose lack
24                                              of information about the property and its
                                                historic uses causes her opinions to be
25
                                                flawed and unreliable, as set out in
26                                              Plaintiffs’ response to Defendants’
                                                statement # 240 which is incorporated
27
                                                herein by reference.
28
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 1   252. Toluene and xylene were detected     Response: Undisputed.
 2   in only trace amounts (below their
     respective Maximum Contaminant
 3   Levels) only in one well in one
 4   sampling episode.
 5   Supporting Evidence: Id.
 6
     253. All metals detected in groundwater   Response: Disputed.
 7   were below their respective MCLs,
 8   including arsenic and hexavalent
     chromium, with the exception of one       Evidence: Despite minimal
 9   sample of 11.8 ug/L hexavalent            investigations on the Property, the data
10   chromium (slightly above the 10 ug/L      that was obtained reveals the extent of
     conservative MCL used by California).     groundwater contamination. Mutch
11                                             Report, at 7-14. PCE was found in
12   Supporting Evidence: Id.                  monitoring wells in the vicinity of the
                                               clarifiers, where vadose zone soil
13                                             samples showed penetration of PCE to
14                                             the depth of the groundwater table. Id.
                                               This indicates a contribution of PCE to
15                                             groundwater from the Property. Id.
16                                             Additionally, some higher levels of
                                               hexavalent chromium were found in
17                                             MW-1, MW-1D, and MW-3 in the
18                                             middle of the Property near the clarifiers
                                               than in MW-2, establishing releases of
19
                                               hexavalent chromium from the
20                                             clarifiers, resulting in groundwater
                                               contamination. Id. at 7-14 and 7-17.
21
                                               TCE, a “daughter” product of PCE, is
22                                             found in concentrations higher in MW-
                                               1D, MW-3, and MW-4 than in MW-2.
23
                                               Id. at 7-17. Concentrations exceeding
24                                             groundwater ESLs were measured for
                                               1,1-dichloroethene, carbon tetrachloride,
25
                                               chloroform, tetrachloroethene (PCE),
26                                             trans-1,2-dichloroethene,
                                               trichloroethene (TCE), chromium
27
                                               (total), chromium VI, nickel, and
28                                             vanadium. Id.
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 1
 2                                             Further, the sole basis of this statement
                                               is an opinion of Dr. Kulla, whose lack
 3                                             of information about the property and its
 4                                             historic uses causes her opinions to be
                                               flawed and unreliable, as set out in
 5                                             Plaintiffs’ response to Defendants’
 6                                             statement # 240 which is incorporated
                                               herein by reference.
 7
 8   254. The predominant VOC                  Response: Disputed.
     contaminants found in the OU-2
 9   groundwater underlying the Property at    Evidence: Such a determination is
10   concentrations above their respective     impossible to make due to the
     MCLs were carbon tetrachloride (CT),      inadequate testing and investigation of
11   PCE, and TCE. Other volatiles,            hazardous substances in the soil, as set
12   including chloroform and 1,1-DCE,         out in Plaintiffs’ responses to
     were below their MCLs.                    Defendant’s statements ## 223-224
13                                             which are incorporated herein by
14   Supporting Evidence: Id.                  reference.
15                                             Further, the sole basis of this statement
16                                             is an opinion of Dr. Kulla, whose lack
                                               of information about the property and its
17                                             historic uses causes her opinions to be
18                                             flawed and unreliable, as set out in
                                               Plaintiffs’ response to Defendants’
19
                                               statement # 240 which is incorporated
20                                             herein by reference.
21
     255. A significant line of evidence in    Response: Undisputed.
22   evaluating whether a property is a
     source of hazardous substances to
23
     groundwater is a comparison of the
24   concentrations of a chemical in an
     upgradient well with the concentrations
25
     in an on-property well.
26
     Supporting Evidence: Id.
27
28
                                          - 110 -
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 1   256. The concentrations of carbon         Response: Undisputed.
 2   tetrachloride (CT) in wells upgradient of
     the Patsouras Property were greater than
 3   or similar to the concentrations in wells
 4   on the Property in all samples in the
     groundwater sampling from 2009-2013,
 5   except for a single sample of 10.4 ug/L
 6   in 2013.
 7   Supporting Evidence: Id.
 8
     257. The concentrations of PCE in          Response: Disputed.
 9   wells upgradient of the Patsouras
10   Property were greater than or similar to   Evidence: Such a determination is
     the concentrations in wells on the         impossible to make due to the
11   Property in all samples in the             inadequate testing and investigation of
12   groundwater sampling from 2009-2013,       hazardous substances in the soil, as set
     except for a single sample of 18.2 ug/L    out in Plaintiffs’ responses to
13   in 2013.                                   Defendant’s statements ## 223-224
14                                              which are incorporated herein by
     Supporting Evidence: Id.                   reference. Further, the sole basis of this
15                                              statement is an opinion of Dr. Kulla,
16                                              whose lack of information about the
                                                property and its historic uses causes her
17                                              opinions to be flawed and unreliable, as
18                                              set out in Plaintiffs’ response to
                                                Defendants’ statement # 240 which is
19
                                                incorporated herein by reference.
20
     258. The concentrations of TCE in          Response: Disputed.
21
     wells upgradient of the Patsouras
22   Property were greater than or similar to   Evidence: Such a determination is
     the concentrations in wells on the         impossible to make due to the
23                                              inadequate testing and investigation of
     Property in all samples in the
24   groundwater sampling from 2009-2013,       hazardous substances in the soil, as set
     except for a single sample of 21.7 ug/L    out in Plaintiffs’ responses to
25                                              Defendant’s statements ## 223-224
     in 2012.
26                                              which are incorporated herein by
     Supporting Evidence: Id.                   reference.
27
28                                              Further, the sole basis of this statement

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 1                                             is an opinion of Dr. Kulla, whose lack
 2                                             of information about the property and its
                                               historic uses causes her opinions to be
 3                                             flawed and unreliable, as set out in
 4                                             Plaintiffs’ response to Defendants’
                                               statement # 240 which is incorporated
 5                                             herein by reference.
 6
     259. In 2009, a soil gas vapor survey   Response: Undisputed.
 7   was conducted on the West Parcel of the
 8   Property at depths of 5 and 15 feet
     below ground surface.
 9
10   Supporting Evidence: Id.
11   260. The results of the 2009 soil gas     Response: Disputed.
12   vapor survey showed only very minor
     amounts of PCE and TCE in soil gas,       Evidence: Such a determination is
13   with the lowest concentrations found in   impossible to make due to the
14   the shallow 5-foot samples relative to    inadequate testing and investigation of
     higher concentrations in the deeper 15-   hazardous substances in the soil, as set
15
     foot samples.                             out in Plaintiffs’ responses to
16                                             Defendant’s statements ## 223-224
     Supporting Evidence: Id.                  which are incorporated herein by
17
                                               reference.
18
                                               Further, the sole basis of this statement
19
                                               is an opinion of Dr. Kulla, whose lack
20                                             of information about the property and its
                                               historic uses causes her opinions to be
21
                                               flawed and unreliable, as set out in
22                                             Plaintiffs’ response to Defendants’
                                               statement # 240 which is incorporated
23
                                               herein by reference.
24
     261. The data indicate that PCE, TCE,     Response: Disputed.
25
     and other minor VOCs are volatilizing
26   off the OU-2 groundwater plume due to     Evidence: The spatial distribution of the
27   an upward diffusion process governed      PCE and TCE soil gas contamination,
     by Fick’s law.                            along with the shallow soil
28
                                          - 112 -
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 1                                                 contamination, indicates that the PCE
 2   Supporting Evidence: EAI, 2010, at 17-        and TCE came from releases on the
     18; Ex. D and Ex. K to the Declaration        Property and not from off-gassing from
 3   of William D. Wick                            the underlying groundwater. Mutch
 4                                                 Report, at 7-14 to 7-17.
 5
        CONCLUSIONS OF LAW - PATSOURAS PROPERTY DEFENDANTS
 6
           10.    In two-site cases, Courts require plaintiffs to prove that a release for
 7
     which the defendant is responsible at one site (here, the soil on each Moving Party’s
 8
     Property) caused the contamination of the second site (here, the OU-2
 9
     groundwater). Kalamazoo River Study Group v. Rockwell Int’l Corp., 171 F.3d
10
     1065 (6th Cir. 1999); Innis Arden Golf Club v. Pitney Bowes, Inc., 629 F. Supp. 2d
11
     175, 185-86 (D. Conn. 2009); FAG Bearings, 846 F. Supp. 1382 (W.D. Mo. 1994).
12
           Response: Disputed.
13
           11.    As held by the Sixth Circuit, the mere possibility that the
14
     contamination from the defendant’s site caused contamination on the plaintiff’s site
15
     is insufficient to create a material fact as to causation. Kalamazoo River Study
16
     Group, 171 F.3d at 1073, affirming, Kalamazoo River Study Group v. Rockwell
17
     Int’l, 3 F. Supp. 2d 815 (W.D. Mich. 1997).
18
           Response: Disputed.
19
           12.     Under 42 U.S.C. § 9607(a), Defendants can be liable to Plaintiffs only
20
     if any releases of hazardous substances onto the soil at the Patsouras Property have
21
     traveled 35 to 74 feet from ground surface and entered OU-2 groundwater, thereby
22
     causing Plaintiffs to incur response costs.
23
           Response: Disputed.
24
25
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28
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                                 #:29479


 1
     Dated: March 4, 2021                 Lathrop GPM LLP
 2
                                          By:       /s/ Nancy Sher Cohen
 3                                               Nancy Sher Cohen
 4                                               Ronald A. Valenzuela
                                                 Attorneys for Plaintiffs
 5                                               Arconic Inc. et al.

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